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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE


 AMICUS THERAPEUTICS US, LLC and
 AMICUS THERAPEUTICS, INC.,

               Plaintiffs,                                  C.A. No. 22-1461-CJB
                                                                ANDA CASE
 v.
                                                                 (consolidated)
 TEVA PHARMACEUTICALS USA, INC. and
 TEVA PHARMACEUTICALS, INC.,

             Defendants.


                  THIRD AMENDED CONSOLIDATED COMPLAINT
                         FOR PATENT INFRINGEMENT

       Plaintiffs Amicus Therapeutics US, LLC (“ATUS”) and Amicus Therapeutics, Inc. (“AT”)

(collectively “Amicus” or “Plaintiffs”), by way of Complaint against Defendants Aurobindo

Pharma Ltd. (“Aurobindo Pharma Ltd.”), and Aurobindo Pharma USA, Inc. (“Aurobindo Pharma

USA”) (collectively “Aurobindo” or “Defendants”), allege as follows:

                                NATURE OF THE ACTION

       1.     This is a civil action for patent infringement of U.S. Patent Nos. 10,792,279 (the

“ʼ279 Patent”), 10,806,727 (the “ʼ727 Patent”), 10,849,889 (the “ʼ889 Patent”), 10,849,890 (the

“ʼ890 Patent”), 10,874,655 (the “ʼ655 Patent”), 11,278,536 (the “ʼ536 Patent”), 11,278,537 (the

“ʼ537 Patent”), 11,278,538 (the “ʼ538 Patent”), 11,278,539 (the “ʼ539 Patent”), 11,278,540 (the

“ʼ540 Patent”), 11,357,761 (the “ʼ761 Patent”), 11,357,762 (the “ʼ762 Patent”), 11,357,763 (the

“ʼ763 Patent”), 11,389,436 (the “ʼ436 Patent”), 11,389,437 (the “ʼ437 Patent”), 11,458,128 (the

“ʼ128 Patent”), 11,304,940 (the “ʼ940 Patent”), 11,357,764 (the “ʼ764 Patent”), 11,357,765 (the

“ʼ765 Patent”), 11,376,244 (the “ʼ244 Patent”), 11,426,396 (the “ʼ396 Patent”), 10,874,657 (the
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“ʼ657 Patent”), 11,357,784 (the “ʼ784 Patent”), 11,612,593 (the “’593 Patent”), 11,612,594 (the

“’594 Patent”), 11,622,962 (the “’962 Patent”), 11,633,387 (the “’387 Patent”), 11,633,388 (the

“’388 Patent”), 11,642,334 (the “’334 Patent”), 11,786,516 (the “’516 Patent”), 11,813,255 (the

“’255 Patent”), and 11,903,938 (the “’938 Patent”) (collectively, “Patents-in-Suit”), arising under

the patent laws of the United States, Title 35, United States Code, § 100 et seq., including 35

U.S.C. §§ 271 and 281. This action arises out of Aurobindo’s submission of Abbreviated New

Drug Application (“ANDA”) No. 217786 under Section 505(j) of the Federal Food, Drug and

Cosmetic Act, 21 U.S.C. § 355(j), seeking U.S. Food and Drug Administration (“FDA”) approval

to market a generic version of GALAFOLD migalastat 123 mg free base capsules before the

expiration of the Patents-in-Suit.

                                        THE PARTIES

       2.      Amicus Therapeutics US, LLC (i.e., ATUS) is a limited liability company

organized and existing under the laws of the state of Delaware with its corporate headquarters at

3675 Market Street, Philadelphia, PA 19104.

       3.      Amicus Therapeutics, Inc. (i.e., AT) is a corporation organized and existing under

the laws of the state of Delaware with its corporate headquarters at 3675 Market Street,

Philadelphia, PA 19104.

       4.      Amicus is a global, patient-dedicated biotechnology company focused on

discovering, developing and delivering novel and high-quality medicines for people living with

rare diseases. The cornerstone of Amicus’s portfolio is GALAFOLD, the first approved oral

precision medicine for people living with Fabry disease who have amenable genetic variants.

Fabry disease is a genetic disorder known as a lysosomal storage disorder. Fabry disease is caused

by a mutation or variant to the GLA gene, which encodes the enzyme α-galactosidase A (α-Gal



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A). The variant causes the substrate globotriaosylceramide (GL-3) to accumulate in various tissues

and organs.

        5.      Amicus sells GALAFOLD migalastat 123 mg free base capsules throughout the

United States, including in this judicial district.

        6.      By eight separate letters respectively dated (i) October 6, 2022 (“Aurobindo’s

October 2022 Notice Letter”), and received by Amicus on October 7, 2022, (ii) November 11,

2022 (“Aurobindo’s November 2022 Notice Letter”), and received by Amicus on November 14,

2022, (iii) May 9, 2023 (“Aurobindo’s May 2023 Notice Letter”), and received by Amicus on May

10, 2023, (iv) June 16, 2023 (“Aurobindo’s June 2023 Notice Letter”), and received by Amicus

on June 19, 2023, (v) July 27, 2023 (“Aurobindo’s July 2023 Notice Letter”), and received by

Amicus on July 28, 2023, (vi) December 13, 2023 (“Aurobindo’s December 2023 Notice Letter”),

and received by Amicus on December 14, 2023, (vii) February 15, 2024 (“Aurobindo’s February

2024 Notice Letter”), and received by Amicus on February 16, 2024, and (viii) May 3, 2024

(“Aurobindo’s May 2024 Notice Letter”), and received by Amicus on May 6, 2024 (collectively,

“Aurobindo’s Notice Letters”), Aurobindo notified Amicus that Aurobindo Pharma Ltd. had

submitted an ANDA to the United States FDA (“Aurobindo’s ANDA”) for “migalastat

hydrochloride capsules, EQ 123 mg base,” a drug product that is a generic version of GALAFOLD

(“Aurobindo’s ANDA Product”). Upon information and belief, the purpose of Aurobindo’s

submission of Aurobindo’s ANDA was to obtain approval under the Federal Food, Drug, and

Cosmetic Act (“FDCA”) to engage in the commercial manufacture, use, offer for sale, sale, and/or

importation within or into the United States of Aurobindo’s ANDA Product prior to the expiration

of the Patents-in-Suit.




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       7.      In Aurobindo’s October 2022 Notice Letter, Aurobindo notified Amicus that, as

part of Aurobindo’s ANDA, Aurobindo had filed a certification pursuant to Section

505(j)(2)(B)(iv)(II) of the FDCA, 21 U.S.C. § 355(j)(2)(B)(iv)(II) (“¶ IV”) and 21 C.F.R. §

314.95(c)(7), with respect to U.S. Patent Nos. 10,076,514; 10,251,873; 10,471,053; 10,792,278;

10,792,279; 10,799,491; 10,806,727; 10,849,889; 10,849,890; 10,857,141; 10,857,142;

10,874,655; 10,874,656; 10,874,657; 11,234,972; 11,278,536; 11,278,537; 11,278,538;

11,278,539; 11,278,540; 11,304,940; 11,357,762; 11,357,763; 11,357,764; 11,357,765;

11,357,784; 11,376,244; 11,389,436; and 11,389,437 (collectively, the “October 2022 Patents”),

which are listed in the FDA’s Approved Drug Products with Therapeutic Equivalence Evaluation

(“Orange Book”).

       8.      In Aurobindo’s November 2022 Notice Letter, Aurobindo notified Amicus that, as

part of Aurobindo’s ANDA, Aurobindo had filed a certification pursuant to ¶ IV and 21 C.F.R. §

314.95(c)(7), with respect to U.S. Patent Nos. 11,357,761, 11,426,396, and 11,458,128

(collectively, the “November 2022 Patents”), which are listed in the Orange Book.

       9.      In Aurobindo’s May 2023 Notice Letter, Aurobindo notified Amicus that, as part

of Aurobindo’s ANDA, Aurobindo had filed a certification pursuant to ¶ IV and 21 C.F.R. §

314.95(c)(7), with respect to U.S. Patent Nos. 11,612,593; 11,612,594; and 11,622,962

(collectively, the “May 2023 Patents”), which are listed in the Orange Book.

       10.     In Aurobindo’s June 2023 Notice Letter, Aurobindo notified Amicus that, as part

of Aurobindo’s ANDA, Aurobindo had filed a certification pursuant to ¶ IV and 21 C.F.R. §

314.95(c)(7), with respect to U.S. Patent Nos. 11,633,387; 11,633,388; and 11,642,334

(collectively, the “June 2023 Patents”), which are listed in the Orange Book.




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       11.     In Aurobindo’s July 2023 Notice Letter, Aurobindo notified Amicus that, as part of

Aurobindo’s ANDA, Aurobindo had filed a certification pursuant to ¶ IV and 21 C.F.R. §

314.95(c)(7), with respect to U.S. Patent No. 11,666,564 (the “July 2023 Patent”), which is listed

in the Orange Book.

       12.     In Aurobindo’s December 2023 Notice Letter, Aurobindo notified Amicus that, as

part of Aurobindo’s ANDA, Aurobindo had filed a certification pursuant to ¶ IV and 21 C.F.R. §

314.95(c)(7), with respect to U.S. Patent No. 11,786,516 (the “December 2023 Patent”), which is

listed in the Orange Book.

       13.     In Aurobindo’s February 2024 Notice Letter, Aurobindo notified Amicus that, as

part of Aurobindo’s ANDA, Aurobindo had filed a certification pursuant to ¶ IV and 21 C.F.R. §

314.95(c)(7), with respect to U.S. Patent Nos. 11,813,255; 11,826,360; and 11,833,164

(collectively, the “February 2024 Patents”), which are listed in the Orange Book.

       14.     In Aurobindo’s May 2024 Notice Letter, Aurobindo notified Amicus that, as part

of Aurobindo’s ANDA, Aurobindo had filed a certification pursuant to ¶ IV and 21 C.F.R. §

314.95(c)(7), with respect to U.S. Patent Nos. 11,903,938 (the “May 2024 Patent”; together with

the October 2022 Patents, November 2022 Patents, May 2023 Patents, June 2023 Patents, July

2023 Patent, December 2023 Patent, and February 2024 Patents, the “Notice Letter Patents”),

which is listed in the Orange Book.

       15.     Aurobindo’s Notice Letters assert that the Notice Letter Patents are invalid,

unenforceable, and/or will not be infringed by the commercial manufacture, use, offer for sale,

sale, and/or importation within or into the United States of Aurobindo’s ANDA Product (the “¶ IV

Certifications”). Aurobindo’s Notice Letters purport to include detailed statements of the factual




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and legal bases for Aurobindo’s ¶ IV Certifications.         Aurobindo’s Notice Letters defined

Aurobindo as Aurobindo Pharma Ltd.

       16.     Aurobindo Pharma Ltd. is a company organized under the laws of India having a

principal place of business at Maitrivihar, Plot No. 2, Ameerpet, Hyderabad, Telangana 500038,

India and Galaxy, Floors: 22-24, Plot No. 1, Survey No. 83/1, Hyderabad Knowledge City,

Raidurg Panmaktha, Hyderabad, Telangana 500032, India.

       17.     Aurobindo Pharma USA is a corporation organized and existing under the laws of

the State of Delaware, having a principal place of business at 279 Princeton-Hightstown Road,

East Windsor, New Jersey 08520.

       18.     Aurobindo Pharma Ltd. is a non-governmental, publicly held corporation and has

no parent company. No publicly held company owns 10% or more of the stock of Aurobindo

Pharma Ltd.

       19.     Aurobindo Pharma USA is a wholly-owned subsidiary of Aurobindo Pharma Ltd.

       20.     Aurobindo Pharma USA has acted as Aurobindo Pharma Ltd.’s agent with respect

to Aurobindo’s ANDA No. 217786.

       21.     Upon information and belief, Aurobindo Pharma USA has acted at the direction of,

and for the benefit of, Aurobindo Pharma Ltd. regarding Aurobindo’s ANDA No. 217786.

       22.     Aurobindo Pharma Ltd. submitted Drug Master File (“DMF”) No. 36827 for

migalastat hydrochloride to the FDA on February 25, 2022.

       23.     Upon information and belief, Aurobindo Pharma Ltd. and Aurobindo Pharma USA

are generic pharmaceutical companies that, in coordination with each other and at the direction of

Aurobindo Pharma Ltd., are in the business of making and selling generic pharmaceutical

products, which they distribute throughout the United States including in this judicial district.



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                                  JURISDICTION AND VENUE

           24.   This is an action for patent infringement arising under 35 U.S.C. § 271. This Court

has subject matter jurisdiction over this action pursuant to 28 U.S.C. §§ 1331 and 1338(a).

           25.   The Court also has jurisdiction over this action pursuant to the Declaratory

Judgment Act, 28 U.S.C. §§ 2201 and 2202. An actual, substantial, and justiciable controversy

exists between Amicus and Defendants of sufficient immediacy and reality to warrant the issuance

of a declaratory judgment regarding the parties’ adverse legal interests with respect to the Patents-

in-Suit.

           26.   Upon information and belief, Defendants hold themselves out as a unitary entity

and operate as a single integrated business directed and/or controlled by Aurobindo Pharma Ltd.

with respect to the regulatory approval, manufacturing, marketing, sale, and distribution of generic

pharmaceutical products throughout the United States, including in this judicial district.

           27.   Upon information and belief, Defendants have and will continue to coordinate,

collaborate, and act in concert to prepare, submit, and maintain Aurobindo’s ANDA No. 217786

pursuant to Section 505(j) of the FDCA, 21 U.S.C. § 355(j). Defendants are therefore submitters

of an ANDA within the jurisdiction of this Court.

           28.   This Court has personal jurisdiction over Aurobindo Pharma USA because, upon

information and belief, its affiliations with and business activities within the State of Delaware and

this judicial district, including by virtue of its incorporation in Delaware, are so systematic and

continuous as to render Aurobindo Pharma USA essentially at home in this judicial district.

           29.   This Court has personal jurisdiction over foreign Defendant Aurobindo Pharma

Ltd. because, upon information and belief, Aurobindo Pharma Ltd. controls the actions of its agent

and United States subsidiary Aurobindo Pharma USA, a Delaware corporation. Therefore, upon



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information and belief, the activities of Aurobindo Pharma USA in this jurisdiction are attributable

to Aurobindo Pharma Ltd.

       30.     The Court also has personal jurisdiction over foreign Defendant Aurobindo Pharma

Ltd. pursuant to Fed. R. Civ. P. 4(k)(2). This action arises under federal law, out of Aurobindo’s

submission of an ANDA filing. To the extent Aurobindo Pharma Ltd. is not subject to jurisdiction

in any state’s courts of general jurisdiction, exercising jurisdiction over Aurobindo Pharma Ltd. is

consistent with the Constitution and laws of the United States as Aurobindo Pharma Ltd. has

sufficient contacts in the United States as a whole, including, but not limited to, by participating

in the preparation, submission, and maintenance of Aurobindo’s ANDA, participating in the

preparation and submission of DMF No. 36827 to the FDA, and/or directly or indirectly

developing, manufacturing, marketing, and selling Aurobindo’s ANDA Product throughout the

United States, including in this judicial district, such that this Court’s exercise of personal

jurisdiction over Aurobindo Pharma Ltd. satisfies due process.

       31.     This Court also has personal jurisdiction over Defendants because, upon

information and belief, each has frequently availed itself of the legal protections of the State of

Delaware by, among other things, selecting the State of Delaware as the place of incorporation for

itself and/or its subsidiaries and asserting claims and counterclaims in lawsuits filed in the United

States District Court for the District of Delaware, including at least Gilead Sciences, Inc. v.

Aurobindo Pharma Ltd. et al, No. 1:21-cv-01735, at Dkt. 9 (D. Del. Feb. 14, 2022) and Azurity

Pharmaceuticals, Inc. v. Aurobindo Pharma Ltd. et al, No. 1:21-cv-01707, at Dkt. 12 (D. Del. Jan.

7, 2022).

       32.     This Court also has personal jurisdiction over each Defendant because, upon

information and belief, each is a submitter of Aurobindo’s ANDA. This Court also has personal



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jurisdiction over each Defendant because, upon information and belief, each has committed or

aided, abetted, contributed to, or participated in tortious acts of patent infringement in submitting

Aurobindo’s ANDA that has led to foreseeable harm and injury to Amicus, which manufactures

GALAFOLD for sale and use throughout the United States, including within this judicial district.

Upon information and belief, each Defendant will imminently commit, or aid, abet, contribute to,

or participate in tortious acts of patent infringement by directly or indirectly developing,

manufacturing, marketing, and selling Aurobindo’s ANDA Product throughout the United States

and in this judicial district, which will lead to foreseeable harm and injury to Amicus.

        33.      Upon information and belief, Defendants have been, and continue to be, joint and

prime actors in the drafting, submission, approval, and maintenance of ANDA No. 217786 for the

United States market. Aurobindo’s ANDA No. 217786 relates to this litigation and is substantially

connected with this judicial district because it reliably and non-speculatively predicts Aurobindo’s

intent to market and sell Aurobindo’s ANDA Product throughout the United States, including in

this judicial district.

        34.      Aurobindo has taken the significant step of applying to the FDA for approval to

engage in future activities—including the marketing of Aurobindo’s ANDA Product—which,

upon information and belief, will be purposefully directed at this judicial district and elsewhere

throughout the United States. Upon information and belief, Defendants will act in concert to

market, distribute, and sell Aurobindo’s ANDA Product in this judicial district, among other

places, once Aurobindo receives the requested FDA approval to market Aurobindo’s ANDA

Product.

        35.      For these reasons and for other reasons that will be presented to the Court if

jurisdiction is challenged, each Defendant is subject to personal jurisdiction in this judicial district.



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       36.     Venue is proper for Aurobindo Pharma USA in this judicial district under 28 U.S.C.

§§ 1391 and 1400(b) because Aurobindo Pharma USA is incorporated and therefore resides in the

state of Delaware and has committed acts of infringement giving rise to the claims against it in this

judicial district. Venue is also proper for Aurobindo Pharma USA in this judicial district because

Aurobindo Pharma USA is a submitter of Aurobindo’s ANDA.

       37.     Venue is proper for Aurobindo Pharma Ltd. in this judicial district under 28 U.S.C.

§§ 1391 and 1400(b) and/or Fed. R. Civ. P. 4(k)(2) because Aurobindo Pharma Ltd. is incorporated

in India and may be sued in any judicial district in the United States. Venue is also proper for

Aurobindo Pharma Ltd. in this judicial district because Aurobindo Pharma Ltd. is a submitter of

Aurobindo’s ANDA.

                                  FACTUAL BACKGROUND

                                             The NDA

       38.     ATUS is the holder of New Drug Application (“NDA”) No. 208623 for

GALAFOLD capsules comprising 123 mg free base migalastat (“GALAFOLD Capsules”).

       39.     GALAFOLD is an oral medication administered every other day approved for the

treatment of adults with a confirmed diagnosis of Fabry disease and an amenable α-galactosidase

A (GLA) gene variant. Migalastat, which is an iminosugar, is the active ingredient in GALAFOLD

Capsules.

       40.     The FDA approved NDA No. 208623 on August 10, 2018. GALAFOLD enjoys

New Chemical Entity (“NCE”) exclusivity until August 10, 2023.

       41.     GALAFOLD is designated as an orphan drug under the Orphan Drug Act, 21

U.S.C. § 360aa et seq. and enjoys Orphan Drug Exclusivity (“ODE”) until August 10, 2025.




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Amicus markets capsules comprising 123 mg free base migalastat in the United States under the

trademark GALAFOLD.

       42.     Aurobindo advertises that its vision is to “become a consistent top 10 generic

pharmaceutical supplier.”        https://www.aurobindousa.com/company/our-story/mission-values/

(last accessed June 13, 2024).

       43.     In April 2020, Defendant Aurobindo Pharma USA submitted a request pursuant to

21 U.S.C. § 355-2 (the “CREATES Act”) to ATUS seeking to purchase GALAFOLD for testing

purportedly deemed necessary by Aurobindo to support Aurobindo’s ANDA No. 217786. On

March 28, 2022, Aurobindo sent a request to ATUS seeking to purchase an additional seven packs

of GALAFOLD to purportedly complete testing required for approval of a generic version of

GALAFOLD (i.e., Aurobindo’s ANDA Product) pursuant to Aurobindo’s ANDA No. 217786.

       44.     Upon information and belief, Aurobindo intends to develop a generic version of

GALAFOLD.

                                            The Patents-in-Suit

       45.     The United States Patent and Trademark Office (the “PTO”) duly and legally issued

the ’279 Patent on October 6, 2020, titled “Methods of Treating Fabry Patients Having Renal

Impairment.” A true and correct copy of the ʼ279 Patent is attached as Exhibit A.

       46.     AT is the owner of all right, title, and interest in the ʼ279 Patent by assignment

recorded with the PTO on August 5, 2022.

       47.     The ʼ279 Patent currently expires on May 30, 2038.

       48.     The ʼ279 Patent is listed in the Orange Book in connection with NDA No. 208623

for GALAFOLD Capsules.




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       49.     Administration of GALAFOLD in accordance with the FDA-approved prescribing

information practices one or more claims of the ʼ279 Patent.

       50.     The PTO duly and legally issued the ’727 Patent on October 20, 2020, titled

“Methods of Treating Fabry Patients Having Renal Impairment.” A true and correct copy of the

ʼ727 Patent is attached as Exhibit B.

       51.     AT is the owner of all right, title, and interest in the ʼ727 Patent by assignment

recorded with the PTO on August 5, 2022.

       52.     The ʼ727 Patent currently expires on May 30, 2038.

       53.     The ʼ727 Patent is listed in the Orange Book in connection with NDA No. 208623

for GALAFOLD Capsules.

       54.     Administration of GALAFOLD in accordance with the FDA-approved prescribing

information practices one or more claims of the ʼ727 Patent.

       55.     The PTO duly and legally issued the ’889 Patent on December 1, 2020, titled

“Methods of Treating Fabry Patients Having Renal Impairment.” A true and correct copy of the

ʼ889 Patent is attached as Exhibit C.

       56.     AT is the owner of all right, title, and interest in the ʼ889 Patent by assignment

recorded with the PTO on August 5, 2022.

       57.     The ʼ889 Patent currently expires on May 30, 2038.

       58.     The ʼ889 Patent is listed in the Orange Book in connection with NDA No. 208623

for GALAFOLD Capsules.

       59.     Administration of GALAFOLD in accordance with the FDA-approved prescribing

information practices one or more claims of the ʼ889 Patent.




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       60.     The PTO duly and legally issued the ’890 Patent on December 1, 2020, titled

“Methods of Treating Fabry Patients Having Renal Impairment.” A true and correct copy of the

ʼ890 Patent is attached as Exhibit D.

       61.     AT is the owner of all right, title, and interest in the ʼ890 Patent by assignment

recorded with the PTO on August 5, 2022.

       62.     The ʼ890 Patent currently expires on May 30, 2038.

       63.     The ʼ890 Patent is listed in the Orange Book in connection with NDA No. 208623

for GALAFOLD Capsules.

       64.     Administration of GALAFOLD in accordance with the FDA-approved prescribing

information practices one or more claims of the ʼ890 Patent.

       65.     The PTO duly and legally issued the ’655 Patent on December 29, 2020, titled

“Methods of Treating Fabry Patients Having Renal Impairment.” A true and correct copy of the

ʼ655 Patent is attached as Exhibit E.

       66.     AT is the owner of all right, title, and interest in the ʼ655 Patent by assignment

recorded with the PTO on August 5, 2022.

       67.     The ʼ655 Patent currently expires on May 30, 2038.

       68.     The ʼ655 Patent is listed in the Orange Book in connection with NDA No. 208623

for GALAFOLD Capsules.

       69.     Administration of GALAFOLD in accordance with the FDA-approved prescribing

information practices one or more claims of the ʼ655 Patent.

       70.     The PTO duly and legally issued the ’536 Patent on March 22, 2022, titled

“Methods of Treating Fabry Patients Having Renal Impairment.” A true and correct copy of the

ʼ536 Patent is attached as Exhibit F.



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       71.     AT is the owner of all right, title, and interest in the ʼ536 Patent by assignment

recorded with the PTO on August 5, 2022.

       72.     The ʼ536 Patent currently expires on May 30, 2038.

       73.     The ʼ536 Patent is listed in the Orange Book in connection with NDA No. 208623

for GALAFOLD Capsules.

       74.     Administration of GALAFOLD in accordance with the FDA-approved prescribing

information practices one or more claims of the ʼ536 Patent.

       75.     The PTO duly and legally issued the ’537 Patent on March 22, 2022, titled

“Methods of Treating Fabry Patients Having Renal Impairment.” A true and correct copy of the

ʼ537 Patent is attached as Exhibit G.

       76.     AT is the owner of all right, title, and interest in the ʼ537 Patent by assignment

recorded with the PTO on August 5, 2022.

       77.     The ʼ537 Patent currently expires on May 30, 2038.

       78.     The ʼ537 Patent is listed in the Orange Book in connection with NDA No. 208623

for GALAFOLD Capsules.

       79.     Administration of GALAFOLD in accordance with the FDA-approved prescribing

information practices one or more claims of the ʼ537 Patent.

       80.     The PTO duly and legally issued the ’538 Patent on March 22, 2022, titled

“Methods of Treating Fabry Patients Having Renal Impairment.” A true and correct copy of the

ʼ538 Patent is attached as Exhibit H.

       81.     AT is the owner of all right, title, and interest in the ʼ538 Patent by assignment

recorded with the PTO on August 5, 2022.

       82.     The ʼ538 Patent currently expires on May 30, 2038.



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       83.     The ʼ538 Patent is listed in the Orange Book in connection with NDA No. 208623

for GALAFOLD Capsules.

       84.     Administration of GALAFOLD in accordance with the FDA-approved prescribing

information practices one or more claims of the ʼ538 Patent.

       85.     The PTO duly and legally issued the ’539 Patent on March 22, 2022, titled

“Methods of Treating Fabry Patients Having Renal Impairment.” A true and correct copy of the

ʼ539 Patent is attached as Exhibit I.

       86.     AT is the owner of all right, title, and interest in the ʼ539 Patent by assignment

recorded with the PTO on August 5, 2022.

       87.     The ʼ539 Patent currently expires on May 30, 2038.

       88.     The ʼ539 Patent is listed in the Orange Book in connection with NDA No. 208623

for GALAFOLD Capsules.

       89.     Administration of GALAFOLD in accordance with the FDA-approved prescribing

information practices one or more claims of the ʼ539 Patent.

       90.     The PTO duly and legally issued the ’540 Patent on March 22, 2022, titled

“Methods of Treating Fabry Patients Having Renal Impairment.” A true and correct copy of the

ʼ540 Patent is attached as Exhibit J.

       91.     AT is the owner of all right, title, and interest in the ʼ540 Patent by assignment

recorded with the PTO on August 5, 2022.

       92.     The ʼ540 Patent currently expires on May 30, 2038.

       93.     The ʼ540 Patent is listed in the Orange Book in connection with NDA No. 208623

for GALAFOLD Capsules.




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       94.     Administration of GALAFOLD in accordance with the FDA-approved prescribing

information practices one or more claims of the ʼ540 Patent.

       95.     The PTO duly and legally issued the ’761 Patent on June 14, 2022, titled “Methods

of Treating Fabry Patients Having Renal Impairment.” A true and correct copy of the ʼ761 Patent

is attached as Exhibit K.

       96.     AT is the owner of all right, title, and interest in the ʼ761 Patent by assignment

recorded with the PTO on August 5, 2022.

       97.     The ʼ761 Patent currently expires on May 30, 2038.

       98.     The ʼ761 Patent is listed in the Orange Book in connection with NDA No. 208623

for GALAFOLD Capsules.

       99.     Administration of GALAFOLD in accordance with the FDA-approved prescribing

information practices one or more claims of the ʼ761 Patent.

       100.    The PTO duly and legally issued the ’762 Patent on June 14, 2022, titled “Methods

of Treating Fabry Patients Having Renal Impairment.” A true and correct copy of the ʼ762 Patent

is attached as Exhibit L.

       101.    AT is the owner of all right, title, and interest in the ʼ762 Patent by assignment

recorded with the PTO on August 5, 2022.

       102.    The ʼ762 Patent currently expires on May 30, 2038.

       103.    The ʼ762 Patent is listed in the Orange Book in connection with NDA No. 208623

for GALAFOLD Capsules.

       104.    Administration of GALAFOLD in accordance with the FDA-approved prescribing

information practices one or more claims of the ʼ762 Patent.




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       105.    The PTO duly and legally issued the ’763 Patent on June 14, 2022, titled “Methods

of Treating Fabry Patients Having Renal Impairment.” A true and correct copy of the ʼ763 Patent

is attached as Exhibit M.

       106.    AT is the owner of all right, title, and interest in the ʼ763 Patent by assignment

recorded with the PTO on August 5, 2022.

       107.    The ʼ763 Patent currently expires on May 30, 2038.

       108.    The ʼ763 Patent is listed in the Orange Book in connection with NDA No. 208623

for GALAFOLD Capsules.

       109.    Administration of GALAFOLD in accordance with the FDA-approved prescribing

information practices one or more claims of the ʼ763 Patent.

       110.    The PTO duly and legally issued the ’436 Patent on July 19, 2022, titled “Methods

of Treating Fabry Patients Having Renal Impairment.” A true and correct copy of the ʼ436 Patent

is attached as Exhibit N.

       111.    AT is the owner of all right, title, and interest in the ʼ436 Patent by assignment

recorded with the PTO on August 5, 2022.

       112.    The ʼ436 Patent currently expires on May 30, 2038.

       113.    The ʼ436 Patent is listed in the Orange Book in connection with NDA No. 208623

for GALAFOLD Capsules.

       114.    Administration of GALAFOLD in accordance with the FDA-approved prescribing

information practices one or more claims of the ʼ436 Patent.

       115.    The PTO duly and legally issued the ’437 Patent on July 19, 2022, titled “Methods

of Treating Fabry Patients Having Renal Impairment.” A true and correct copy of the ʼ437 Patent

is attached as Exhibit O.



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       116.    AT is the owner of all right, title, and interest in the ʼ437 Patent by assignment

recorded with the PTO on August 5, 2022.

       117.    The ʼ437 Patent currently expires on May 30, 2038.

       118.    The ʼ437 Patent is listed in the Orange Book in connection with NDA No. 208623

for GALAFOLD Capsules.

       119.    Administration of GALAFOLD in accordance with the FDA-approved prescribing

information practices one or more claims of the ʼ437 Patent.

       120.    The PTO duly and legally issued the ’128 Patent on October 4, 2022, titled

“Methods of Treating Fabry Patients Having Renal Impairment.” A true and correct copy of the

ʼ128 Patent is attached as Exhibit P.

       121.    AT is the owner of all right, title, and interest in the ʼ128 Patent by assignment

recorded with the PTO on August 5, 2022.

       122.    The ʼ128 Patent currently expires on May 30, 2038.

       123.    The ʼ128 Patent is listed in the Orange Book in connection with NDA No. 208623

for GALAFOLD Capsules.

       124.    Administration of GALAFOLD in accordance with the FDA-approved prescribing

information practices one or more claims of the ʼ128 Patent.

       125.    The PTO duly and legally issued the ’940 Patent on April 19, 2022, titled “Methods

of Treating Fabry Patients Having Renal Impairment.” A true and correct copy of the ʼ940 Patent

is attached as Exhibit Q.

       126.    AT is the owner of all right, title, and interest in the ʼ940 Patent by assignment

recorded with the PTO on August 5, 2022.

       127.    The ʼ940 Patent currently expires on May 30, 2038.



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       128.    The ʼ940 Patent is listed in the Orange Book in connection with NDA No. 208623

for GALAFOLD Capsules.

       129.    Administration of GALAFOLD in accordance with the FDA-approved prescribing

information practices one or more claims of the ʼ940 Patent.

       130.    The PTO duly and legally issued the ’764 Patent on June 14, 2022, titled “Methods

of Treating Fabry Patients Having Renal Impairment.” A true and correct copy of the ʼ764 Patent

is attached as Exhibit R.

       131.    AT is the owner of all right, title, and interest in the ʼ764 Patent by assignment

recorded with the PTO on August 5, 2022.

       132.    The ʼ764 Patent currently expires on May 30, 2038.

       133.    The ʼ764 Patent is listed in the Orange Book in connection with NDA No. 208623

for GALAFOLD Capsules.

       134.    Administration of GALAFOLD in accordance with the FDA-approved prescribing

information practices one or more claims of the ʼ764 Patent.

       135.    The PTO duly and legally issued the ’765 Patent on June 14, 2022, titled “Methods

of Treating Fabry Patients Having Renal Impairment.” A true and correct copy of the ʼ765 Patent

is attached as Exhibit S.

       136.    AT is the owner of all right, title, and interest in the ʼ765 Patent by assignment

recorded with the PTO on August 5, 2022.

       137.    The ʼ765 Patent currently expires on May 30, 2038.

       138.    The ʼ765 Patent is listed in the Orange Book in connection with NDA No. 208623

for GALAFOLD Capsules.




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       139.    Administration of GALAFOLD in accordance with the FDA-approved prescribing

information practices one or more claims of the ʼ765 Patent.

       140.    The PTO duly and legally issued the ’244 Patent on July 5, 2022, titled “Methods

of Treating Fabry Patients Having Renal Impairment.” A true and correct copy of the ʼ244 Patent

is attached as Exhibit T.

       141.    AT is the owner of all right, title, and interest in the ʼ244 Patent by assignment

recorded with the PTO on August 5, 2022.

       142.    The ʼ244 Patent currently expires on May 30, 2038.

       143.    The ʼ244 Patent is listed in the Orange Book in connection with NDA No. 208623

for GALAFOLD Capsules.

       144.    Administration of GALAFOLD in accordance with the FDA-approved prescribing

information practices one or more claims of the ʼ244 Patent.

       145.    The PTO duly and legally issued the ’396 Patent on August 30, 2022, titled

“Methods of Treating Fabry Patients Having Renal Impairment.” A true and correct copy of the

ʼ396 Patent is attached as Exhibit U.

       146.    AT is the owner of all right, title, and interest in the ʼ396 Patent by assignment

recorded with the PTO on August 5, 2022.

       147.    The ʼ396 Patent currently expires on May 30, 2038.

       148.    The ʼ396 Patent is listed in the Orange Book in connection with NDA No. 208623

for GALAFOLD Capsules.

       149.    Administration of GALAFOLD in accordance with the FDA-approved prescribing

information practices one or more claims of the ʼ396 Patent.




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       150.    The PTO duly and legally issued the ’657 Patent on December 29, 2020, titled

“Methods of Treating Fabry Patients Having Renal Impairment.” A true and correct copy of the

ʼ657 Patent is attached as Exhibit V.

       151.    AT is the owner of all right, title, and interest in the ʼ657 Patent by assignment

recorded with the PTO on August 5, 2022.

       152.    The ʼ657 Patent currently expires on May 30, 2038.

       153.    The ʼ657 Patent is listed in the Orange Book in connection with NDA No. 208623

for GALAFOLD Capsules.

       154.    Administration of GALAFOLD in accordance with the FDA-approved prescribing

information practices one or more claims of the ʼ657 Patent.

       155.    The PTO duly and legally issued the ’784 Patent on June 14, 2022, titled “Use of

Migalastat for Treating Fabry Disease in Pregnant Patients.” A true and correct copy of the ʼ784

Patent is attached as Exhibit W.

       156.    AT is the owner of all right, title, and interest in the ʼ784 Patent by assignment

recorded with the PTO on February 17, 2022.

       157.    The ʼ784 Patent currently expires on February 6, 2039.

       158.    The ʼ784 Patent is listed in the Orange Book in connection with NDA No. 208623

for GALAFOLD Capsules.

       159.    Administration of GALAFOLD in accordance with the FDA-approved prescribing

information practices one or more claims of the ʼ784 Patent.

       160.    The PTO duly and legally issued the ’593 Patent on March 28, 2023, titled

“Methods of Treating Fabry Patients Having Renal Impairment.” A true and correct copy of the

ʼ593 Patent is attached as Exhibit X.



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       161.    AT is the owner of all right, title, and interest in the ʼ593 Patent by assignment

recorded with the PTO on August 5, 2022.

       162.    The ʼ593 Patent currently expires on May 30, 2038.

       163.    The ʼ593 Patent is listed in the Orange Book in connection with NDA No. 208623

for GALAFOLD Capsules.

       164.    Administration of GALAFOLD in accordance with the FDA-approved prescribing

information practices one or more claims of the ʼ593 Patent.

       165.    The PTO duly and legally issued the ’594 Patent on March 28, 2023, titled

“Methods of Treating Fabry Patients Having Renal Impairment.” A true and correct copy of the

ʼ594 Patent is attached as Exhibit Y.

       166.    AT is the owner of all right, title, and interest in the ʼ594 Patent by assignment

recorded with the PTO on August 5, 2022.

       167.    The ʼ594 Patent currently expires on May 30, 2038.

       168.    The ʼ594 Patent is listed in the Orange Book in connection with NDA No. 208623

for GALAFOLD Capsules.

       169.    Administration of GALAFOLD in accordance with the FDA-approved prescribing

information practices one or more claims of the ʼ594 Patent.

       170.    The PTO duly and legally issued the ’962 Patent on April 11, 2023, titled “Methods

of Treating Fabry Patients Having Renal Impairment.” A true and correct copy of the ʼ962 Patent

is attached as Exhibit Z.

       171.    AT is the owner of all right, title, and interest in the ʼ962 Patent by assignment

recorded with the PTO on August 5, 2022.

       172.    The ʼ962 Patent currently expires on March 17, 2039.



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       173.    The ʼ962 Patent is listed in the Orange Book in connection with NDA No. 208623

for GALAFOLD Capsules.

       174.    Administration of GALAFOLD in accordance with the FDA-approved prescribing

information practices one or more claims of the ʼ962 Patent.

       175.    The PTO duly and legally issued the ’387 Patent on April 25, 2023, titled “Methods

of Treating Fabry Patients Having Renal Impairment.” A true and correct copy of the ʼ387 Patent

is attached as Exhibit AA.

       176.    AT is the owner of all right, title, and interest in the ʼ387 Patent by assignment

recorded with the PTO on August 5, 2022.

       177.    The ʼ387 Patent currently expires on May 30, 2038.

       178.    The ʼ387 Patent is listed in the Orange Book in connection with NDA No. 208623

for GALAFOLD Capsules.

       179.    Administration of GALAFOLD in accordance with the FDA-approved prescribing

information practices one or more claims of the ʼ387 Patent.

       180.    The PTO duly and legally issued the ’388 Patent on April 25, 2023, titled “Methods

of Treating Fabry Patients Having Renal Impairment.” A true and correct copy of the ʼ388 Patent

is attached as Exhibit BB.

       181.    AT is the owner of all right, title, and interest in the ʼ388 Patent by assignment

recorded with the PTO on August 5, 2022.

       182.    The ʼ388 Patent currently expires on March 25, 2039.

       183.    The ʼ388 Patent is listed in the Orange Book in connection with NDA No. 208623

for GALAFOLD Capsules.




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       184.    Administration of GALAFOLD in accordance with the FDA-approved prescribing

information practices one or more claims of the ʼ388 Patent.

       185.    The PTO duly and legally issued the ’334 Patent on May 9, 2023, titled “Methods

of Treating Fabry Patients Having Renal Impairment.” A true and correct copy of the ʼ334 Patent

is attached as Exhibit CC.

       186.    AT is the owner of all right, title, and interest in the ʼ334 Patent by assignment

recorded with the PTO on August 5, 2022.

       187.    The ʼ334 Patent currently expires on February 20, 2039.

       188.    The ʼ334 Patent is listed in the Orange Book in connection with NDA No. 208623

for GALAFOLD Capsules.

       189.    Administration of GALAFOLD in accordance with the FDA-approved prescribing

information practices one or more claims of the ʼ334 Patent.

       190.    The United States Patent and Trademark Office (the “PTO”) duly and legally issued

the ’516 Patent on October 17, 2023, titled “Methods of Treating Fabry Patients Having Renal

Impairment.” A true and correct copy of the ʼ516 Patent is attached as Exhibit DD.

       191.    AT is the owner of all right, title, and interest in the ʼ516 Patent by assignment

recorded with the PTO on August 5, 2022.

       192.    The ʼ516 Patent currently expires on May 30, 2038.

       193.    The ʼ516 Patent is listed in the Orange Book in connection with NDA No. 208623

for GALAFOLD Capsules.

       194.    Administration of GALAFOLD in accordance with the FDA-approved prescribing

information practices one or more claims of the ʼ516 Patent.




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       195.   The United States Patent and Trademark Office (the “PTO”) duly and legally issued

the ’255 Patent on November 14, 2023, titled “Methods of Treating Fabry Patients Having Renal

Impairment.” A true and correct copy of the ʼ255 Patent is attached as Exhibit EE.

       196.   AT is the owner of all right, title, and interest in the ʼ255 Patent by assignment

recorded with the PTO on August 5, 2022.

       197.   The ʼ255 Patent currently expires on May 30, 2038.

       198.   The ʼ255 Patent is listed in the Orange Book in connection with NDA No. 208623

for GALAFOLD Capsules.

       199.   Administration of GALAFOLD in accordance with the FDA-approved prescribing

information practices one or more claims of the ʼ255 Patent.

       200.   The United States Patent and Trademark Office (the “PTO”) duly and legally issued

the ’938 Patent on February 20, 2024, titled “Methods of Treating Fabry Patients Having Renal

Impairment.” A true and correct copy of the ʼ938 Patent is attached as Exhibit FF.

       201.   AT is the owner of all right, title, and interest in the ʼ938 Patent by assignment

recorded with the PTO on August 5, 2022.

       202.   The ʼ938 Patent currently expires on August 17, 2038.

       203.   The ʼ938 Patent is listed in the Orange Book in connection with NDA No. 208623

for GALAFOLD Capsules.

       204.   Administration of GALAFOLD in accordance with the FDA-approved prescribing

information practices one or more claims of the ʼ938 Patent.

                                       AUROBINDO’S ANDA

       205.   Upon information and belief, Aurobindo submitted ANDA No. 217786 with the

FDA under 21 U.S.C. § 355(j) seeking approval to engage in the commercial manufacture, use,



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offer for sale, sale, and/or importation within or into the United States of 123 mg free base

migalastat capsules (defined above as “Aurobindo’s ANDA Product”), which are generic versions

of Amicus’ GALAFOLD Capsules.

       206.    Aurobindo’s Notice Letters purport to include a “Notification of Paragraph IV

Certification Regarding [the Notice Letter Patents]” pursuant to § 505(j)(2)(B)(i)-(iv) of the

Federal Food, Drug and Cosmetic Act, 21 U.S.C. § 355(j)(2)(B)(iv)(II) and 21 C.F.R.

§ 314.95(c)(7). Together, Aurobindo’s Notice Letters state that Aurobindo’s ANDA seeks FDA

approval to engage in the commercial manufacture, use, offer for sale, sale, and/or importation

within or into the United States of Aurobindo’s ANDA Product before the expiration of the

Patents-in-Suit.

       207.    Aurobindo’s Notice Letters state that ANDA No. 217786 contains certifications

pursuant to 21 U.S.C. § 355(j)(2)(B)(iv)(II), alleging that the claims of the Patents-in-Suit are

invalid, unenforceable, or will not be infringed by the commercial manufacture, use, offer for sale,

sale, and/or importation within or into the United States of Aurobindo’s ANDA Product (defined

above as Aurobindo’s “¶ IV Certifications”).

       208.    Amicus commenced this action within 45 days of receiving Aurobindo’s October

2022 Notice Letter, which triggers a stay of FDA approval of Aurobindo’s ANDA No. 217786,

pursuant to 21 U.S.C. § 355(j)(5)(B)(iii). Amicus filed this Amended Complaint within 45 days of

receiving Aurobindo’s November 2022 Notice Letter, which triggers a stay of FDA approval of

Aurobindo’s ANDA No. 217786, pursuant to 21 U.S.C. § 355(j)(5)(B)(iii).

       209.    Upon information and belief, Aurobindo will knowingly provide Aurobindo’s

ANDA Product with a label (“Aurobindo’s Label”) including instructions for use that substantially

copy the instructions in the label for GALAFOLD Capsules.



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        210.    Upon information and belief, Aurobindo has made and will continue to make

substantial and meaningful preparations to engage in the commercial manufacture, use, offer for

sale, sale, and/or importation within or into the United States of Aurobindo’s ANDA Product that

will be administered to patients according to the instructions for use on Aurobindo’s Label.

        211.    Upon information and belief, Aurobindo’s ANDA Product will be administered to

patients according to the instructions for use on Aurobindo’s Label, which will result in formation

of the compositions claimed by the Patents-in-Suit prior to their expiration.

        212.    Upon information and belief, Aurobindo’s ANDA Product will be administered to

patients using the methods claimed by the Patents-in-Suit prior to their expiration.

        213.    Upon information and belief, Aurobindo continues to seek approval of ANDA No.

217786, and upon approval by the FDA, Aurobindo intends to immediately engage in the

commercial manufacture, use, offer for sale, sale, and/or importation within or into the United

States of Aurobindo’s ANDA Product.

        214.    Upon information and belief, upon approval by the FDA, and upon commercial

manufacture, use, offer for sale, sale, and/or importation within or into the United States,

Aurobindo’s ANDA Product will be administered to patients according to the instructions for use

on Aurobindo’s Label, which will practice the compositions and methods claimed by the Patents-

in-Suit prior to their expiration.

        215.    Upon information and belief, the compositions and methods covered by the claims

of the Patents-in-Suit are an essential component of administering Aurobindo’s ANDA Product to

patients.

        216.    Upon information and belief, Aurobindo will direct or control the treatment of

patients using Aurobindo’s ANDA Product if the FDA approves ANDA No. 217786.



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           217.   Upon information and belief, the treatment of patients using Aurobindo’s ANDA

Product will occur at Aurobindo’s active behest and with its intent, knowledge, and

encouragement.

           218.   Upon information and belief, Aurobindo will actively encourage, aid, and abet the

treatment of patients using Aurobindo’s ANDA Product with knowledge that such treatment is in

contravention of Amicus’ rights under the Patents-in-Suit.

           219.   Upon information and belief, Aurobindo knows the instructions for use in

Aurobindo’s Label will induce and/or contribute to others using Aurobindo’s ANDA Product in

the manner set forth in the instructions.

           220.   Upon information and belief, physicians, health care providers, and/or patients will

directly infringe one or more claims of the Patents-in-Suit by using Aurobindo’s ANDA Product

in accordance with the instructions for use provided in Aurobindo’s Label.

           221.   Upon information and belief, Aurobindo specifically intends that physicians, health

care providers, and/or patients will use Aurobindo’s ANDA Product in accordance with the

instructions for use provided in Aurobindo’s Label to directly infringe one or more claims of the

Patents-in-Suit.

           222.   Upon information and belief, Aurobindo knowingly has taken and intends to take

active steps to induce and/or contribute to physicians, health care providers, and/or patients using

Aurobindo’s ANDA Product in a manner that directly infringes at least one claim of the Patents-

in-Suit.

           223.   Upon information and belief, Aurobindo knows or should know that Aurobindo’s

ANDA Product will be especially made or especially adapted for use in infringement of at least




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one claim of the Patents-in-Suit, and is not a staple article or commodity of commerce suitable for

substantial non-infringing use.

       224.    Upon information and belief, Aurobindo will actively induce and/or contribute to

infringement of the Patents-in-Suit.

                                             COUNT I

                          (INFRINGEMENT OF THE ʼ279 PATENT)

       225.    Amicus re-alleges and incorporates by reference each preceding paragraph as

though fully re-stated herein.

       226.    Aurobindo filed ANDA No. 217786 indicating its intention and seeking approval

to commercially manufacture, use, offer for sale, sell, and/or import within or into the United States

Aurobindo’s ANDA Product before the expiration of the ʼ279 Patent.

       227.    Aurobindo’s October 2022 Notice Letter states that Aurobindo filed with the FDA,

pursuant to 21 U.S.C. § 355(j)(2)(B)(iv) and 21 C.F.R. § 314.95(c), a certification alleging that the

claims of the ʼ279 Patent are invalid, unenforceable, and/or will not be infringed.

       228.    By filing ANDA No. 217786, Aurobindo has represented to the FDA that, upon

approval, Aurobindo’s ANDA Product will have the same active ingredient, method of

administration, dosage form, and dosage amount as GALAFOLD Capsules, and will be

pharmaceutically and therapeutically equivalent to GALAFOLD Capsules.

       229.    Aurobindo has actual knowledge of the ʼ279 Patent, as evidenced by Aurobindo’s

October 2022 Notice Letter.

       230.    Under 35 U.S.C. § 271(e)(2)(A), Aurobindo has infringed at least one claim of the

’279 Patent by submitting, or causing to be submitted, to the FDA Aurobindo’s ANDA No. 217786




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seeking approval to commercially manufacture, use, offer for sale, sell, and/or import within or

into the United States Aurobindo’s ANDA Product before the expiration date of the ’279 Patent.

         231.   Subject to receiving final approval of ANDA No. 217786, Aurobindo intends to

and will commercially manufacture, use, offer for sale, sell, and/or import Aurobindo’s ANDA

Product within or into the United States before the expiration of the ʼ279 Patent.

         232.   Upon information and belief, Aurobindo has represented to the FDA that

Aurobindo’s ANDA Product will be bioequivalent to GALAFOLD Capsules and will contain 123

mg free base migalastat.

         233.   If ANDA No. 217786 is approved, Aurobindo will infringe one or more claims of

the ʼ279 Patent under § 271(a), either literally or under the doctrine of equivalents by commercially

making, using, offering for sale, selling, and/or importing Aurobindo’s ANDA Product within or

into the United States and/or by actively inducing infringement by others under § 271(b) and/or

contributing to infringement under § 271(c), unless this Court orders that the effective date of any

FDA approval of ANDA No. 217786 shall be no earlier than the expiration of the ʼ279 Patent.

         234.   Aurobindo knows, should know, and intends that physicians will prescribe and

patients will take Aurobindo’s ANDA Product according to the instructions for use in Aurobindo’s

Label.

         235.   Aurobindo has knowledge of the ʼ279 Patent and, by virtue of Aurobindo’s Label

for Aurobindo’s ANDA Product, knows or should know that it will induce direct infringement of

at least one claim of the ʼ279 Patent, either literally or under the doctrine of equivalents.

         236.   Aurobindo is aware, has knowledge of, and/or specifically intends that Aurobindo’s

Label will encourage, recommend, promote, and/or instruct others how to engage in an infringing

use because healthcare professionals and/or patients will use Aurobindo’s ANDA Product



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according to the instructions for use in Aurobindo’s Label in a way that directly infringes at least

one claim of the ʼ279 Patent.

       237.    Aurobindo’s actions relating to Aurobindo’s ANDA No. 217786 complained of

herein were done by and for the benefit of Aurobindo.

       238.    Amicus will be substantially and irreparably harmed by Aurobindo’s infringement

of the ʼ279 Patent unless enjoined by the Court.

       239.    Amicus does not have any adequate remedy at law.

                                            COUNT II

                          (INFRINGEMENT OF THE ʼ727 PATENT)

       240.    Amicus re-alleges and incorporates by reference each preceding paragraph as

though fully re-stated herein.

       241.    Aurobindo filed ANDA No. 217786 indicating its intention and seeking approval

to commercially manufacture, use, offer for sale, sell, and/or import within or into the United States

Aurobindo’s ANDA Product before the expiration of the ʼ727 Patent.

       242.    Aurobindo’s October 2022 Notice Letter states that Aurobindo filed with the FDA,

pursuant to 21 U.S.C. § 355(j)(2)(B)(iv) and 21 C.F.R. § 314.95(c), a certification alleging that the

claims of the ʼ727 Patent are invalid, unenforceable, and/or will not be infringed.

       243.    By filing ANDA No. 217786, Aurobindo has represented to the FDA that, upon

approval, Aurobindo’s ANDA Product will have the same active ingredient, method of

administration, dosage form, and dosage amount as GALAFOLD Capsules, and will be

pharmaceutically and therapeutically equivalent to GALAFOLD Capsules.

       244.    Aurobindo has actual knowledge of the ʼ727 Patent, as evidenced by Aurobindo’s

October 2022 Notice Letter.



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         245.   Under 35 U.S.C. § 271(e)(2)(A), Aurobindo has infringed at least one claim of the

’727 Patent by submitting, or causing to be submitted, to the FDA Aurobindo’s ANDA No. 217786

seeking approval to commercially manufacture, use, offer for sale, sell, and/or import within or

into the United States Aurobindo’s ANDA Product before the expiration date of the ’727 Patent.

         246.   Subject to receiving final approval of ANDA No. 217786, Aurobindo intends to

and will commercially manufacture, use, offer for sale, sell, and/or import Aurobindo’s ANDA

Product within or into the United States before the expiration of the ʼ727 Patent.

         247.   Upon information and belief, Aurobindo has represented to the FDA that

Aurobindo’s ANDA Product will be bioequivalent to GALAFOLD Capsules and will contain 123

mg free base migalastat.

         248.   If ANDA No. 217786 is approved, Aurobindo will infringe one or more claims of

the ʼ727 Patent under § 271(a), either literally or under the doctrine of equivalents by commercially

making, using, offering for sale, selling, and/or importing Aurobindo’s ANDA Product within or

into the United States and/or by actively inducing infringement by others under § 271(b) and/or

contributing to infringement under § 271(c), unless this Court orders that the effective date of any

FDA approval of ANDA No. 217786 shall be no earlier than the expiration of the ʼ727 Patent.

         249.   Aurobindo knows, should know, and intends that physicians will prescribe and

patients will take Aurobindo’s ANDA Product according to the instructions for use in Aurobindo’s

Label.

         250.   Aurobindo has knowledge of the ʼ727 Patent and, by virtue of Aurobindo’s Label

for Aurobindo’s ANDA Product, knows or should know that it will induce direct infringement of

at least one claim of the ʼ727 Patent, either literally or under the doctrine of equivalents.




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       251.    Aurobindo is aware, has knowledge of, and/or specifically intends that Aurobindo’s

Label will encourage, recommend, promote, and/or instruct others how to engage in an infringing

use because healthcare professionals and/or patients will use Aurobindo’s ANDA Product

according to the instructions for use in Aurobindo’s Label in a way that directly infringes at least

one claim of the ʼ727 Patent.

       252.    Aurobindo’s actions relating to Aurobindo’s ANDA No. 217786 complained of

herein were done by and for the benefit of Aurobindo.

       253.    Amicus will be substantially and irreparably harmed by Aurobindo’s infringement

of the ʼ727 Patent unless enjoined by the Court.

       254.    Amicus does not have any adequate remedy at law.

                                            COUNT III

                             (INFRINGEMENT OF PATENT ʼ889)

       255.    Amicus re-alleges and incorporates by reference each preceding paragraph as

though fully re-stated herein.

       256.    Aurobindo filed ANDA No. 217786 indicating its intention and seeking approval

to commercially manufacture, use, offer for sale, sell, and/or import within or into the United States

Aurobindo’s ANDA Product before the expiration of the ʼ889 Patent.

       257.    Aurobindo’s October 2022 Notice Letter states that Aurobindo filed with the FDA,

pursuant to 21 U.S.C. § 355(j)(2)(B)(iv) and 21 C.F.R. § 314.95(c), a certification alleging that the

claims of the ʼ889 Patent are invalid, unenforceable, and/or will not be infringed.

       258.    By filing ANDA No. 217786, Aurobindo has represented to the FDA that, upon

approval, Aurobindo’s ANDA Product will have the same active ingredient, method of




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administration, dosage form, and dosage amount as GALAFOLD Capsules, and will be

pharmaceutically and therapeutically equivalent to GALAFOLD Capsules.

         259.   Aurobindo has actual knowledge of the ʼ889 Patent, as evidenced by Aurobindo’s

October 2022 Notice Letter.

         260.   Under 35 U.S.C. § 271(e)(2)(A), Aurobindo has infringed at least one claim of the

’889 Patent by submitting, or causing to be submitted, to the FDA Aurobindo’s ANDA No. 217786

seeking approval to commercially manufacture, use, offer for sale, sell, and/or import within or

into the United States Aurobindo’s ANDA Product before the expiration date of the ’889 Patent.

         261.   Subject to receiving final approval of ANDA No. 217786, Aurobindo intends to

and will commercially manufacture, use, offer for sale, sell, and/or import Aurobindo’s ANDA

Product within or into the United States before the expiration of the ʼ889 Patent.

         262.   Upon information and belief, Aurobindo has represented to the FDA that

Aurobindo’s ANDA Product will be bioequivalent to GALAFOLD Capsules and will contain 123

mg free base migalastat.

         263.   If ANDA No. 217786 is approved, Aurobindo will infringe one or more claims of

the ʼ889 Patent under § 271(a), either literally or under the doctrine of equivalents by commercially

making, using, offering for sale, selling, and/or importing Aurobindo’s ANDA Product within or

into the United States and/or by actively inducing infringement by others under § 271(b) and/or

contributing to infringement under § 271(c), unless this Court orders that the effective date of any

FDA approval of ANDA No. 217786 shall be no earlier than the expiration of the ʼ889 Patent.

         264.   Aurobindo knows, should know, and intends that physicians will prescribe and

patients will take Aurobindo’s ANDA Product according to the instructions for use in Aurobindo’s

Label.



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       265.    Aurobindo has knowledge of the ʼ889 Patent and, by virtue of Aurobindo’s Label

for Aurobindo’s ANDA Product, knows or should know that it will induce direct infringement of

at least one claim of the ʼ889 Patent, either literally or under the doctrine of equivalents.

       266.    Aurobindo is aware, has knowledge of, and/or specifically intends that Aurobindo’s

Label will encourage, recommend, promote, and/or instruct others how to engage in an infringing

use because healthcare professionals and/or patients will use Aurobindo’s ANDA Product

according to the instructions for use in Aurobindo’s Label in a way that directly infringes at least

one claim of the ʼ889 Patent.

       267.    Aurobindo’s actions relating to Aurobindo’s ANDA No. 217786 complained of

herein were done by and for the benefit of Aurobindo.

       268.    Amicus will be substantially and irreparably harmed by Aurobindo’s infringement

of the ʼ889 Patent unless enjoined by the Court.

       269.    Amicus does not have any adequate remedy at law.

                                            COUNT IV

                          (INFRINGEMENT OF THE ʼ890 PATENT)

       270.    Amicus re-alleges and incorporates by reference each preceding paragraph as

though fully re-stated herein.

       271.    Aurobindo filed ANDA No. 217786 indicating its intention and seeking approval

to commercially manufacture, use, offer for sale, sell, and/or import within or into the United States

Aurobindo’s ANDA Product before the expiration of the ʼ890 Patent.

       272.    Aurobindo’s October 2022 Notice Letter states that Aurobindo filed with the FDA,

pursuant to 21 U.S.C. § 355(j)(2)(B)(iv) and 21 C.F.R. § 314.95(c), a certification alleging that the

claims of the ʼ890 Patent are invalid, unenforceable, and/or will not be infringed.



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       273.    By filing ANDA No. 217786, Aurobindo has represented to the FDA that, upon

approval, Aurobindo’s ANDA Product will have the same active ingredient, method of

administration, dosage form, and dosage amount as GALAFOLD Capsules, and will be

pharmaceutically and therapeutically equivalent to GALAFOLD Capsules.

       274.    Aurobindo has actual knowledge of the ʼ890 Patent, as evidenced by Aurobindo’s

October 2022 Notice Letter.

       275.    Under 35 U.S.C. § 271(e)(2)(A), Aurobindo has infringed at least one claim of the

’890 Patent by submitting, or causing to be submitted, to the FDA Aurobindo’s ANDA No. 217786

seeking approval to commercially manufacture, use, offer for sale, sell, and/or import within or

into the United States Aurobindo’s ANDA Product before the expiration date of the ’890 Patent.

       276.    Subject to receiving final approval of ANDA No. 217786, Aurobindo intends to

and will commercially manufacture, use, offer for sale, sell, and/or import Aurobindo’s ANDA

Product within or into the United States before the expiration of the ʼ890 Patent.

       277.    Upon information and belief, Aurobindo has represented to the FDA that

Aurobindo’s ANDA Product will be bioequivalent to GALAFOLD Capsules and will contain 123

mg free base migalastat.

       278.    If ANDA No. 217786 is approved, Aurobindo will infringe one or more claims of

the ʼ890 Patent under § 271(a), either literally or under the doctrine of equivalents by commercially

making, using, offering for sale, selling, and/or importing Aurobindo’s ANDA Product within or

into the United States and/or by actively inducing infringement by others under § 271(b) and/or

contributing to infringement under § 271(c), unless this Court orders that the effective date of any

FDA approval of ANDA No. 217786 shall be no earlier than the expiration of the ʼ890 Patent.




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         279.   Aurobindo knows, should know, and intends that physicians will prescribe and

patients will take Aurobindo’s ANDA Product according to the instructions for use in Aurobindo’s

Label.

         280.   Aurobindo has knowledge of the ʼ890 Patent and, by virtue of Aurobindo’s Label

for Aurobindo’s ANDA Product, knows or should know that it will induce direct infringement of

at least one claim of the ʼ890 Patent, either literally or under the doctrine of equivalents.

         281.   Aurobindo is aware, has knowledge of, and/or specifically intends that Aurobindo’s

Label will encourage, recommend, promote, and/or instruct others how to engage in an infringing

use because healthcare professionals and/or patients will use Aurobindo’s ANDA Product

according to the instructions for use in Aurobindo’s Label in a way that directly infringes at least

one claim of the ʼ890 Patent.

         282.   Aurobindo’s actions relating to Aurobindo’s ANDA No. 217786 complained of

herein were done by and for the benefit of Aurobindo.

         283.   Amicus will be substantially and irreparably harmed by Aurobindo’s infringement

of the ʼ890 Patent unless enjoined by the Court.

         284.   Amicus does not have any adequate remedy at law.

                                             COUNT V

                          (INFRINGEMENT OF THE ʼ655 PATENT)

         285.   Amicus re-alleges and incorporates by reference each preceding paragraph as

though fully re-stated herein.

         286.   Aurobindo filed ANDA No. 217786 indicating its intention and seeking approval

to commercially manufacture, use, offer for sale, sell, and/or import within or into the United States

Aurobindo’s ANDA Product before the expiration of the ʼ655 Patent.



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       287.    Aurobindo’s October 2022 Notice Letter states that Aurobindo filed with the FDA,

pursuant to 21 U.S.C. § 355(j)(2)(B)(iv) and 21 C.F.R. § 314.95(c), a certification alleging that the

claims of the ʼ655 Patent are invalid, unenforceable, and/or will not be infringed.

       288.    By filing ANDA No. 217786, Aurobindo has represented to the FDA that, upon

approval, Aurobindo’s ANDA Product will have the same active ingredient, method of

administration, dosage form, and dosage amount as GALAFOLD Capsules, and will be

pharmaceutically and therapeutically equivalent to GALAFOLD Capsules.

       289.    Aurobindo has actual knowledge of the ʼ655 Patent, as evidenced by Aurobindo’s

October 2022 Notice Letter.

       290.    Under 35 U.S.C. § 271(e)(2)(A), Aurobindo has infringed at least one claim of the

’655 Patent by submitting, or causing to be submitted, to the FDA Aurobindo’s ANDA No. 217786

seeking approval to commercially manufacture, use, offer for sale, sell, and/or import within or

into the United States Aurobindo’s ANDA Product before the expiration date of the ’655 Patent.

       291.    Subject to receiving final approval of ANDA No. 217786, Aurobindo intends to

and will commercially manufacture, use, offer for sale, sell, and/or import Aurobindo’s ANDA

Product within or into the United States before the expiration of the ʼ655 Patent.

       292.    Upon information and belief, Aurobindo has represented to the FDA that

Aurobindo’s ANDA Product will be bioequivalent to GALAFOLD Capsules and will contain 123

mg free base migalastat.

       293.    If ANDA No. 217786 is approved, Aurobindo will infringe one or more claims of

the ʼ655 Patent under § 271(a), either literally or under the doctrine of equivalents by commercially

making, using, offering for sale, selling, and/or importing Aurobindo’s ANDA Product within or

into the United States and/or by actively inducing infringement by others under § 271(b) and/or



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contributing to infringement under § 271(c), unless this Court orders that the effective date of any

FDA approval of ANDA No. 217786 shall be no earlier than the expiration of the ʼ655 Patent.

         294.   Aurobindo knows, should know, and intends that physicians will prescribe and

patients will take Aurobindo’s ANDA Product according to the instructions for use in Aurobindo’s

Label.

         295.   Aurobindo has knowledge of the ʼ655 Patent and, by virtue of Aurobindo’s Label

for Aurobindo’s ANDA Product, knows or should know that it will induce direct infringement of

at least one claim of the ʼ655 Patent, either literally or under the doctrine of equivalents.

         296.   Aurobindo is aware, has knowledge of, and/or specifically intends that Aurobindo’s

Label will encourage, recommend, promote, and/or instruct others how to engage in an infringing

use because healthcare professionals and/or patients will use Aurobindo’s ANDA Product

according to the instructions for use in Aurobindo’s Label in a way that directly infringes at least

one claim of the ʼ655 Patent.

         297.   Aurobindo’s actions relating to Aurobindo’s ANDA No. 217786 complained of

herein were done by and for the benefit of Aurobindo.

         298.   Amicus will be substantially and irreparably harmed by Aurobindo’s infringement

of the ʼ655 Patent unless enjoined by the Court.

         299.   Amicus does not have any adequate remedy at law.

                                            COUNT VI

                          (INFRINGEMENT OF THE ʼ536 PATENT)

         300.   Amicus re-alleges and incorporates by reference each preceding paragraph as

though fully re-stated herein.




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       301.    Aurobindo filed ANDA No. 217786 indicating its intention and seeking approval

to commercially manufacture, use, offer for sale, sell, and/or import within or into the United States

Aurobindo’s ANDA Product before the expiration of the ʼ536 Patent.

       302.    Aurobindo’s October 2022 Notice Letter states that Aurobindo filed with the FDA,

pursuant to 21 U.S.C. § 355(j)(2)(B)(iv) and 21 C.F.R. § 314.95(c), a certification alleging that the

claims of the ʼ536 Patent are invalid, unenforceable, and/or will not be infringed.

       303.    By filing ANDA No. 217786, Aurobindo has represented to the FDA that, upon

approval, Aurobindo’s ANDA Product will have the same active ingredient, method of

administration, dosage form, and dosage amount as GALAFOLD Capsules, and will be

pharmaceutically and therapeutically equivalent to GALAFOLD Capsules.

       304.    Aurobindo has actual knowledge of the ʼ536 Patent, as evidenced by Aurobindo’s

October 2022 Notice Letter.

       305.    Under 35 U.S.C. § 271(e)(2)(A), Aurobindo has infringed at least one claim of the

’536 Patent by submitting, or causing to be submitted, to the FDA Aurobindo’s ANDA No. 217786

seeking approval to commercially manufacture, use, offer for sale, sell, and/or import within or

into the United States Aurobindo’s ANDA Product before the expiration date of the ’536 Patent.

       306.    Subject to receiving final approval of ANDA No. 217786, Aurobindo intends to

and will commercially manufacture, use, offer for sale, sell, and/or import Aurobindo’s ANDA

Product within or into the United States before the expiration of the ʼ536 Patent.

       307.    Upon information and belief, Aurobindo has represented to the FDA that

Aurobindo’s ANDA Product will be bioequivalent to GALAFOLD Capsules and will contain 123

mg free base migalastat.




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         308.   If ANDA No. 217786 is approved, Aurobindo will infringe one or more claims of

the ʼ536 Patent under § 271(a), either literally or under the doctrine of equivalents by commercially

making, using, offering for sale, selling, and/or importing Aurobindo’s ANDA Product within or

into the United States and/or by actively inducing infringement by others under § 271(b) and/or

contributing to infringement under § 271(c), unless this Court orders that the effective date of any

FDA approval of ANDA No. 217786 shall be no earlier than the expiration of the ʼ536 Patent.

         309.   Aurobindo knows, should know, and intends that physicians will prescribe and

patients will take Aurobindo’s ANDA Product according to the instructions for use in Aurobindo’s

Label.

         310.   Aurobindo has knowledge of the ʼ536 Patent and, by virtue of Aurobindo’s Label

for Aurobindo’s ANDA Product, knows or should know that it will induce direct infringement of

at least one claim of the ʼ536 Patent, either literally or under the doctrine of equivalents.

         311.   Aurobindo is aware, has knowledge of, and/or specifically intends that Aurobindo’s

Label will encourage, recommend, promote, and/or instruct others how to engage in an infringing

use because healthcare professionals and/or patients will use Aurobindo’s ANDA Product

according to the instructions for use in Aurobindo’s Label in a way that directly infringes at least

one claim of the ʼ536 Patent.

         312.   Aurobindo’s actions relating to Aurobindo’s ANDA No. 217786 complained of

herein were done by and for the benefit of Aurobindo.

         313.   Amicus will be substantially and irreparably harmed by Aurobindo’s infringement

of the ʼ536 Patent unless enjoined by the Court.

         314.   Amicus does not have any adequate remedy at law.




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                                           COUNT VII

                          (INFRINGEMENT OF THE ʼ537 PATENT)

       315.    Amicus re-alleges and incorporates by reference each preceding paragraph as

though fully re-stated herein.

       316.    Aurobindo filed ANDA No. 217786 indicating its intention and seeking approval

to commercially manufacture, use, offer for sale, sell, and/or import within or into the United States

Aurobindo’s ANDA Product before the expiration of the ʼ537 Patent.

       317.    Aurobindo’s October 2022 Notice Letter states that Aurobindo filed with the FDA,

pursuant to 21 U.S.C. § 355(j)(2)(B)(iv) and 21 C.F.R. § 314.95(c), a certification alleging that the

claims of the ʼ537 Patent are invalid, unenforceable, and/or will not be infringed.

       318.    By filing ANDA No. 217786, Aurobindo has represented to the FDA that, upon

approval, Aurobindo’s ANDA Product will have the same active ingredient, method of

administration, dosage form, and dosage amount as GALAFOLD Capsules, and will be

pharmaceutically and therapeutically equivalent to GALAFOLD Capsules.

       319.    Aurobindo has actual knowledge of the ʼ537 Patent, as evidenced by Aurobindo’s

October 2022 Notice Letter.

       320.    Under 35 U.S.C. § 271(e)(2)(A), Aurobindo has infringed at least one claim of the

’537 Patent by submitting, or causing to be submitted, to the FDA Aurobindo’s ANDA No. 217786

seeking approval to commercially manufacture, use, offer for sale, sell, and/or import within or

into the United States Aurobindo’s ANDA Product before the expiration date of the ’537 Patent.

       321.    Subject to receiving final approval of ANDA No. 217786, Aurobindo intends to

and will commercially manufacture, use, offer for sale, sell, and/or import Aurobindo’s ANDA

Product within or into the United States before the expiration of the ʼ537 Patent.



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         322.   Upon information and belief, Aurobindo has represented to the FDA that

Aurobindo’s ANDA Product will be bioequivalent to GALAFOLD Capsules and will contain 123

mg free base migalastat.

         323.   If ANDA No. 217786 is approved, Aurobindo will infringe one or more claims of

the ʼ537 Patent under § 271(a), either literally or under the doctrine of equivalents by commercially

making, using, offering for sale, selling, and/or importing Aurobindo’s ANDA Product within or

into the United States and/or by actively inducing infringement by others under § 271(b) and/or

contributing to infringement under § 271(c), unless this Court orders that the effective date of any

FDA approval of ANDA No. 217786 shall be no earlier than the expiration of the ʼ537 Patent.

         324.   Aurobindo knows, should know, and intends that physicians will prescribe and

patients will take Aurobindo’s ANDA Product according to the instructions for use in Aurobindo’s

Label.

         325.   Aurobindo has knowledge of the ʼ537 Patent and, by virtue of Aurobindo’s Label

for Aurobindo’s ANDA Product, knows or should know that it will induce direct infringement of

at least one claim of the ʼ537 Patent, either literally or under the doctrine of equivalents.

         326.   Aurobindo is aware, has knowledge of, and/or specifically intends that Aurobindo’s

Label will encourage, recommend, promote, and/or instruct others how to engage in an infringing

use because healthcare professionals and/or patients will use Aurobindo’s ANDA Product

according to the instructions for use in Aurobindo’s Label in a way that directly infringes at least

one claim of the ʼ537 Patent.

         327.   Aurobindo’s actions relating to Aurobindo’s ANDA No. 217786 complained of

herein were done by and for the benefit of Aurobindo.




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       328.    Amicus will be substantially and irreparably harmed by Aurobindo’s infringement

of the ʼ537 Patent unless enjoined by the Court.

       329.    Amicus does not have any adequate remedy at law.

                                           COUNT VIII

                              (INFRINGEMENT OF THE ʼ538 PATENT)

       330.    Amicus re-alleges and incorporates by reference each preceding paragraph as

though fully re-stated herein.

       331.    Aurobindo filed ANDA No. 217786 indicating its intention and seeking approval

to commercially manufacture, use, offer for sale, sell, and/or import within or into the United States

Aurobindo’s ANDA Product before the expiration of the ʼ538 Patent.

       332.    Aurobindo’s October 2022 Notice Letter states that Aurobindo filed with the FDA,

pursuant to 21 U.S.C. § 355(j)(2)(B)(iv) and 21 C.F.R. § 314.95(c), a certification alleging that the

claims of the ʼ538 Patent are invalid, unenforceable, and/or will not be infringed.

       333.    By filing ANDA No. 217786, Aurobindo has represented to the FDA that, upon

approval, Aurobindo’s ANDA Product will have the same active ingredient, method of

administration, dosage form, and dosage amount as GALAFOLD Capsules, and will be

pharmaceutically and therapeutically equivalent to GALAFOLD Capsules.

       334.    Aurobindo has actual knowledge of the ʼ538 Patent, as evidenced by Aurobindo’s

October 2022 Notice Letter.

       335.    Under 35 U.S.C. § 271(e)(2)(A), Aurobindo has infringed at least one claim of the

’538 Patent by submitting, or causing to be submitted, to the FDA Aurobindo’s ANDA No. 217786

seeking approval to commercially manufacture, use, offer for sale, sell, and/or import within or

into the United States Aurobindo’s ANDA Product before the expiration date of the ’538 Patent.



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         336.   Subject to receiving final approval of ANDA No. 217786, Aurobindo intends to

and will commercially manufacture, use, offer for sale, sell, and/or import Aurobindo’s ANDA

Product within or into the United States before the expiration of the ʼ538 Patent.

         337.   Upon information and belief, Aurobindo has represented to the FDA that

Aurobindo’s ANDA Product will be bioequivalent to GALAFOLD Capsules and will contain 123

mg free base migalastat.

         338.   If ANDA No. 217786 is approved, Aurobindo will infringe one or more claims of

the ʼ538 Patent under § 271(a), either literally or under the doctrine of equivalents by commercially

making, using, offering for sale, selling, and/or importing Aurobindo’s ANDA Product within or

into the United States and/or by actively inducing infringement by others under § 271(b) and/or

contributing to infringement under § 271(c), unless this Court orders that the effective date of any

FDA approval of ANDA No. 217786 shall be no earlier than the expiration of the ʼ538 Patent.

         339.   Aurobindo knows, should know, and intends that physicians will prescribe and

patients will take Aurobindo’s ANDA Product according to the instructions for use in Aurobindo’s

Label.

         340.   Aurobindo has knowledge of the ʼ538 Patent and, by virtue of Aurobindo’s Label

for Aurobindo’s ANDA Product, knows or should know that it will induce direct infringement of

at least one claim of the ʼ538 Patent, either literally or under the doctrine of equivalents.

         341.   Aurobindo is aware, has knowledge of, and/or specifically intends that Aurobindo’s

Label will encourage, recommend, promote, and/or instruct others how to engage in an infringing

use because healthcare professionals and/or patients will use Aurobindo’s ANDA Product

according to the instructions for use in Aurobindo’s Label in a way that directly infringes at least

one claim of the ʼ538 Patent.



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       342.    Aurobindo’s actions relating to Aurobindo’s ANDA No. 217786 complained of

herein were done by and for the benefit of Aurobindo.

       343.    Amicus will be substantially and irreparably harmed by Aurobindo’s infringement

of the ʼ538 Patent unless enjoined by the Court.

       344.    Amicus does not have any adequate remedy at law.

                                            COUNT IX

                          (INFRINGEMENT OF THE ʼ539 PATENT)

       345.    Amicus re-alleges and incorporates by reference each preceding paragraph as

though fully re-stated herein.

       346.    Aurobindo filed ANDA No. 217786 indicating its intention and seeking approval

to commercially manufacture, use, offer for sale, sell, and/or import within or into the United States

Aurobindo’s ANDA Product before the expiration of the ʼ539 Patent.

       347.    Aurobindo’s October 2022 Notice Letter states that Aurobindo filed with the FDA,

pursuant to 21 U.S.C. § 355(j)(2)(B)(iv) and 21 C.F.R. § 314.95(c), a certification alleging that the

claims of the ʼ539 Patent are invalid, unenforceable, and/or will not be infringed.

       348.    By filing ANDA No. 217786, Aurobindo has represented to the FDA that, upon

approval, Aurobindo’s ANDA Product will have the same active ingredient, method of

administration, dosage form, and dosage amount as GALAFOLD Capsules, and will be

pharmaceutically and therapeutically equivalent to GALAFOLD Capsules.

       349.    Aurobindo has actual knowledge of the ʼ539 Patent, as evidenced by Aurobindo’s

October 2022 Notice Letter.

       350.    Under 35 U.S.C. § 271(e)(2)(A), Aurobindo has infringed at least one claim of the

’539 Patent by submitting, or causing to be submitted, to the FDA Aurobindo’s ANDA No. 217786



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seeking approval to commercially manufacture, use, offer for sale, sell, and/or import within or

into the United States Aurobindo’s ANDA Product before the expiration date of the ’539 Patent.

         351.   Subject to receiving final approval of ANDA No. 217786, Aurobindo intends to

and will commercially manufacture, use, offer for sale, sell, and/or import Aurobindo’s ANDA

Product within or into the United States before the expiration of the ʼ539 Patent.

         352.   Upon information and belief, Aurobindo has represented to the FDA that

Aurobindo’s ANDA Product will be bioequivalent to GALAFOLD Capsules and will contain 123

mg free base migalastat.

         353.   If ANDA No. 217786 is approved, Aurobindo will infringe one or more claims of

the ʼ539 Patent under § 271(a), either literally or under the doctrine of equivalents by commercially

making, using, offering for sale, selling, and/or importing Aurobindo’s ANDA Product within or

into the United States and/or by actively inducing infringement by others under § 271(b) and/or

contributing to infringement under § 271(c), unless this Court orders that the effective date of any

FDA approval of ANDA No. 217786 shall be no earlier than the expiration of the ʼ539 Patent.

         354.   Aurobindo knows, should know, and intends that physicians will prescribe and

patients will take Aurobindo’s ANDA Product according to the instructions for use in Aurobindo’s

Label.

         355.   Aurobindo has knowledge of the ʼ539 Patent and, by virtue of Aurobindo’s Label

for Aurobindo’s ANDA Product, knows or should know that it will induce direct infringement of

at least one claim of the ʼ539 Patent, either literally or under the doctrine of equivalents.

         356.   Aurobindo is aware, has knowledge of, and/or specifically intends that Aurobindo’s

Label will encourage, recommend, promote, and/or instruct others how to engage in an infringing

use because healthcare professionals and/or patients will use Aurobindo’s ANDA Product



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according to the instructions for use in Aurobindo’s Label in a way that directly infringes at least

one claim of the ʼ539 Patent.

       357.    Aurobindo’s actions relating to Aurobindo’s ANDA No. 217786 complained of

herein were done by and for the benefit of Aurobindo.

       358.    Amicus will be substantially and irreparably harmed by Aurobindo’s infringement

of the ʼ539 Patent unless enjoined by the Court.

       359.    Amicus does not have any adequate remedy at law.

                                            COUNT X

                          (INFRINGEMENT OF THE ʼ540 PATENT)

       360.    Amicus re-alleges and incorporates by reference each preceding paragraph as

though fully re-stated herein.

       361.    Aurobindo filed ANDA No. 217786 indicating its intention and seeking approval

to commercially manufacture, use, offer for sale, sell, and/or import within or into the United States

Aurobindo’s ANDA Product before the expiration of the ʼ540 Patent.

       362.    Aurobindo’s October 2022 Notice Letter states that Aurobindo filed with the FDA,

pursuant to 21 U.S.C. § 355(j)(2)(B)(iv) and 21 C.F.R. § 314.95(c), a certification alleging that the

claims of the ʼ540 Patent are invalid, unenforceable, and/or will not be infringed.

       363.    By filing ANDA No. 217786, Aurobindo has represented to the FDA that, upon

approval, Aurobindo’s ANDA Product will have the same active ingredient, method of

administration, dosage form, and dosage amount as GALAFOLD Capsules, and will be

pharmaceutically and therapeutically equivalent to GALAFOLD Capsules.

       364.    Aurobindo has actual knowledge of the ʼ540 Patent, as evidenced by Aurobindo’s

October 2022 Notice Letter.



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         365.   Under 35 U.S.C. § 271(e)(2)(A), Aurobindo has infringed at least one claim of the

’540 Patent by submitting, or causing to be submitted, to the FDA Aurobindo’s ANDA No. 217786

seeking approval to commercially manufacture, use, offer for sale, sell, and/or import within or

into the United States Aurobindo’s ANDA Product before the expiration date of the ’540 Patent.

         366.   Subject to receiving final approval of ANDA No. 217786, Aurobindo intends to

and will commercially manufacture, use, offer for sale, sell, and/or import Aurobindo’s ANDA

Product within or into the United States before the expiration of the ʼ540 Patent.

         367.   Upon information and belief, Aurobindo has represented to the FDA that

Aurobindo’s ANDA Product will be bioequivalent to GALAFOLD Capsules and will contain 123

mg free base migalastat.

         368.   If ANDA No. 217786 is approved, Aurobindo will infringe one or more claims of

the ʼ540 Patent under § 271(a), either literally or under the doctrine of equivalents by commercially

making, using, offering for sale, selling, and/or importing Aurobindo’s ANDA Product within or

into the United States and/or by actively inducing infringement by others under § 271(b) and/or

contributing to infringement under § 271(c), unless this Court orders that the effective date of any

FDA approval of ANDA No. 217786 shall be no earlier than the expiration of the ʼ540 Patent.

         369.   Aurobindo knows, should know, and intends that physicians will prescribe and

patients will take Aurobindo’s ANDA Product according to the instructions for use in Aurobindo’s

Label.

         370.   Aurobindo has knowledge of the ʼ540 Patent and, by virtue of Aurobindo’s Label

for Aurobindo’s ANDA Product, knows or should know that it will induce direct infringement of

at least one claim of the ʼ540 Patent, either literally or under the doctrine of equivalents.




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       371.    Aurobindo is aware, has knowledge of, and/or specifically intends that Aurobindo’s

Label will encourage, recommend, promote, and/or instruct others how to engage in an infringing

use because healthcare professionals and/or patients will use Aurobindo’s ANDA Product

according to the instructions for use in Aurobindo’s Label in a way that directly infringes at least

one claim of the ʼ540 Patent.

       372.    Aurobindo’s actions relating to Aurobindo’s ANDA No. 217786 complained of

herein were done by and for the benefit of Aurobindo.

       373.    Amicus will be substantially and irreparably harmed by Aurobindo’s infringement

of the ʼ540 Patent unless enjoined by the Court.

       374.    Amicus does not have any adequate remedy at law.

                                            COUNT XI

                          (INFRINGEMENT OF THE ʼ761 PATENT)

       375.    Amicus re-alleges and incorporates by reference each preceding paragraph as

though fully re-stated herein.

       376.    Aurobindo filed ANDA No. 217786 indicating its intention and seeking approval

to commercially manufacture, use, offer for sale, sell, and/or import within or into the United States

Aurobindo’s ANDA Product before the expiration of patents listed in the Orange Book in

connection with NDA No. 208623 for GALAFOLD Capsules, which includes the ʼ761 Patent.

       377.    Aurobindo’s Notice Letters state that Aurobindo filed with the FDA, pursuant to

21 U.S.C. § 355(j)(2)(B)(iv) and 21 C.F.R. § 314.95(c), a certification alleging that the claims of

certain patents listed in the Orange Book in connection with NDA No. 208623 for GALAFOLD

Capsules are invalid, unenforceable, and/or will not be infringed.




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       378.    By filing ANDA No. 217786, Aurobindo has represented to the FDA that, upon

approval, Aurobindo’s ANDA Product will have the same active ingredient, method of

administration, dosage form, and dosage amount as GALAFOLD Capsules, and will be

pharmaceutically and therapeutically equivalent to GALAFOLD Capsules.

       379.    Aurobindo has actual and/or constructive notice of the ʼ761 Patent prior to this suit

as evidenced by the ʼ761 Patent’s listing in the Orange Book in connection with NDA No. 208623

for GALAFOLD Capsules. Aurobindo’s October 2022 Notice Letter did not provide a ¶ IV

certification for the ʼ761 Patent under 21 C.F.R. § 314.95(b) and 35 U.S.C. § 355(j)(2)(B)(ii).

Aurobindo’s November 2022 Notice Letter states that Aurobindo filed with the FDA a ¶ IV

Certification for the ʼ761 Patent alleging the claims of the ’761 Patent are invalid, unenforceable,

and/or will not be infringed. Upon information and belief, Aurobindo’s ¶ IV Certification and/or

Aurobindo’s notice to Amicus of its ¶ IV Certification for the ʼ761 Patent was untimely under 21

U.S.C. § 355(j)(2)(B)(ii)(I) and/or 21 C.F.R. § 314.95(d).

       380.    Upon information and belief, under 35 U.S.C. § 271(e)(2)(A), Aurobindo has

infringed at least one claim of the ’761 Patent by submitting, or causing to be submitted, to the

FDA Aurobindo’s ANDA No. 217786 seeking approval to commercially manufacture, use, offer

for sale, sell, and/or import within or into the United States Aurobindo’s ANDA Product before

the expiration of patents listed in the Orange Book in connection with NDA No. 208623 for

GALAFOLD Capsules, which includes the ʼ761 Patent.

       381.    Subject to receiving final approval of ANDA No. 217786, Aurobindo intends to

and will commercially manufacture, use, offer for sale, sell, and/or import Aurobindo’s ANDA

Product within or into the United States before the expiration of the ʼ761 Patent.




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         382.   Upon information and belief, Aurobindo has represented to the FDA that

Aurobindo’s ANDA Product will be bioequivalent to GALAFOLD Capsules and will contain 123

mg free base migalastat.

         383.   If ANDA No. 217786 is approved, Aurobindo will infringe one or more claims of

the ʼ761 Patent under § 271(a), either literally or under the doctrine of equivalents by commercially

making, using, offering for sale, selling, and/or importing Aurobindo’s ANDA Product within or

into the United States and/or by actively inducing infringement by others under § 271(b) and/or

contributing to infringement under § 271(c), unless this Court orders that the effective date of any

FDA approval of ANDA No. 217786 shall be no earlier than the expiration of the ʼ761 Patent.

         384.   Aurobindo knows, should know, and intends that physicians will prescribe and

patients will take Aurobindo’s ANDA Product according to the instructions for use in Aurobindo’s

Label.

         385.   Aurobindo has actual and/or constructive knowledge of the ʼ761 Patent and, by

virtue of Aurobindo’s Label for Aurobindo’s ANDA Product, knows or should know that it will

induce direct infringement of at least one claim of the ʼ761 Patent, either literally or under the

doctrine of equivalents.

         386.   Aurobindo is aware, has knowledge of, and/or specifically intends that Aurobindo’s

Label will encourage, recommend, promote, and/or instruct others how to engage in an infringing

use because healthcare professionals and/or patients will use Aurobindo’s ANDA Product

according to the instructions for use in Aurobindo’s Label in a way that directly infringes at least

one claim of the ʼ761 Patent.

         387.   Aurobindo’s actions relating to Aurobindo’s ANDA No. 217786 complained of

herein were done by and for the benefit of Aurobindo.



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       388.    Amicus will be substantially and irreparably harmed by Aurobindo’s infringement

of the ʼ761 Patent unless enjoined by the Court.

       389.    Amicus does not have any adequate remedy at law.

                                           COUNT XII

                          (INFRINGEMENT OF THE ʼ762 PATENT)

       390.    Amicus re-alleges and incorporates by reference each preceding paragraph as

though fully re-stated herein.

       391.    Aurobindo filed ANDA No. 217786 indicating its intention and seeking approval

to commercially manufacture, use, offer for sale, sell, and/or import within or into the United States

Aurobindo’s ANDA Product before the expiration of the ʼ762 Patent.

       392.    Aurobindo’s October 2022 Notice Letter states that Aurobindo filed with the FDA,

pursuant to 21 U.S.C. § 355(j)(2)(B)(iv) and 21 C.F.R. § 314.95(c), a certification alleging that the

claims of the ʼ762 Patent are invalid, unenforceable, and/or will not be infringed.

       393.    By filing ANDA No. 217786, Aurobindo has represented to the FDA that, upon

approval, Aurobindo’s ANDA Product will have the same active ingredient, method of

administration, dosage form, and dosage amount as GALAFOLD Capsules, and will be

pharmaceutically and therapeutically equivalent to GALAFOLD Capsules.

       394.    Aurobindo has actual knowledge of the ʼ762 Patent, as evidenced by Aurobindo’s

October 2022 Notice Letter.

       395.    Under 35 U.S.C. § 271(e)(2)(A), Aurobindo has infringed at least one claim of the

’762 Patent by submitting, or causing to be submitted, to the FDA Aurobindo’s ANDA No. 217786

seeking approval to commercially manufacture, use, offer for sale, sell, and/or import within or

into the United States Aurobindo’s ANDA Product before the expiration date of the ’762 Patent.



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         396.   Subject to receiving final approval of ANDA No. 217786, Aurobindo intends to

and will commercially manufacture, use, offer for sale, sell, and/or import Aurobindo’s ANDA

Product within or into the United States before the expiration of the ʼ762 Patent.

         397.   Upon information and belief, Aurobindo has represented to the FDA that

Aurobindo’s ANDA Product will be bioequivalent to GALAFOLD Capsules and will contain 123

mg free base migalastat.

         398.   If ANDA No. 217786 is approved, Aurobindo will infringe one or more claims of

the ʼ762 Patent under § 271(a), either literally or under the doctrine of equivalents by commercially

making, using, offering for sale, selling, and/or importing Aurobindo’s ANDA Product within or

into the United States and/or by actively inducing infringement by others under § 271(b) and/or

contributing to infringement under § 271(c), unless this Court orders that the effective date of any

FDA approval of ANDA No. 217786 shall be no earlier than the expiration of the ʼ762 Patent.

         399.   Aurobindo knows, should know, and intends that physicians will prescribe and

patients will take Aurobindo’s ANDA Product according to the instructions for use in Aurobindo’s

Label.

         400.   Aurobindo has knowledge of the ʼ762 Patent and, by virtue of Aurobindo’s Label

for Aurobindo’s ANDA Product, knows or should know that it will induce direct infringement of

at least one claim of the ʼ762 Patent, either literally or under the doctrine of equivalents.

         401.   Aurobindo is aware, has knowledge of, and/or specifically intends that Aurobindo’s

Label will encourage, recommend, promote, and/or instruct others how to engage in an infringing

use because healthcare professionals and/or patients will use Aurobindo’s ANDA Product

according to the instructions for use in Aurobindo’s Label in a way that directly infringes at least

one claim of the ʼ762 Patent.



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       402.    Aurobindo’s actions relating to Aurobindo’s ANDA No. 217786 complained of

herein were done by and for the benefit of Aurobindo.

       403.    Amicus will be substantially and irreparably harmed by Aurobindo’s infringement

of the ʼ762 Patent unless enjoined by the Court.

       404.    Amicus does not have any adequate remedy at law.

                                           COUNT XIII

                          (INFRINGEMENT OF THE ʼ763 PATENT)

       405.    Amicus re-alleges and incorporates by reference each preceding paragraph as

though fully re-stated herein.

       406.    Aurobindo filed ANDA No. 217786 indicating its intention and seeking approval

to commercially manufacture, use, offer for sale, sell, and/or import within or into the United States

Aurobindo’s ANDA Product before the expiration of the ʼ763 Patent.

       407.    Aurobindo’s October 2022 Notice Letter states that Aurobindo filed with the FDA,

pursuant to 21 U.S.C. § 355(j)(2)(B)(iv) and 21 C.F.R. § 314.95(c), a certification alleging that the

claims of the ʼ763 Patent are invalid, unenforceable, and/or will not be infringed.

       408.    By filing ANDA No. 217786, Aurobindo has represented to the FDA that, upon

approval, Aurobindo’s ANDA Product will have the same active ingredient, method of

administration, dosage form, and dosage amount as GALAFOLD Capsules, and will be

pharmaceutically and therapeutically equivalent to GALAFOLD Capsules.

       409.    Aurobindo has actual knowledge of the ʼ763 Patent, as evidenced by Aurobindo’s

October 2022 Notice Letter.

       410.    Under 35 U.S.C. § 271(e)(2)(A), Aurobindo has infringed at least one claim of the

’763 Patent by submitting, or causing to be submitted, to the FDA Aurobindo’s ANDA No. 217786



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seeking approval to commercially manufacture, use, offer for sale, sell, and/or import within or

into the United States Aurobindo’s ANDA Product before the expiration date of the ’763 Patent.

         411.   Subject to receiving final approval of ANDA No. 217786, Aurobindo intends to

and will commercially manufacture, use, offer for sale, sell, and/or import Aurobindo’s ANDA

Product within or into the United States before the expiration of the ʼ763 Patent.

         412.   Upon information and belief, Aurobindo has represented to the FDA that

Aurobindo’s ANDA Product will be bioequivalent to GALAFOLD Capsules and will contain 123

mg free base migalastat.

         413.   If ANDA No. 217786 is approved, Aurobindo will infringe one or more claims of

the ʼ763 Patent under § 271(a), either literally or under the doctrine of equivalents by commercially

making, using, offering for sale, selling, and/or importing Aurobindo’s ANDA Product within or

into the United States and/or by actively inducing infringement by others under § 271(b) and/or

contributing to infringement under § 271(c), unless this Court orders that the effective date of any

FDA approval of ANDA No. 217786 shall be no earlier than the expiration of the ʼ763 Patent.

         414.   Aurobindo knows, should know, and intends that physicians will prescribe and

patients will take Aurobindo’s ANDA Product according to the instructions for use in Aurobindo’s

Label.

         415.   Aurobindo has knowledge of the ʼ763 Patent and, by virtue of Aurobindo’s Label

for Aurobindo’s ANDA Product, knows or should know that it will induce direct infringement of

at least one claim of the ʼ763 Patent, either literally or under the doctrine of equivalents.

         416.   Aurobindo is aware, has knowledge of, and/or specifically intends that Aurobindo’s

Label will encourage, recommend, promote, and/or instruct others how to engage in an infringing

use because healthcare professionals and/or patients will use Aurobindo’s ANDA Product



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according to the instructions for use in Aurobindo’s Label in a way that directly infringes at least

one claim of the ʼ763 Patent.

       417.    Aurobindo’s actions relating to Aurobindo’s ANDA No. 217786 complained of

herein were done by and for the benefit of Aurobindo.

       418.    Amicus will be substantially and irreparably harmed by Aurobindo’s infringement

of the ʼ763 Patent unless enjoined by the Court.

       419.    Amicus does not have any adequate remedy at law.

                                           COUNT XIV

                          (INFRINGEMENT OF THE ʼ436 PATENT)

       420.    Amicus re-alleges and incorporates by reference each preceding paragraph as

though fully re-stated herein.

       421.    Aurobindo filed ANDA No. 217786 indicating its intention and seeking approval

to commercially manufacture, use, offer for sale, sell, and/or import within or into the United States

Aurobindo’s ANDA Product before the expiration of the ʼ436 Patent.

       422.    Aurobindo’s October 2022 Notice Letter states that Aurobindo filed with the FDA,

pursuant to 21 U.S.C. § 355(j)(2)(B)(iv) and 21 C.F.R. § 314.95(c), a certification alleging that the

claims of the ʼ436 Patent are invalid, unenforceable, and/or will not be infringed.

       423.    By filing ANDA No. 217786, Aurobindo has represented to the FDA that, upon

approval, Aurobindo’s ANDA Product will have the same active ingredient, method of

administration, dosage form, and dosage amount as GALAFOLD Capsules, and will be

pharmaceutically and therapeutically equivalent to GALAFOLD Capsules.

       424.    Aurobindo has actual knowledge of the ʼ436 Patent, as evidenced by Aurobindo’s

October 2022 Notice Letter.



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         425.   Under 35 U.S.C. § 271(e)(2)(A), Aurobindo has infringed at least one claim of the

’436 Patent by submitting, or causing to be submitted, to the FDA Aurobindo’s ANDA No. 217786

seeking approval to commercially manufacture, use, offer for sale, sell, and/or import within or

into the United States Aurobindo’s ANDA Product before the expiration date of the ’436 Patent.

         426.   Subject to receiving final approval of ANDA No. 217786, Aurobindo intends to

and will commercially manufacture, use, offer for sale, sell, and/or import Aurobindo’s ANDA

Product within or into the United States before the expiration of the ʼ436 Patent.

         427.   Upon information and belief, Aurobindo has represented to the FDA that

Aurobindo’s ANDA Product will be bioequivalent to GALAFOLD Capsules and will contain 123

mg free base migalastat.

         428.   If ANDA No. 217786 is approved, Aurobindo will infringe one or more claims of

the ʼ436 Patent under § 271(a), either literally or under the doctrine of equivalents by commercially

making, using, offering for sale, selling, and/or importing Aurobindo’s ANDA Product within or

into the United States and/or by actively inducing infringement by others under § 271(b) and/or

contributing to infringement under § 271(c), unless this Court orders that the effective date of any

FDA approval of ANDA No. 217786 shall be no earlier than the expiration of the ʼ436 Patent.

         429.   Aurobindo knows, should know, and intends that physicians will prescribe and

patients will take Aurobindo’s ANDA Product according to the instructions for use in Aurobindo’s

Label.

         430.   Aurobindo has knowledge of the ʼ436 Patent and, by virtue of Aurobindo’s Label

for Aurobindo’s ANDA Product, knows or should know that it will induce direct infringement of

at least one claim of the ʼ436 Patent, either literally or under the doctrine of equivalents.




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       431.    Aurobindo is aware, has knowledge of, and/or specifically intends that Aurobindo’s

Label will encourage, recommend, promote, and/or instruct others how to engage in an infringing

use because healthcare professionals and/or patients will use Aurobindo’s ANDA Product

according to the instructions for use in Aurobindo’s Label in a way that directly infringes at least

one claim of the ʼ436 Patent.

       432.    Aurobindo’s actions relating to Aurobindo’s ANDA No. 217786 complained of

herein were done by and for the benefit of Aurobindo.

       433.    Amicus will be substantially and irreparably harmed by Aurobindo’s infringement

of the ʼ436 Patent unless enjoined by the Court.

       434.    Amicus does not have any adequate remedy at law.

                                            COUNT XV

                          (INFRINGEMENT OF THE ʼ437 PATENT)

       435.    Amicus re-alleges and incorporates by reference each preceding paragraph as

though fully re-stated herein.

       436.    Aurobindo filed ANDA No. 217786 indicating its intention and seeking approval

to commercially manufacture, use, offer for sale, sell, and/or import within or into the United States

Aurobindo’s ANDA Product before the expiration of the ʼ437 Patent.

       437.    Aurobindo’s October 2022 Notice Letter states that Aurobindo filed with the FDA,

pursuant to 21 U.S.C. § 355(j)(2)(B)(iv) and 21 C.F.R. § 314.95(c), a certification alleging that the

claims of the ʼ437 Patent are invalid, unenforceable, and/or will not be infringed.

       438.    By filing ANDA No. 217786, Aurobindo has represented to the FDA that, upon

approval, Aurobindo’s ANDA Product will have the same active ingredient, method of




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administration, dosage form, and dosage amount as GALAFOLD Capsules, and will be

pharmaceutically and therapeutically equivalent to GALAFOLD Capsules.

         439.   Aurobindo has actual knowledge of the ʼ437 Patent, as evidenced by Aurobindo’s

October 2022 Notice Letter.

         440.   Under 35 U.S.C. § 271(e)(2)(A), Aurobindo has infringed at least one claim of the

’437 Patent by submitting, or causing to be submitted, to the FDA Aurobindo’s ANDA No. 217786

seeking approval to commercially manufacture, use, offer for sale, sell, and/or import within or

into the United States Aurobindo’s ANDA Product before the expiration date of the ’437 Patent.

         441.   Subject to receiving final approval of ANDA No. 217786, Aurobindo intends to

and will commercially manufacture, use, offer for sale, sell, and/or import Aurobindo’s ANDA

Product within or into the United States before the expiration of the ʼ437 Patent.

         442.   Upon information and belief, Aurobindo has represented to the FDA that

Aurobindo’s ANDA Product will be bioequivalent to GALAFOLD Capsules and will contain 123

mg free base migalastat.

         443.   If ANDA No. 217786 is approved, Aurobindo will infringe one or more claims of

the ʼ437 Patent under § 271(a), either literally or under the doctrine of equivalents by commercially

making, using, offering for sale, selling, and/or importing Aurobindo’s ANDA Product within or

into the United States and/or by actively inducing infringement by others under § 271(b) and/or

contributing to infringement under § 271(c), unless this Court orders that the effective date of any

FDA approval of ANDA No. 217786 shall be no earlier than the expiration of the ʼ437 Patent.

         444.   Aurobindo knows, should know, and intends that physicians will prescribe and

patients will take Aurobindo’s ANDA Product according to the instructions for use in Aurobindo’s

Label.



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       445.    Aurobindo has knowledge of the ʼ437 Patent and, by virtue of Aurobindo’s Label

for Aurobindo’s ANDA Product, knows or should know that it will induce direct infringement of

at least one claim of the ʼ437 Patent, either literally or under the doctrine of equivalents.

       446.    Aurobindo is aware, has knowledge of, and/or specifically intends that Aurobindo’s

Label will encourage, recommend, promote, and/or instruct others how to engage in an infringing

use because healthcare professionals and/or patients will use Aurobindo’s ANDA Product

according to the instructions for use in Aurobindo’s Label in a way that directly infringes at least

one claim of the ʼ437 Patent.

       447.    Aurobindo’s actions relating to Aurobindo’s ANDA No. 217786 complained of

herein were done by and for the benefit of Aurobindo.

       448.    Amicus will be substantially and irreparably harmed by Aurobindo’s infringement

of the ʼ437 Patent unless enjoined by the Court.

       449.    Amicus does not have any adequate remedy at law.

                                           COUNT XVI

                          (INFRINGEMENT OF THE ʼ128 PATENT)

       450.    Amicus re-alleges and incorporates by reference each preceding paragraph as

though fully re-stated herein.

       451.    Aurobindo filed ANDA No. 217786 indicating its intention and seeking approval

to commercially manufacture, use, offer for sale, sell, and/or import within or into the United States

Aurobindo’s ANDA Product before the expiration of patents listed in the Orange Book in

connection with NDA No. 208623 for GALAFOLD Capsules, which includes the ʼ128 Patent.

       452.    Aurobindo’s Notice Letters state that Aurobindo filed with the FDA, pursuant to

21 U.S.C. § 355(j)(2)(B)(iv) and 21 C.F.R. § 314.95(c), a certification alleging that the claims of



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certain patents listed in the Orange Book in connection with NDA No. 208623 for GALAFOLD

Capsules are invalid, unenforceable, and/or will not be infringed. Aurobindo’s November 2022

Notice Letter states that Aurobindo filed with the FDA a ¶ IV Certification alleging that the claims

of the ʼ128 Patent are invalid, unenforceable, and/or will not be infringed.

       453.    By filing ANDA No. 217786, Aurobindo has represented to the FDA that, upon

approval, Aurobindo’s ANDA Product will have the same active ingredient, method of

administration, dosage form, and dosage amount as GALAFOLD Capsules, and will be

pharmaceutically and therapeutically equivalent to GALAFOLD Capsules.

       454.    Aurobindo had actual and/or constructive notice of the ʼ128 Patent prior to this suit

as evidenced by the ʼ128 Patent’s listing in the Orange Book in connection with NDA No. 208623

for GALAFOLD Capsules and Aurobindo has actual knowledge of the ʼ128 Patent, as evidenced

by Aurobindo’s November 2022 Notice Letter.

       455.    Under 35 U.S.C. § 271(e)(2)(A), Aurobindo has infringed at least one claim of the

’128 Patent by submitting, or causing to be submitted, to the FDA Aurobindo’s ANDA No. 217786

seeking approval to commercially manufacture, use, offer for sale, sell, and/or import within or

into the United States Aurobindo’s ANDA Product before the expiration date of the ’128 Patent.

       456.    Subject to receiving final approval of ANDA No. 217786, Aurobindo intends to

and will commercially manufacture, use, offer for sale, sell, and/or import Aurobindo’s ANDA

Product within or into the United States before the expiration of the ʼ128 Patent.

       457.    Upon information and belief, Aurobindo has represented to the FDA that

Aurobindo’s ANDA Product will be bioequivalent to GALAFOLD Capsules and will contain 123

mg free base migalastat.




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         458.   If ANDA No. 217786 is approved, Aurobindo will infringe one or more claims of

the ʼ128 Patent under § 271(a), either literally or under the doctrine of equivalents by commercially

making, using, offering for sale, selling, and/or importing Aurobindo’s ANDA Product within or

into the United States and/or by actively inducing infringement by others under § 271(b) and/or

contributing to infringement under § 271(c), unless this Court orders that the effective date of any

FDA approval of ANDA No. 217786 shall be no earlier than the expiration of the ʼ128 Patent.

         459.   Aurobindo knows, should know, and intends that physicians will prescribe and

patients will take Aurobindo’s ANDA Product according to the instructions for use in Aurobindo’s

Label.

         460.   Aurobindo has actual and/or constructive knowledge of the ʼ128 Patent and, by

virtue of Aurobindo’s Label for Aurobindo’s ANDA Product, knows or should know that it will

induce direct infringement of at least one claim of the ʼ128 Patent, either literally or under the

doctrine of equivalents.

         461.   Aurobindo is aware, has knowledge of, and/or specifically intends that Aurobindo’s

Label will encourage, recommend, promote, and/or instruct others how to engage in an infringing

use because healthcare professionals and/or patients will use Aurobindo’s ANDA Product

according to the instructions for use in Aurobindo’s Label in a way that directly infringes at least

one claim of the ʼ128 Patent.

         462.   Aurobindo’s actions relating to Aurobindo’s ANDA No. 217786 complained of

herein were done by and for the benefit of Aurobindo.

         463.   Amicus will be substantially and irreparably harmed by Aurobindo’s infringement

of the ʼ128 Patent unless enjoined by the Court.

         464.   Amicus does not have any adequate remedy at law.



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                                           COUNT XVII

                          (INFRINGEMENT OF THE ʼ940 PATENT)

       465.    Amicus re-alleges and incorporates by reference each preceding paragraph as

though fully re-stated herein.

       466.    Aurobindo filed ANDA No. 217786 indicating its intention and seeking approval

to commercially manufacture, use, offer for sale, sell, and/or import within or into the United States

Aurobindo’s ANDA Product before the expiration of the ʼ940 Patent.

       467.    Aurobindo’s October 2022 Notice Letter states that Aurobindo filed with the FDA,

pursuant to 21 U.S.C. § 355(j)(2)(B)(iv) and 21 C.F.R. § 314.95(c), a certification alleging that the

claims of the ʼ940 Patent are invalid, unenforceable, and/or will not be infringed.

       468.    By filing ANDA No. 217786, Aurobindo has represented to the FDA that, upon

approval, Aurobindo’s ANDA Product will have the same active ingredient, method of

administration, dosage form, and dosage amount as GALAFOLD Capsules, and will be

pharmaceutically and therapeutically equivalent to GALAFOLD Capsules.

       469.    Aurobindo has actual knowledge of the ʼ940 Patent, as evidenced by Aurobindo’s

October 2022 Notice Letter.

       470.    Under 35 U.S.C. § 271(e)(2)(A), Aurobindo has infringed at least one claim of the

’940 Patent by submitting, or causing to be submitted, to the FDA Aurobindo’s ANDA No. 217786

seeking approval to commercially manufacture, use, offer for sale, sell, and/or import within or

into the United States Aurobindo’s ANDA Product before the expiration date of the ’940 Patent.

       471.    Subject to receiving final approval of ANDA No. 217786, Aurobindo intends to

and will commercially manufacture, use, offer for sale, sell, and/or import Aurobindo’s ANDA

Product within or into the United States before the expiration of the ʼ940 Patent.



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         472.   Upon information and belief, Aurobindo has represented to the FDA that

Aurobindo’s ANDA Product will be bioequivalent to GALAFOLD Capsules and will contain 123

mg free base migalastat.

         473.   If ANDA No. 217786 is approved, Aurobindo will actively induce direct

infringement of one or more claims of the ʼ940 Patent under § 271(b), either literally or under the

doctrine of equivalents, unless this Court orders that the effective date of any FDA approval of

ANDA No. 217786 shall be no earlier than the expiration of the ʼ940 Patent.

         474.   Aurobindo knows, should know, and intends that physicians will prescribe and

patients will take Aurobindo’s ANDA Product according to the instructions for use in Aurobindo’s

Label.

         475.   Aurobindo knows, should know, and intends that, when physicians prescribe and

patients take Aurobindo’s ANDA Product according to the instructions for use in Aurobindo’s

Label, such physicians and patients will make and use the compositions claimed in the ’940 Patent,

and therefore such physicians and patients will directly infringe at least one claim of the ʼ940

Patent, either literally or under the doctrine of equivalents.

         476.   Aurobindo has knowledge of the ʼ940 Patent and, by virtue of Aurobindo’s Label

for Aurobindo’s ANDA Product, knows or should know that it will induce direct infringement of

at least one claim of the ʼ940 Patent, either literally or under the doctrine of equivalents.

         477.   Aurobindo is aware, has knowledge of, and/or specifically intends that Aurobindo’s

Label will encourage, recommend, promote, and/or instruct others how to engage in an infringing

use because healthcare professionals and/or patients will use Aurobindo’s ANDA Product

according to the instructions for use in Aurobindo’s Label in a way that directly infringes at least

one claim of the ʼ940 Patent.



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       478.    Aurobindo’s actions relating to Aurobindo’s ANDA No. 217786 complained of

herein were done by and for the benefit of Aurobindo.

       479.    Amicus will be substantially and irreparably harmed by Aurobindo’s infringement

of the ʼ940 Patent unless enjoined by the Court.

       480.    Amicus does not have any adequate remedy at law.

                                          COUNT XVIII

                             (DECLARATORY JUDGMENT OF
                          INFRINGEMENT OF THE ʼ940 PATENT)

       481.    Amicus re-alleges and incorporates by reference each preceding paragraph as

though fully re-stated herein.

       482.    This claim arises under the Declaratory Judgment Act, 28 U.S.C. §§ 2201 and 2202.

       483.    A definite and concrete, real and substantial, justiciable controversy of sufficient

immediacy and reality exists between Amicus and Aurobindo regarding infringement of the ʼ940

Patent such that the Court may entertain Amicus’s request for declaratory relief consistent with

Article III of the U.S. Constitution.

       484.    Aurobindo filed ANDA No. 217786 indicating its intention and seeking approval

to commercially manufacture, use, offer for sale, sell, and/or import within or into the United States

Aurobindo’s ANDA Product before the expiration of the ʼ940 Patent.

       485.    Aurobindo’s October 2022 Notice Letter states that Aurobindo filed with the FDA,

pursuant to 21 U.S.C. § 355(j)(2)(B)(iv) and 21 C.F.R. § 314.95(c), a certification alleging that the

claims of the ʼ940 Patent are invalid, unenforceable, and/or will not be infringed.

       486.    By filing ANDA No. 217786, Aurobindo has represented to the FDA that, upon

approval, Aurobindo’s ANDA Product will have the same active ingredient, method of




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administration, dosage form, and dosage amount as GALAFOLD Capsules, and will be

pharmaceutically and therapeutically equivalent to GALAFOLD Capsules.

         487.   Aurobindo has actual knowledge of the ʼ940 Patent, as evidenced by Aurobindo’s

October 2022 Notice Letter.

         488.   Subject to receiving final approval of ANDA No. 217786, Aurobindo intends to

and will commercially manufacture, use, offer for sale, sell, and/or import Aurobindo’s ANDA

Product within or into the United States before the expiration of the ʼ940 Patent.

         489.   Upon information and belief, Aurobindo has represented to the FDA that

Aurobindo’s ANDA Product will be bioequivalent to GALAFOLD Capsules and will contain 123

mg free base migalastat.

         490.   If ANDA No. 217786 is approved, Aurobindo will actively induce direct

infringement of one or more claims of the ʼ940 Patent under § 271(b), either literally or under the

doctrine of equivalents, unless this Court orders that the effective date of any FDA approval of

ANDA No. 217786 shall be no earlier than the expiration of the ʼ940 Patent.

         491.   Aurobindo knows, should know, and intends that physicians will prescribe and

patients will take Aurobindo’s ANDA Product according to the instructions for use in Aurobindo’s

Label.

         492.   Aurobindo knows, should know, and intends that, when physicians prescribe and

patients take Aurobindo’s ANDA Product according to the instructions for use in Aurobindo’s

Label, such physicians and patients will make and use the compositions claimed in the ’940 Patent,

and therefore such physicians and patients will directly infringe at least one claim of the ʼ940

Patent, either literally or under the doctrine of equivalents.




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       493.    Aurobindo has knowledge of the ʼ940 Patent and, by virtue of Aurobindo’s Label

for Aurobindo’s ANDA Product, knows or should know that it will induce direct infringement of

at least one claim of the ʼ940 Patent, either literally or under the doctrine of equivalents.

       494.    Aurobindo is aware, has knowledge of, and/or specifically intends that Aurobindo’s

Label will encourage, recommend, promote, and/or instruct others how to engage in an infringing

use because healthcare professionals and/or patients will use Aurobindo’s ANDA Product

according to the instructions for use in Aurobindo’s Label in a way that directly infringes at least

one claim of the ʼ940 Patent.

       495.    Aurobindo’s actions relating to Aurobindo’s ANDA No. 217786 complained of

herein were done by and for the benefit of Aurobindo.

       496.    Aurobindo’s conduct including, but not limited to, Aurobindo’s filing of ANDA

No. 217786 attempting to meet the regulatory requirements for approval of Aurobindo’s ANDA

Product, demonstrates that Aurobindo has made and will continue to make substantial and

meaningful preparations to infringe the ʼ940 Patent and that Aurobindo intends to engage in the

commercial manufacture, use, offer for sale, marketing, distribution, and or/importation of

Aurobindo’s ANDA Product immediately and imminently upon final approval of Aurobindo’s

ANDA and prior to the expiration of the ʼ940 Patent.

       497.    Aurobindo’s actions indicate that it does not intend to change its course of action

to avoid infringing the ʼ940 Patent.

       498.    Amicus is entitled to a judicial declaration that the commercial manufacture, use,

offer for sale, sale, and/or importation of Aurobindo’s ANDA Product prior to expiration of the

ʼ940 Patent will constitute infringement of the ʼ940 Patent under 35 U.S.C. § 271(b).




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       499.    Amicus will be substantially and irreparably harmed by Aurobindo’s infringement

of the ʼ940 Patent unless enjoined by the Court.

       500.    Amicus does not have any adequate remedy at law.

                                           COUNT XIX

                          (INFRINGEMENT OF THE ʼ764 PATENT)

       501.    Amicus re-alleges and incorporates by reference each preceding paragraph as

though fully re-stated herein.

       502.    Aurobindo filed ANDA No. 217786 indicating its intention and seeking approval

to commercially manufacture, use, offer for sale, sell, and/or import within or into the United States

Aurobindo’s ANDA Product before the expiration of the ʼ764 Patent.

       503.    Aurobindo’s October 2022 Notice Letter states that Aurobindo filed with the FDA,

pursuant to 21 U.S.C. § 355(j)(2)(B)(iv) and 21 C.F.R. § 314.95(c), a certification alleging that the

claims of the ʼ764 Patent are invalid, unenforceable, and/or will not be infringed.

       504.    By filing ANDA No. 217786, Aurobindo has represented to the FDA that, upon

approval, Aurobindo’s ANDA Product will have the same active ingredient, method of

administration, dosage form, and dosage amount as GALAFOLD Capsules, and will be

pharmaceutically and therapeutically equivalent to GALAFOLD Capsules.

       505.    Aurobindo has actual knowledge of the ʼ764 Patent, as evidenced by Aurobindo’s

October 2022 Notice Letter.

       506.    Under 35 U.S.C. § 271(e)(2)(A), Aurobindo has infringed at least one claim of the

’764 Patent by submitting, or causing to be submitted, to the FDA Aurobindo’s ANDA No. 217786

seeking approval to commercially manufacture, use, offer for sale, sell, and/or import within or

into the United States Aurobindo’s ANDA Product before the expiration date of the ’764 Patent.



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         507.   Subject to receiving final approval of ANDA No. 217786, Aurobindo intends to

and will commercially manufacture, use, offer for sale, sell, and/or import Aurobindo’s ANDA

Product within or into the United States before the expiration of the ʼ764 Patent.

         508.   Upon information and belief, Aurobindo has represented to the FDA that

Aurobindo’s ANDA Product will be bioequivalent to GALAFOLD Capsules and will contain 123

mg free base migalastat.

         509.   If ANDA No. 217786 is approved, Aurobindo will actively induce direct

infringement of one or more claims of the ʼ764 Patent under § 271(b), either literally or under the

doctrine of equivalents, unless this Court orders that the effective date of any FDA approval of

ANDA No. 217786 shall be no earlier than the expiration of the ʼ764 Patent.

         510.   Aurobindo knows, should know, and intends that physicians will prescribe and

patients will take Aurobindo’s ANDA Product according to the instructions for use in Aurobindo’s

Label.

         511.   Aurobindo knows, should know, and intends that, when physicians prescribe and

patients take Aurobindo’s ANDA Product according to the instructions for use in Aurobindo’s

Label, such physicians and patients will make and use the compositions claimed in the ’764 Patent,

and therefore such physicians and patients will directly infringe at least one claim of the ʼ764

Patent, either literally or under the doctrine of equivalents.

         512.   Aurobindo has knowledge of the ʼ764 Patent and, by virtue of Aurobindo’s Label

for Aurobindo’s ANDA Product, knows or should know that it will induce direct infringement of

at least one claim of the ʼ764 Patent, either literally or under the doctrine of equivalents.

         513.   Aurobindo is aware, has knowledge of, and/or specifically intends that Aurobindo’s

Label will encourage, recommend, promote, and/or instruct others how to engage in an infringing



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use because healthcare professionals and/or patients will use Aurobindo’s ANDA Product

according to the instructions for use in Aurobindo’s Label in a way that directly infringes at least

one claim of the ʼ764 Patent.

       514.    Aurobindo’s actions relating to Aurobindo’s ANDA No. 217786 complained of

herein were done by and for the benefit of Aurobindo.

       515.    Amicus will be substantially and irreparably harmed by Aurobindo’s infringement

of the ʼ764 Patent unless enjoined by the Court.

       516.    Amicus does not have any adequate remedy at law.

                                            COUNT XX

                             (DECLARATORY JUDGMENT OF
                          INFRINGEMENT OF THE ʼ764 PATENT)

       517.    Amicus re-alleges and incorporates by reference each preceding paragraph as

though fully re-stated herein.

       518.    This claim arises under the Declaratory Judgment Act, 28 U.S.C. §§ 2201 and 2202.

       519.    A definite and concrete, real and substantial, justiciable controversy of sufficient

immediacy and reality exists between Amicus and Aurobindo regarding infringement of the ʼ764

Patent such that the Court may entertain Amicus’s request for declaratory relief consistent with

Article III of the U.S. Constitution.

       520.    Aurobindo filed ANDA No. 217786 indicating its intention and seeking approval

to commercially manufacture, use, offer for sale, sell, and/or import within or into the United States

Aurobindo’s ANDA Product before the expiration of the ʼ764 Patent.

       521.    Aurobindo’s October 2022 Notice Letter states that Aurobindo filed with the FDA,

pursuant to 21 U.S.C. § 355(j)(2)(B)(iv) and 21 C.F.R. § 314.95(c), a certification alleging that the

claims of the ʼ764 Patent are invalid, unenforceable, and/or will not be infringed.

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         522.   By filing ANDA No. 217786, Aurobindo has represented to the FDA that, upon

approval, Aurobindo’s ANDA Product will have the same active ingredient, method of

administration, dosage form, and dosage amount as GALAFOLD Capsules, and will be

pharmaceutically and therapeutically equivalent to GALAFOLD Capsules.

         523.   Aurobindo has actual knowledge of the ʼ764 Patent, as evidenced by Aurobindo’s

October 2022 Notice Letter.

         524.   Subject to receiving final approval of ANDA No. 217786, Aurobindo intends to

and will commercially manufacture, use, offer for sale, sell, and/or import Aurobindo’s ANDA

Product within or into the United States before the expiration of the ʼ764 Patent.

         525.   Upon information and belief, Aurobindo has represented to the FDA that

Aurobindo’s ANDA Product will be bioequivalent to GALAFOLD Capsules and will contain 123

mg free base migalastat.

         526.   If ANDA No. 217786 is approved, Aurobindo will actively induce direct

infringement of one or more claims of the ʼ764 Patent under § 271(b), either literally or under the

doctrine of equivalents, unless this Court orders that the effective date of any FDA approval of

ANDA No. 217786 shall be no earlier than the expiration of the ʼ764 Patent.

         527.   Aurobindo knows, should know, and intends that physicians will prescribe and

patients will take Aurobindo’s ANDA Product according to the instructions for use in Aurobindo’s

Label.

         528.   Aurobindo knows, should know, and intends that, when physicians prescribe and

patients take Aurobindo’s ANDA Product according to the instructions for use in Aurobindo’s

Label, such physicians and patients will make and use the compositions claimed in the ’764 Patent,




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and therefore such physicians and patients will directly infringe at least one claim of the ʼ764

Patent, either literally or under the doctrine of equivalents.

       529.    Aurobindo has knowledge of the ʼ764 Patent and, by virtue of Aurobindo’s Label

for Aurobindo’s ANDA Product, knows or should know that it will induce direct infringement of

at least one claim of the ʼ764 Patent, either literally or under the doctrine of equivalents.

       530.    Aurobindo is aware, has knowledge of, and/or specifically intends that Aurobindo’s

Label will encourage, recommend, promote, and/or instruct others how to engage in an infringing

use because healthcare professionals and/or patients will use Aurobindo’s ANDA Product

according to the instructions for use in Aurobindo’s Label in a way that directly infringes at least

one claim of the ʼ764 Patent.

       531.    Aurobindo’s actions relating to Aurobindo’s ANDA No. 217786 complained of

herein were done by and for the benefit of Aurobindo.

       532.    Aurobindo’s conduct including, but not limited to, Aurobindo’s filing of ANDA

No. 217786 attempting to meet the regulatory requirements for approval of Aurobindo’s ANDA

Product, demonstrates that Aurobindo has made and will continue to make substantial and

meaningful preparations to infringe the ʼ764 Patent and that Aurobindo intends to engage in the

commercial manufacture, use, offer for sale, marketing, distribution, and or/importation of

Aurobindo’s ANDA Product immediately and imminently upon final approval of Aurobindo’s

ANDA and prior to the expiration of the ʼ764 Patent.

       533.    Aurobindo’s actions indicate that it does not intend to change its course of action

to avoid infringing the ʼ764 Patent.




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       534.    Amicus is entitled to a judicial declaration that the commercial manufacture, use,

offer for sale, sale, and/or importation of Aurobindo’s ANDA Product prior to expiration of the

ʼ764 Patent will constitute infringement of the ʼ764 Patent under 35 U.S.C. § 271(b).

       535.    Amicus will be substantially and irreparably harmed by Aurobindo’s infringement

of the ʼ764 Patent unless enjoined by the Court.

       536.    Amicus does not have any adequate remedy at law.

                                           COUNT XXI

                          (INFRINGEMENT OF THE ʼ765 PATENT)

       537.    Amicus re-alleges and incorporates by reference each preceding paragraph as

though fully re-stated herein.

       538.    Aurobindo filed ANDA No. 217786 indicating its intention and seeking approval

to commercially manufacture, use, offer for sale, sell, and/or import within or into the United States

Aurobindo’s ANDA Product before the expiration of the ʼ765 Patent.

       539.    Aurobindo’s October 2022 Notice Letter states that Aurobindo filed with the FDA,

pursuant to 21 U.S.C. § 355(j)(2)(B)(iv) and 21 C.F.R. § 314.95(c), a certification alleging that the

claims of the ʼ765 Patent are invalid, unenforceable, and/or will not be infringed.

       540.    By filing ANDA No. 217786, Aurobindo has represented to the FDA that, upon

approval, Aurobindo’s ANDA Product will have the same active ingredient, method of

administration, dosage form, and dosage amount as GALAFOLD Capsules, and will be

pharmaceutically and therapeutically equivalent to GALAFOLD Capsules.

       541.    Aurobindo has actual knowledge of the ʼ765 Patent, as evidenced by Aurobindo’s

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         542.   Under 35 U.S.C. § 271(e)(2)(A), Aurobindo has infringed at least one claim of the

’765 Patent by submitting, or causing to be submitted, to the FDA Aurobindo’s ANDA No. 217786

seeking approval to commercially manufacture, use, offer for sale, sell, and/or import within or

into the United States Aurobindo’s ANDA Product before the expiration date of the ’765 Patent.

         543.   Subject to receiving final approval of ANDA No. 217786, Aurobindo intends to

and will commercially manufacture, use, offer for sale, sell, and/or import Aurobindo’s ANDA

Product within or into the United States before the expiration of the ʼ765 Patent.

         544.   Upon information and belief, Aurobindo has represented to the FDA that

Aurobindo’s ANDA Product will be bioequivalent to GALAFOLD Capsules and will contain 123

mg free base migalastat.

         545.   If ANDA No. 217786 is approved, Aurobindo will actively induce direct

infringement of one or more claims of the ʼ765 Patent under § 271(b), either literally or under the

doctrine of equivalents, unless this Court orders that the effective date of any FDA approval of

ANDA No. 217786 shall be no earlier than the expiration of the ʼ765 Patent.

         546.   Aurobindo knows, should know, and intends that physicians will prescribe and

patients will take Aurobindo’s ANDA Product according to the instructions for use in Aurobindo’s

Label.

         547.   Aurobindo knows, should know, and intends that, when physicians prescribe and

patients take Aurobindo’s ANDA Product according to the instructions for use in Aurobindo’s

Label, such physicians and patients will make and use the compositions claimed in the ’765 Patent,

and therefore such physicians and patients will directly infringe at least one claim of the ʼ765

Patent, either literally or under the doctrine of equivalents.




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       548.    Aurobindo has knowledge of the ʼ765 Patent and, by virtue of Aurobindo’s Label

for Aurobindo’s ANDA Product, knows or should know that it will induce direct infringement of

at least one claim of the ʼ765 Patent, either literally or under the doctrine of equivalents.

       549.    Aurobindo is aware, has knowledge of, and/or specifically intends that Aurobindo’s

Label will encourage, recommend, promote, and/or instruct others how to engage in an infringing

use because healthcare professionals and/or patients will use Aurobindo’s ANDA Product

according to the instructions for use in Aurobindo’s Label in a way that directly infringes at least

one claim of the ʼ765 Patent.

       550.    Aurobindo’s actions relating to Aurobindo’s ANDA No. 217786 complained of

herein were done by and for the benefit of Aurobindo.

       551.    Amicus will be substantially and irreparably harmed by Aurobindo’s infringement

of the ʼ765 Patent unless enjoined by the Court.

       552.    Amicus does not have any adequate remedy at law.

                                               COUNT XXII

                                    (DECLARATORY JUDGMENT OF
                                 INFRINGEMENT OF THE ʼ765 PATENT)

       553.    Amicus re-alleges and incorporates by reference each preceding paragraph as

though fully re-stated herein.

       554.    This claim arises under the Declaratory Judgment Act, 28 U.S.C. §§ 2201 and 2202.

       555.    A definite and concrete, real and substantial, justiciable controversy of sufficient

immediacy and reality exists between Amicus and Aurobindo regarding infringement of the ʼ765

Patent such that the Court may entertain Amicus’s request for declaratory relief consistent with

Article III of the U.S. Constitution.




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       556.    Aurobindo filed ANDA No. 217786 indicating its intention and seeking approval

to commercially manufacture, use, offer for sale, sell, and/or import within or into the United States

Aurobindo’s ANDA Product before the expiration of the ʼ765 Patent.

       557.    Aurobindo’s October 2022 Notice Letter states that Aurobindo filed with the FDA,

pursuant to 21 U.S.C. § 355(j)(2)(B)(iv) and 21 C.F.R. § 314.95(c), a certification alleging that the

claims of the ʼ765 Patent are invalid, unenforceable, and/or will not be infringed.

       558.    By filing ANDA No. 217786, Aurobindo has represented to the FDA that, upon

approval, Aurobindo’s ANDA Product will have the same active ingredient, method of

administration, dosage form, and dosage amount as GALAFOLD Capsules, and will be

pharmaceutically and therapeutically equivalent to GALAFOLD Capsules.

       559.    Aurobindo has actual knowledge of the ʼ765 Patent, as evidenced by Aurobindo’s

October 2022 Notice Letter.

       560.    Subject to receiving final approval of ANDA No. 217786, Aurobindo intends to

and will commercially manufacture, use, offer for sale, sell, and/or import Aurobindo’s ANDA

Product within or into the United States before the expiration of the ʼ765 Patent.

       561.    Upon information and belief, Aurobindo has represented to the FDA that

Aurobindo’s ANDA Product will be bioequivalent to GALAFOLD Capsules and will contain 123

mg free base migalastat.

       562.    If ANDA No. 217786 is approved, Aurobindo will actively induce direct

infringement of one or more claims of the ʼ765 Patent under § 271(b), either literally or under the

doctrine of equivalents, unless this Court orders that the effective date of any FDA approval of

ANDA No. 217786 shall be no earlier than the expiration of the ʼ765 Patent.




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         563.   Aurobindo knows, should know, and intends that physicians will prescribe and

patients will take Aurobindo’s ANDA Product according to the instructions for use in Aurobindo’s

Label.

         564.   Aurobindo knows, should know, and intends that, when physicians prescribe and

patients take Aurobindo’s ANDA Product according to the instructions for use in Aurobindo’s

Label, such physicians and patients will make and use the compositions claimed in the ’765 Patent,

and therefore such physicians and patients will directly infringe at least one claim of the ʼ765

Patent, either literally or under the doctrine of equivalents.

         565.   Aurobindo has knowledge of the ʼ765 Patent and, by virtue of Aurobindo’s Label

for Aurobindo’s ANDA Product, knows or should know that it will induce direct infringement of

at least one claim of the ʼ765 Patent, either literally or under the doctrine of equivalents.

         566.   Aurobindo is aware, has knowledge of, and/or specifically intends that Aurobindo’s

Label will encourage, recommend, promote, and/or instruct others how to engage in an infringing

use because healthcare professionals and/or patients will use Aurobindo’s ANDA Product

according to the instructions for use in Aurobindo’s Label in a way that directly infringes at least

one claim of the ʼ765 Patent.

         567.   Aurobindo’s actions relating to Aurobindo’s ANDA No. 217786 complained of

herein were done by and for the benefit of Aurobindo.

         568.   Aurobindo’s conduct including, but not limited to, Aurobindo’s filing of ANDA

No. 217786 attempting to meet the regulatory requirements for approval of Aurobindo’s ANDA

Product, demonstrates that Aurobindo has made and will continue to make substantial and

meaningful preparations to infringe the ʼ765 Patent and that Aurobindo intends to engage in the

commercial manufacture, use, offer for sale, marketing, distribution, and or/importation of



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Aurobindo’s ANDA Product immediately and imminently upon final approval of Aurobindo’s

ANDA and prior to the expiration of the ʼ765 Patent.

       569.    Aurobindo’s actions indicate that it does not intend to change its course of action

to avoid infringing the ʼ765 Patent.

       570.    Amicus is entitled to a judicial declaration that the commercial manufacture, use,

offer for sale, sale, and/or importation of Aurobindo’s ANDA Product prior to expiration of the

ʼ765 Patent will constitute infringement of the ʼ765 Patent under 35 U.S.C. § 271(b).

       571.    Amicus will be substantially and irreparably harmed by Aurobindo’s infringement

of the ʼ765 Patent unless enjoined by the Court.

       572.    Amicus does not have any adequate remedy at law.

                                          COUNT XXIII

                          (INFRINGEMENT OF THE ʼ244 PATENT)

       573.    Amicus re-alleges and incorporates by reference each preceding paragraph as

though fully re-stated herein.

       574.    Aurobindo filed ANDA No. 217786 indicating its intention and seeking approval

to commercially manufacture, use, offer for sale, sell, and/or import within or into the United States

Aurobindo’s ANDA Product before the expiration of the ʼ244 Patent.

       575.    Aurobindo’s October 2022 Notice Letter states that Aurobindo filed with the FDA,

pursuant to 21 U.S.C. § 355(j)(2)(B)(iv) and 21 C.F.R. § 314.95(c), a certification alleging that the

claims of the ʼ244 Patent are invalid, unenforceable, and/or will not be infringed.

       576.    By filing ANDA No. 217786, Aurobindo has represented to the FDA that, upon

approval, Aurobindo’s ANDA Product will have the same active ingredient, method of




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administration, dosage form, and dosage amount as GALAFOLD Capsules, and will be

pharmaceutically and therapeutically equivalent to GALAFOLD Capsules.

         577.   Aurobindo has actual knowledge of the ʼ244 Patent, as evidenced by Aurobindo’s

October 2022 Notice Letter.

         578.   Under 35 U.S.C. § 271(e)(2)(A), Aurobindo has infringed at least one claim of the

’244 Patent by submitting, or causing to be submitted, to the FDA Aurobindo’s ANDA No. 217786

seeking approval to commercially manufacture, use, offer for sale, sell, and/or import within or

into the United States Aurobindo’s ANDA Product before the expiration date of the ’244 Patent.

         579.   Subject to receiving final approval of ANDA No. 217786, Aurobindo intends to

and will commercially manufacture, use, offer for sale, sell, and/or import Aurobindo’s ANDA

Product within or into the United States before the expiration of the ʼ244 Patent.

         580.   Upon information and belief, Aurobindo has represented to the FDA that

Aurobindo’s ANDA Product will be bioequivalent to GALAFOLD Capsules and will contain 123

mg free base migalastat.

         581.   If ANDA No. 217786 is approved, Aurobindo will actively induce direct

infringement of one or more claims of the ʼ244 Patent under § 271(b), either literally or under the

doctrine of equivalents, unless this Court orders that the effective date of any FDA approval of

ANDA No. 217786 shall be no earlier than the expiration of the ʼ244 Patent.

         582.   Aurobindo knows, should know, and intends that physicians will prescribe and

patients will take Aurobindo’s ANDA Product according to the instructions for use in Aurobindo’s

Label.

         583.   Aurobindo knows, should know, and intends that, when physicians prescribe and

patients take Aurobindo’s ANDA Product according to the instructions for use in Aurobindo’s



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Label, such physicians and patients will make and use the compositions claimed in the ’244 Patent,

and therefore such physicians and patients will directly infringe at least one claim of the ʼ244

Patent, either literally or under the doctrine of equivalents.

       584.    Aurobindo has knowledge of the ʼ244 Patent and, by virtue of Aurobindo’s Label

for Aurobindo’s ANDA Product, knows or should know that it will induce direct infringement of

at least one claim of the ʼ244 Patent, either literally or under the doctrine of equivalents.

       585.    Aurobindo is aware, has knowledge of, and/or specifically intends that Aurobindo’s

Label will encourage, recommend, promote, and/or instruct others how to engage in an infringing

use because healthcare professionals and/or patients will use Aurobindo’s ANDA Product

according to the instructions for use in Aurobindo’s Label in a way that directly infringes at least

one claim of the ʼ244 Patent.

       586.    Aurobindo’s actions relating to Aurobindo’s ANDA No. 217786 complained of

herein were done by and for the benefit of Aurobindo.

       587.    Amicus will be substantially and irreparably harmed by Aurobindo’s infringement

of the ʼ244 Patent unless enjoined by the Court.

       588.    Amicus does not have any adequate remedy at law.

                                           COUNT XXIV

                             (DECLARATORY JUDGMENT OF
                          INFRINGEMENT OF THE ʼ244 PATENT)

       589.    Amicus re-alleges and incorporates by reference each preceding paragraph as

though fully re-stated herein.

       590.    This claim arises under the Declaratory Judgment Act, 28 U.S.C. §§ 2201 and 2202.

       591.    A definite and concrete, real and substantial, justiciable controversy of sufficient

immediacy and reality exists between Amicus and Aurobindo regarding infringement of the ʼ244

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Patent such that the Court may entertain Amicus’s request for declaratory relief consistent with

Article III of the U.S. Constitution.

       592.    Aurobindo filed ANDA No. 217786 indicating its intention and seeking approval

to commercially manufacture, use, offer for sale, sell, and/or import within or into the United States

Aurobindo’s ANDA Product before the expiration of the ʼ244 Patent.

       593.    Aurobindo’s October 2022 Notice Letter states that Aurobindo filed with the FDA,

pursuant to 21 U.S.C. § 355(j)(2)(B)(iv) and 21 C.F.R. § 314.95(c), a certification alleging that the

claims of the ʼ244 Patent are invalid, unenforceable, and/or will not be infringed.

       594.    By filing ANDA No. 217786, Aurobindo has represented to the FDA that, upon

approval, Aurobindo’s ANDA Product will have the same active ingredient, method of

administration, dosage form, and dosage amount as GALAFOLD Capsules, and will be

pharmaceutically and therapeutically equivalent to GALAFOLD Capsules.

       595.    Aurobindo has actual knowledge of the ʼ244 Patent, as evidenced by Aurobindo’s

October 2022 Notice Letter.

       596.    Subject to receiving final approval of ANDA No. 217786, Aurobindo intends to

and will commercially manufacture, use, offer for sale, sell, and/or import Aurobindo’s ANDA

Product within or into the United States before the expiration of the ʼ244 Patent.

       597.    Upon information and belief, Aurobindo has represented to the FDA that

Aurobindo’s ANDA Product will be bioequivalent to GALAFOLD Capsules and will contain 123

mg free base migalastat.

       598.    If ANDA No. 217786 is approved, Aurobindo will actively induce direct

infringement of one or more claims of the ʼ244 Patent under § 271(b), either literally or under the




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doctrine of equivalents, unless this Court orders that the effective date of any FDA approval of

ANDA No. 217786 shall be no earlier than the expiration of the ʼ244 Patent.

         599.   Aurobindo knows, should know, and intends that physicians will prescribe and

patients will take Aurobindo’s ANDA Product according to the instructions for use in Aurobindo’s

Label.

         600.   Aurobindo knows, should know, and intends that, when physicians prescribe and

patients take Aurobindo’s ANDA Product according to the instructions for use in Aurobindo’s

Label, such physicians and patients will make and use the compositions claimed in the ’244 Patent,

and therefore such physicians and patients will directly infringe at least one claim of the ʼ244

Patent, either literally or under the doctrine of equivalents.

         601.   Aurobindo has knowledge of the ʼ244 Patent and, by virtue of Aurobindo’s Label

for Aurobindo’s ANDA Product, knows or should know that it will induce direct infringement of

at least one claim of the ʼ244 Patent, either literally or under the doctrine of equivalents.

         602.   Aurobindo is aware, has knowledge of, and/or specifically intends that Aurobindo’s

Label will encourage, recommend, promote, and/or instruct others how to engage in an infringing

use because healthcare professionals and/or patients will use Aurobindo’s ANDA Product

according to the instructions for use in Aurobindo’s Label in a way that directly infringes at least

one claim of the ʼ244 Patent.

         603.   Aurobindo’s actions relating to Aurobindo’s ANDA No. 217786 complained of

herein were done by and for the benefit of Aurobindo.

         604.   Aurobindo’s conduct including, but not limited to, Aurobindo’s filing of ANDA

No. 217786 attempting to meet the regulatory requirements for approval of Aurobindo’s ANDA

Product, demonstrates that Aurobindo has made and will continue to make substantial and



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meaningful preparations to infringe the ʼ244 Patent and that Aurobindo intends to engage in the

commercial manufacture, use, offer for sale, marketing, distribution, and or/importation of

Aurobindo’s ANDA Product immediately and imminently upon final approval of Aurobindo’s

ANDA and prior to the expiration of the ʼ244 Patent.

       605.    Aurobindo’s actions indicate that it does not intend to change its course of action

to avoid infringing the ʼ244 Patent.

       606.    Amicus is entitled to a judicial declaration that the commercial manufacture, use,

offer for sale, sale, and/or importation of Aurobindo’s ANDA Product prior to expiration of the

ʼ244 Patent will constitute infringement of the ʼ244 Patent under 35 U.S.C. § 271(b).

       607.    Amicus will be substantially and irreparably harmed by Aurobindo’s infringement

of the ʼ244 Patent unless enjoined by the Court.

       608.    Amicus does not have any adequate remedy at law.

                                           COUNT XXV

                          (INFRINGEMENT OF THE ʼ396 PATENT)

       609.    Amicus re-alleges and incorporates by reference each preceding paragraph as

though fully re-stated herein.

       610.    Aurobindo filed ANDA No. 217786 indicating its intention and seeking approval

to commercially manufacture, use, offer for sale, sell, and/or import within or into the United States

Aurobindo’s ANDA Product before the expiration of patents listed in the Orange Book in

connection with NDA No. 208623 for GALAFOLD Capsules, which includes the ʼ396 Patent.

       611.    Aurobindo’s Notice Letters state that Aurobindo filed with the FDA, pursuant to

21 U.S.C. § 355(j)(2)(B)(iv) and 21 C.F.R. § 314.95(c), a certification alleging that the claims of

certain patents listed in the Orange Book in connection with NDA No. 208623 for GALAFOLD



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Capsules are invalid, unenforceable, and/or will not be infringed. Aurobindo’s November 2022

Notice Letter states that Aurobindo filed with the FDA a ¶ IV Certification alleging that the claims

of the ʼ396 Patent are invalid, unenforceable, and/or will not be infringed.

       612.    By filing ANDA No. 217786, Aurobindo has represented to the FDA that, upon

approval, Aurobindo’s ANDA Product will have the same active ingredient, method of

administration, dosage form, and dosage amount as GALAFOLD Capsules, and will be

pharmaceutically and therapeutically equivalent to GALAFOLD Capsules.

       613.    Aurobindo had actual and/or constructive notice of the ʼ396 Patent prior to this suit

as evidenced by the ʼ396 Patent’s listing in the Orange Book in connection with NDA No. 208623

for GALAFOLD Capsules and Aurobindo has actual knowledge of the ʼ396 Patent, as evidenced

by Aurobindo’s November 2022 Notice Letter.

       614.    Under 35 U.S.C. § 271(e)(2)(A), Aurobindo has infringed at least one claim of the

’396 Patent by submitting, or causing to be submitted, to the FDA Aurobindo’s ANDA No. 217786

seeking approval to commercially manufacture, use, offer for sale, sell, and/or import within or

into the United States Aurobindo’s ANDA Product before the expiration date of the ’396 Patent.

       615.    Subject to receiving final approval of ANDA No. 217786, Aurobindo intends to

and will commercially manufacture, use, offer for sale, sell, and/or import Aurobindo’s ANDA

Product within or into the United States before the expiration of the ʼ396 Patent.

       616.    Upon information and belief, Aurobindo has represented to the FDA that

Aurobindo’s ANDA Product will be bioequivalent to GALAFOLD Capsules and will contain 123

mg free base migalastat.

       617.    If ANDA No. 217786 is approved, Aurobindo will actively induce direct

infringement of one or more claims of the ʼ396 Patent under § 271(b), either literally or under the



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doctrine of equivalents, unless this Court orders that the effective date of any FDA approval of

ANDA No. 217786 shall be no earlier than the expiration of the ʼ396 Patent.

         618.   Aurobindo knows, should know, and intends that physicians will prescribe and

patients will take Aurobindo’s ANDA Product according to the instructions for use in Aurobindo’s

Label.

         619.   Aurobindo knows, should know, and intends that, when physicians prescribe and

patients take Aurobindo’s ANDA Product according to the instructions for use in Aurobindo’s

Label, such physicians and patients will make and use the compositions claimed in the ’396 Patent,

and therefore such physicians and patients will directly infringe at least one claim of the ʼ396

Patent, either literally or under the doctrine of equivalents.

         620.   Aurobindo has actual and/or constructive knowledge of the ʼ396 Patent and, by

virtue of Aurobindo’s Label for Aurobindo’s ANDA Product, know or should know that it will

induce direct infringement of at least one claim of the ʼ396 Patent, either literally or under the

doctrine of equivalents.

         621.   Aurobindo is aware, has knowledge of, and/or specifically intends that Aurobindo’s

Label will encourage, recommend, promote, and/or instruct others how to engage in an infringing

use because healthcare professionals and/or patients will use Aurobindo’s ANDA Product

according to the instructions for use in Aurobindo’s Label in a way that directly infringes at least

one claim of the ʼ396 Patent.

         622.   Aurobindo’s actions relating to Aurobindo’s ANDA No. 217786 complained of

herein were done by and for the benefit of Aurobindo.

         623.   Amicus will be substantially and irreparably harmed by Aurobindo’s infringement

of the ʼ396 Patent unless enjoined by the Court.



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       624.    Amicus does not have any adequate remedy at law.

                                              COUNT XXVI

                                    (DECLARATORY JUDGMENT OF
                                 INFRINGEMENT OF THE ʼ396 PATENT)

       625.    Amicus re-alleges and incorporates by reference each preceding paragraph as

though fully re-stated herein.

       626.    This claim arises under the Declaratory Judgment Act, 28 U.S.C. §§ 2201 and 2202.

       627.    A definite and concrete, real and substantial, justiciable controversy of sufficient

immediacy and reality exists between Amicus and Aurobindo regarding infringement of the ʼ396

Patent such that the Court may entertain Amicus’s request for declaratory relief consistent with

Article III of the U.S. Constitution.

       628.    Aurobindo filed ANDA No. 217786 indicating its intention and seeking approval

to commercially manufacture, use, offer for sale, sell, and/or import within or into the United States

Aurobindo’s ANDA Product before the expiration of patents listed in the Orange Book in

connection with NDA No. 208623 for GALAFOLD Capsules, which includes the ʼ396 Patent.

       629.    Aurobindo’s Notice Letters state that Aurobindo filed with the FDA, pursuant to

21 U.S.C. § 355(j)(2)(B)(iv) and 21 C.F.R. § 314.95(c), a certification alleging that the claims of

certain patents listed in the Orange Book in connection with NDA No. 208623 for GALAFOLD

Capsules are invalid, unenforceable, and/or will not be infringed. Aurobindo’s November 2022

Notice Letter states that Aurobindo filed with the FDA a ¶ IV Certification alleging that the claims

of the ʼ396 Patent are invalid, unenforceable, and/or will not be infringed.

       630.    By filing ANDA No. 217786, Aurobindo has represented to the FDA that, upon

approval, Aurobindo’s ANDA Product will have the same active ingredient, method of




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administration, dosage form, and dosage amount as GALAFOLD Capsules, and will be

pharmaceutically and therapeutically equivalent to GALAFOLD Capsules.

         631.   Aurobindo had actual and/or constructive notice of the ʼ396 Patent prior to this suit

as evidenced by the ʼ396 Patent’s listing in the Orange Book in connection with NDA No. 208623

for GALAFOLD Capsules.

         632.   Subject to receiving final approval of ANDA No. 217786, Aurobindo intends to

and will commercially manufacture, use, offer for sale, sell, and/or import Aurobindo’s ANDA

Product within or into the United States before the expiration of the ʼ396 Patent.

         633.   Upon information and belief, Aurobindo has represented to the FDA that

Aurobindo’s ANDA Product will be bioequivalent to GALAFOLD Capsules and will contain 123

mg free base migalastat.

         634.   If ANDA No. 217786 is approved, Aurobindo will actively induce direct

infringement of one or more claims of the ʼ396 Patent under § 271(b), either literally or under the

doctrine of equivalents, unless this Court orders that the effective date of any FDA approval of

ANDA No. 217786 shall be no earlier than the expiration of the ʼ396 Patent.

         635.   Aurobindo knows, should know, and intends that physicians will prescribe and

patients will take Aurobindo’s ANDA Product according to the instructions for use in Aurobindo’s

Label.

         636.   Aurobindo knows, should know, and intends that, when physicians prescribe and

patients take Aurobindo’s ANDA Product according to the instructions for use in Aurobindo’s

Label, such physicians and patients will make and use the compositions claimed in the ’396 Patent,

and therefore such physicians and patients will directly infringe at least one claim of the ʼ396

Patent, either literally or under the doctrine of equivalents.



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       637.    Aurobindo has actual and/or constructive knowledge of the ʼ396 Patent and, by

virtue of Aurobindo’s Label for Aurobindo’s ANDA Product, knows or should know that it will

induce direct infringement of at least one claim of the ʼ396 Patent, either literally or under the

doctrine of equivalents.

       638.    Aurobindo is aware, has knowledge of, and/or specifically intends that Aurobindo’s

Label will encourage, recommend, promote, and/or instruct others how to engage in an infringing

use because healthcare professionals and/or patients will use Aurobindo’s ANDA Product

according to the instructions for use in Aurobindo’s Label in a way that directly infringes at least

one claim of the ʼ396 Patent.

       639.    Aurobindo’s actions relating to Aurobindo’s ANDA No. 217786 complained of

herein were done by and for the benefit of Aurobindo.

       640.    Aurobindo’s conduct including, but not limited to, Aurobindo’s filing of ANDA

No. 217786 attempting to meet the regulatory requirements for approval of Aurobindo’s ANDA

Product, demonstrates that Aurobindo has made and will continue to make substantial and

meaningful preparations to infringe the ʼ396 Patent and that Aurobindo intends to engage in the

commercial manufacture, use, offer for sale, marketing, distribution, and or/importation of

Aurobindo’s ANDA Product immediately and imminently upon final approval of Aurobindo’s

ANDA and prior to the expiration of the ʼ396 Patent.

       641.    Aurobindo’s actions indicate that it does not intend to change its course of action

to avoid infringing the ʼ396 Patent.

       642.    Amicus is entitled to a judicial declaration that the commercial manufacture, use,

offer for sale, sale, and/or importation of Aurobindo’s ANDA Product prior to expiration of the

ʼ396 Patent will constitute infringement of the ʼ396 Patent under 35 U.S.C. § 271(b).



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       643.    Amicus will be substantially and irreparably harmed by Aurobindo’s infringement

of the ʼ396 Patent unless enjoined by the Court.

       644.    Amicus does not have any adequate remedy at law.

                                          COUNT XXVII

                          (INFRINGEMENT OF THE ʼ657 PATENT)

       645.    Amicus re-alleges and incorporates by reference each preceding paragraph as

though fully re-stated herein.

       646.    Aurobindo filed ANDA No. 217786 indicating its intention and seeking approval

to commercially manufacture, use, offer for sale, sell, and/or import within or into the United States

Aurobindo’s ANDA Product before the expiration of the ʼ657 Patent.

       647.    Aurobindo’s October 2022 Notice Letter states that Aurobindo filed with the FDA,

pursuant to 21 U.S.C. § 355(j)(2)(B)(iv) and 21 C.F.R. § 314.95(c), a certification alleging that the

claims of the ʼ657 Patent are invalid, unenforceable, and/or will not be infringed.

       648.    By filing ANDA No. 217786, Aurobindo has represented to the FDA that, upon

approval, Aurobindo’s ANDA Product will have the same active ingredient, method of

administration, dosage form, and dosage amount as GALAFOLD Capsules, and will be

pharmaceutically and therapeutically equivalent to GALAFOLD Capsules.

       649.    Aurobindo has actual knowledge of the ʼ657 Patent, as evidenced by Aurobindo’s

October 2022 Notice Letter.

       650.    Under 35 U.S.C. § 271(e)(2)(A), Aurobindo has infringed at least one claim of the

’657 Patent by submitting, or causing to be submitted, to the FDA Aurobindo’s ANDA No. 217786

seeking approval to commercially manufacture, use, offer for sale, sell, and/or import within or

into the United States Aurobindo’s ANDA Product before the expiration date of the ’657 Patent.



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         651.   Subject to receiving final approval of ANDA No. 217786, Aurobindo intends to

and will commercially manufacture, use, offer for sale, sell, and/or import Aurobindo’s ANDA

Product within or into the United States before the expiration of the ʼ657 Patent.

         652.   Upon information and belief, Aurobindo has represented to the FDA that

Aurobindo’s ANDA Product will be bioequivalent to GALAFOLD Capsules and will contain 123

mg free base migalastat.

         653.   If ANDA No. 217786 is approved, Aurobindo will infringe one or more claims of

the ʼ657 Patent under § 271(a), either literally or under the doctrine of equivalents by commercially

making, using, offering for sale, selling, and/or importing Aurobindo’s ANDA Product within or

into the United States and/or by actively inducing infringement by others under § 271(b) and/or

contributing to infringement under § 271(c), unless this Court orders that the effective date of any

FDA approval of ANDA No. 217786 shall be no earlier than the expiration of the ʼ657 Patent.

         654.   Aurobindo knows, should know, and intends that physicians will prescribe and

patients will take Aurobindo’s ANDA Product according to the instructions for use in Aurobindo’s

Label.

         655.   Aurobindo has knowledge of the ʼ657 Patent and, by virtue of Aurobindo’s Label

for Aurobindo’s ANDA Product, knows or should know that it will induce direct infringement of

at least one claim of the ʼ657 Patent, either literally or under the doctrine of equivalents.

         656.   Aurobindo is aware, has knowledge of, and/or specifically intends that Aurobindo’s

Label will encourage, recommend, promote, and/or instruct others how to engage in an infringing

use because healthcare professionals and/or patients will use Aurobindo’s ANDA Product

according to the instructions for use in Aurobindo’s Label in a way that directly infringes at least

one claim of the ʼ657 Patent.



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       657.    Aurobindo’s actions relating to Aurobindo’s ANDA No. 217786 complained of

herein were done by and for the benefit of Aurobindo.

       658.    Amicus will be substantially and irreparably harmed by Aurobindo’s infringement

of the ʼ657 Patent unless enjoined by the Court.

       659.    Amicus does not have any adequate remedy at law.

                                         COUNT XXVIII

                          (INFRINGEMENT OF THE ʼ784 PATENT)

       660.    Amicus re-alleges and incorporates by reference each preceding paragraph as

though fully re-stated herein.

       661.    Aurobindo filed ANDA No. 217786 indicating its intention and seeking approval

to commercially manufacture, use, offer for sale, sell, and/or import within or into the United States

Aurobindo’s ANDA Product before the expiration of the ʼ784 Patent.

       662.    Aurobindo’s October 2022 Notice Letter states that Aurobindo filed with the FDA,

pursuant to 21 U.S.C. § 355(j)(2)(B)(iv) and 21 C.F.R. § 314.95(c), a certification alleging that the

claims of the ʼ784 Patent are invalid, unenforceable, and/or will not be infringed.

       663.    By filing ANDA No. 217786, Aurobindo has represented to the FDA that, upon

approval, Aurobindo’s ANDA Product will have the same active ingredient, method of

administration, dosage form, and dosage amount as GALAFOLD Capsules, and will be

pharmaceutically and therapeutically equivalent to GALAFOLD Capsules.

       664.    Aurobindo has actual knowledge of the ʼ784 Patent, as evidenced by Aurobindo’s

October 2022 Notice Letter.

       665.    Under 35 U.S.C. § 271(e)(2)(A), Aurobindo has infringed at least one claim of the

’784 Patent by submitting, or causing to be submitted, to the FDA Aurobindo’s ANDA No. 217786



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seeking approval to commercially manufacture, use, offer for sale, sell, and/or import within or

into the United States Aurobindo’s ANDA Product before the expiration date of the ’784 Patent.

         666.   Subject to receiving final approval of ANDA No. 217786, Aurobindo intends to

and will commercially manufacture, use, offer for sale, sell, and/or import Aurobindo’s ANDA

Product within or into the United States before the expiration of the ʼ784 Patent.

         667.   Upon information and belief, Aurobindo has represented to the FDA that

Aurobindo’s ANDA Product will be bioequivalent to GALAFOLD Capsules and will contain 123

mg free base migalastat.

         668.   If ANDA No. 217786 is approved, Aurobindo will infringe one or more claims of

the ʼ784 Patent under § 271(a), either literally or under the doctrine of equivalents by commercially

making, using, offering for sale, selling, and/or importing Aurobindo’s ANDA Product within or

into the United States and/or by actively inducing infringement by others under § 271(b) and/or

contributing to infringement under § 271(c), unless this Court orders that the effective date of any

FDA approval of ANDA No. 217786 shall be no earlier than the expiration of the ʼ784 Patent.

         669.   Aurobindo knows, should know, and intends that physicians will prescribe and

patients will take Aurobindo’s ANDA Product according to the instructions for use in Aurobindo’s

Label.

         670.   Aurobindo has knowledge of the ʼ784 Patent and, by virtue of Aurobindo’s Label

for Aurobindo’s ANDA Product, knows or should know that it will induce direct infringement of

at least one claim of the ʼ784 Patent, either literally or under the doctrine of equivalents.

         671.   Aurobindo is aware, has knowledge of, and/or specifically intends that Aurobindo’s

Label will encourage, recommend, promote, and/or instruct others how to engage in an infringing

use because healthcare professionals and/or patients will use Aurobindo’s ANDA Product



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according to the instructions for use in Aurobindo’s Label in a way that directly infringes at least

one claim of the ʼ784 Patent.

       672.    Aurobindo’s actions relating to Aurobindo’s ANDA No. 217786 complained of

herein were done by and for the benefit of Aurobindo.

       673.    Amicus will be substantially and irreparably harmed by Aurobindo’s infringement

of the ʼ784 Patent unless enjoined by the Court.

       674.    Amicus does not have any adequate remedy at law.

                                          COUNT XXIX

                          (INFRINGEMENT OF THE ʼ593 PATENT)

       675.    Amicus re-alleges and incorporates by reference each preceding paragraph as

though fully re-stated herein.

       676.    Aurobindo filed ANDA No. 217786 indicating its intention and seeking approval

to commercially manufacture, use, offer for sale, sell, and/or import within or into the United States

Aurobindo’s ANDA Product before the expiration of the ʼ593 Patent.

       677.    Aurobindo’s May 2023 Notice Letter states that Aurobindo filed with the FDA,

pursuant to 21 U.S.C. § 355(j)(2)(B)(iv) and 21 C.F.R. § 314.95(c), a certification alleging that the

claims of the ʼ593 Patent are invalid, unenforceable, and/or will not be infringed.

       678.    By filing ANDA No. 217786, Aurobindo has represented to the FDA that, upon

approval, Aurobindo’s ANDA Product will have the same active ingredient, method of

administration, dosage form, and dosage amount as GALAFOLD Capsules, and will be

pharmaceutically and therapeutically equivalent to GALAFOLD Capsules.

       679.    Aurobindo has actual knowledge of the ʼ593 Patent, as evidenced by Aurobindo’s

May 2023 Notice Letter.



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         680.   Under 35 U.S.C. § 271(e)(2)(A), Aurobindo has infringed at least one claim of the

’593 Patent by submitting, or causing to be submitted, to the FDA Aurobindo’s ANDA No. 217786

seeking approval to commercially manufacture, use, offer for sale, sell, and/or import within or

into the United States Aurobindo’s ANDA Product before the expiration date of the ’593 Patent.

         681.   Subject to receiving final approval of ANDA No. 217786, Aurobindo intends to

and will commercially manufacture, use, offer for sale, sell, and/or import Aurobindo’s ANDA

Product within or into the United States before the expiration of the ʼ593 Patent.

         682.   Upon information and belief, Aurobindo has represented to the FDA that

Aurobindo’s ANDA Product will be bioequivalent to GALAFOLD Capsules and will contain 123

mg free base migalastat.

         683.   If ANDA No. 217786 is approved, Aurobindo will actively induce direct

infringement of one or more claims of the ʼ593 Patent under § 271(b), either literally or under the

doctrine of equivalents, unless this Court orders that the effective date of any FDA approval of

ANDA No. 217786 shall be no earlier than the expiration of the ʼ593 Patent.

         684.   Aurobindo knows, should know, and intends that physicians will prescribe and

patients will take Aurobindo’s ANDA Product according to the instructions for use in Aurobindo’s

Label.

         685.   Aurobindo knows, should know, and intends that, when physicians prescribe and

patients take Aurobindo’s ANDA Product according to the instructions for use in Aurobindo’s

Label, such physicians and patients will make and use the compositions claimed in the ’593 Patent,

and therefore such physicians and patients will directly infringe at least one claim of the ʼ593

Patent, either literally or under the doctrine of equivalents.




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       686.    Aurobindo has knowledge of the ʼ593 Patent and, by virtue of Aurobindo’s Label

for Aurobindo’s ANDA Product, knows or should know that it will induce direct infringement of

at least one claim of the ʼ593 Patent, either literally or under the doctrine of equivalents.

       687.    Aurobindo is aware, has knowledge of, and/or specifically intends that Aurobindo’s

Label will encourage, recommend, promote, and/or instruct others how to engage in an infringing

use because healthcare professionals and/or patients will use Aurobindo’s ANDA Product

according to the instructions for use in Aurobindo’s Label in a way that directly infringes at least

one claim of the ʼ593 Patent.

       688.    Aurobindo’s actions relating to Aurobindo’s ANDA No. 217786 complained of

herein were done by and for the benefit of Aurobindo.

       689.    Amicus will be substantially and irreparably harmed by Aurobindo’s infringement

of the ʼ593 Patent unless enjoined by the Court.

       690.    Amicus does not have any adequate remedy at law.

                                               COUNT XXX
                                    (DECLARATORY JUDGMENT OF
                                 INFRINGEMENT OF THE ʼ593 PATENT)

       691.    Amicus re-alleges and incorporates by reference each preceding paragraph as

though fully re-stated herein.

       692.    This claim arises under the Declaratory Judgment Act, 28 U.S.C. §§ 2201 and 2202.

       693.    A definite and concrete, real and substantial, justiciable controversy of sufficient

immediacy and reality exists between Amicus and Aurobindo regarding infringement of the ʼ593

Patent such that the Court may entertain Amicus’s request for declaratory relief consistent with

Article III of the U.S. Constitution.




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       694.    Aurobindo filed ANDA No. 217786 indicating its intention and seeking approval

to commercially manufacture, use, offer for sale, sell, and/or import within or into the United States

Aurobindo’s ANDA Product before the expiration of the ʼ593 Patent.

       695.    Aurobindo’s May 2023 Notice Letter states that Aurobindo filed with the FDA,

pursuant to 21 U.S.C. § 355(j)(2)(B)(iv) and 21 C.F.R. § 314.95(c), a certification alleging that the

claims of the ʼ593 Patent are invalid, unenforceable, and/or will not be infringed.

       696.    By filing ANDA No. 217786, Aurobindo has represented to the FDA that, upon

approval, Aurobindo’s ANDA Product will have the same active ingredient, method of

administration, dosage form, and dosage amount as GALAFOLD Capsules, and will be

pharmaceutically and therapeutically equivalent to GALAFOLD Capsules.

       697.    Aurobindo has actual knowledge of the ʼ593 Patent, as evidenced by Aurobindo’s

May 2023 Notice Letter

       698.    Subject to receiving final approval of ANDA No. 217786, Aurobindo intends to

and will commercially manufacture, use, offer for sale, sell, and/or import Aurobindo’s ANDA

Product within or into the United States before the expiration of the ʼ593 Patent.

       699.    Upon information and belief, Aurobindo has represented to the FDA that

Aurobindo’s ANDA Product will be bioequivalent to GALAFOLD Capsules and will contain 123

mg free base migalastat.

       700.    If ANDA No. 217786 is approved, Aurobindo will actively induce direct

infringement of one or more claims of the ʼ593 Patent under § 271(b), either literally or under the

doctrine of equivalents, unless this Court orders that the effective date of any FDA approval of

ANDA No. 217786 shall be no earlier than the expiration of the ʼ593 Patent.




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         701.   Aurobindo knows, should know, and intends that physicians will prescribe and

patients will take Aurobindo’s ANDA Product according to the instructions for use in Aurobindo’s

Label.

         702.   Aurobindo knows, should know, and intends that, when physicians prescribe and

patients take Aurobindo’s ANDA Product according to the instructions for use in Aurobindo’s

Label, such physicians and patients will make and use the compositions claimed in the ’593 Patent,

and therefore such physicians and patients will directly infringe at least one claim of the ʼ593

Patent, either literally or under the doctrine of equivalents.

         703.   Aurobindo has knowledge of the ʼ593 Patent and, by virtue of Aurobindo’s Label

for Aurobindo’s ANDA Product, knows or should know that it will induce direct infringement of

at least one claim of the ʼ593 Patent, either literally or under the doctrine of equivalents.

         704.   Aurobindo is aware, has knowledge of, and/or specifically intends that Aurobindo’s

Label will encourage, recommend, promote, and/or instruct others how to engage in an infringing

use because healthcare professionals and/or patients will use Aurobindo’s ANDA Product

according to the instructions for use in Aurobindo’s Label in a way that directly infringes at least

one claim of the ʼ593 Patent.

         705.   Aurobindo’s actions relating to Aurobindo’s ANDA No. 217786 complained of

herein were done by and for the benefit of Aurobindo.

         706.   Aurobindo’s conduct including, but not limited to, Aurobindo’s filing of ANDA

No. 217786 attempting to meet the regulatory requirements for approval of Aurobindo’s ANDA

Product, demonstrates that Aurobindo has made and will continue to make substantial and

meaningful preparations to infringe the ʼ593 Patent and that Aurobindo intends to engage in the

commercial manufacture, use, offer for sale, marketing, distribution, and or/importation of



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Aurobindo’s ANDA Product immediately and imminently upon final approval of Aurobindo’s

ANDA and prior to the expiration of the ʼ593 Patent.

       707.    Aurobindo’s actions indicate that it does not intend to change its course of action

to avoid infringing the ʼ593 Patent.

       708.    Amicus is entitled to a judicial declaration that the commercial manufacture, use,

offer for sale, sale, and/or importation of Aurobindo’s ANDA Product prior to expiration of the

ʼ593 Patent will constitute infringement of the ʼ593 Patent under 35 U.S.C. § 271(b).

       709.    Amicus will be substantially and irreparably harmed by Aurobindo’s infringement

of the ʼ593 Patent unless enjoined by the Court.

       710.    Amicus does not have any adequate remedy at law.

                                              COUNT XXXI

                             (INFRINGEMENT OF THE ʼ594 PATENT)

       711.    Amicus re-alleges and incorporates by reference each preceding paragraph as

though fully re-stated herein.

       712.    Aurobindo filed ANDA No. 217786 indicating its intention and seeking approval

to commercially manufacture, use, offer for sale, sell, and/or import within or into the United States

Aurobindo’s ANDA Product before the expiration of the ʼ594 Patent.

       713.    Aurobindo’s May 2023 Notice Letter states that Aurobindo filed with the FDA,

pursuant to 21 U.S.C. § 355(j)(2)(B)(iv) and 21 C.F.R. § 314.95(c), a certification alleging that the

claims of the ʼ594 Patent are invalid, unenforceable, and/or will not be infringed.

       714.    By filing ANDA No. 217786, Aurobindo has represented to the FDA that, upon

approval, Aurobindo’s ANDA Product will have the same active ingredient, method of




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 administration, dosage form, and dosage amount as GALAFOLD Capsules, and will be

 pharmaceutically and therapeutically equivalent to GALAFOLD Capsules.

          715.   Aurobindo has actual knowledge of the ʼ594 Patent, as evidenced by Aurobindo’s

 May 2023 Notice Letter.

          716.   Under 35 U.S.C. § 271(e)(2)(A), Aurobindo has infringed at least one claim of the

 ’594 Patent by submitting, or causing to be submitted, to the FDA Aurobindo’s ANDA No. 217786

 seeking approval to commercially manufacture, use, offer for sale, sell, and/or import within or

 into the United States Aurobindo’s ANDA Product before the expiration date of the ’594 Patent.

          717.   Subject to receiving final approval of ANDA No. 217786, Aurobindo intends to

 and will commercially manufacture, use, offer for sale, sell, and/or import Aurobindo’s ANDA

 Product within or into the United States before the expiration of the ʼ594 Patent.

          718.   Upon information and belief, Aurobindo has represented to the FDA that

 Aurobindo’s ANDA Product will be bioequivalent to GALAFOLD Capsules and will contain 123

 mg free base migalastat.

          719.   If ANDA No. 217786 is approved, Aurobindo will actively induce direct

 infringement of one or more claims of the ʼ594 Patent under § 271(b), either literally or under the

 doctrine of equivalents, unless this Court orders that the effective date of any FDA approval of

 ANDA No. 217786 shall be no earlier than the expiration of the ʼ594 Patent.

          720.   Aurobindo knows, should know, and intends that physicians will prescribe and

 patients will take Aurobindo’s ANDA Product according to the instructions for use in Aurobindo’s

 Label.

          721.   Aurobindo knows, should know, and intends that, when physicians prescribe and

 patients take Aurobindo’s ANDA Product according to the instructions for use in Aurobindo’s



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 Label, such physicians and patients will make and use the compositions claimed in the ’594 Patent,

 and therefore such physicians and patients will directly infringe at least one claim of the ʼ594

 Patent, either literally or under the doctrine of equivalents.

        722.    Aurobindo has knowledge of the ʼ594 Patent and, by virtue of Aurobindo’s Label

 for Aurobindo’s ANDA Product, knows or should know that it will induce direct infringement of

 at least one claim of the ʼ594 Patent, either literally or under the doctrine of equivalents.

        723.    Aurobindo is aware, has knowledge of, and/or specifically intends that Aurobindo’s

 Label will encourage, recommend, promote, and/or instruct others how to engage in an infringing

 use because healthcare professionals and/or patients will use Aurobindo’s ANDA Product

 according to the instructions for use in Aurobindo’s Label in a way that directly infringes at least

 one claim of the ʼ594 Patent.

        724.    Aurobindo’s actions relating to Aurobindo’s ANDA No. 217786 complained of

 herein were done by and for the benefit of Aurobindo.

        725.    Amicus will be substantially and irreparably harmed by Aurobindo’s infringement

 of the ʼ594 Patent unless enjoined by the Court.

        726.    Amicus does not have any adequate remedy at law.

                                               COUNT XXXII
                                     (DECLARATORY JUDGMENT OF
                                  INFRINGEMENT OF THE ʼ594 PATENT)

        727.    Amicus re-alleges and incorporates by reference each preceding paragraph as

 though fully re-stated herein.

        728.    This claim arises under the Declaratory Judgment Act, 28 U.S.C. §§ 2201 and 2202.

        729.    A definite and concrete, real and substantial, justiciable controversy of sufficient

 immediacy and reality exists between Amicus and Aurobindo regarding infringement of the ʼ594


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 Patent such that the Court may entertain Amicus’s request for declaratory relief consistent with

 Article III of the U.S. Constitution.

        730.    Aurobindo filed ANDA No. 217786 indicating its intention and seeking approval

 to commercially manufacture, use, offer for sale, sell, and/or import within or into the United States

 Aurobindo’s ANDA Product before the expiration of the ʼ594 Patent.

        731.    Aurobindo’s May 2023 Notice Letter states that Aurobindo filed with the FDA,

 pursuant to 21 U.S.C. § 355(j)(2)(B)(iv) and 21 C.F.R. § 314.95(c), a certification alleging that the

 claims of the ʼ594 Patent are invalid, unenforceable, and/or will not be infringed.

        732.    By filing ANDA No. 217786, Aurobindo has represented to the FDA that, upon

 approval, Aurobindo’s ANDA Product will have the same active ingredient, method of

 administration, dosage form, and dosage amount as GALAFOLD Capsules, and will be

 pharmaceutically and therapeutically equivalent to GALAFOLD Capsules.

        733.    Aurobindo has actual knowledge of the ʼ594 Patent, as evidenced by Aurobindo’s

 May 2023 Notice Letter.

        734.    Subject to receiving final approval of ANDA No. 217786, Aurobindo intends to

 and will commercially manufacture, use, offer for sale, sell, and/or import Aurobindo’s ANDA

 Product within or into the United States before the expiration of the ʼ594 Patent.

        735.    Upon information and belief, Aurobindo has represented to the FDA that

 Aurobindo’s ANDA Product will be bioequivalent to GALAFOLD Capsules and will contain 123

 mg free base migalastat.

        736.    If ANDA No. 217786 is approved, Aurobindo will actively induce direct

 infringement of one or more claims of the ʼ594 Patent under § 271(b), either literally or under the




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 doctrine of equivalents, unless this Court orders that the effective date of any FDA approval of

 ANDA No. 217786 shall be no earlier than the expiration of the ʼ594 Patent.

          737.   Aurobindo knows, should know, and intends that physicians will prescribe and

 patients will take Aurobindo’s ANDA Product according to the instructions for use in Aurobindo’s

 Label.

          738.   Aurobindo knows, should know, and intends that, when physicians prescribe and

 patients take Aurobindo’s ANDA Product according to the instructions for use in Aurobindo’s

 Label, such physicians and patients will make and use the compositions claimed in the ’594 Patent,

 and therefore such physicians and patients will directly infringe at least one claim of the ʼ594

 Patent, either literally or under the doctrine of equivalents.

          739.   Aurobindo has knowledge of the ʼ594 Patent and, by virtue of Aurobindo’s Label

 for Aurobindo’s ANDA Product, knows or should know that it will induce direct infringement of

 at least one claim of the ʼ594 Patent, either literally or under the doctrine of equivalents.

          740.   Aurobindo is aware, has knowledge of, and/or specifically intends that Aurobindo’s

 Label will encourage, recommend, promote, and/or instruct others how to engage in an infringing

 use because healthcare professionals and/or patients will use Aurobindo’s ANDA Product

 according to the instructions for use in Aurobindo’s Label in a way that directly infringes at least

 one claim of the ʼ594 Patent.

          741.   Aurobindo’s actions relating to Aurobindo’s ANDA No. 217786 complained of

 herein were done by and for the benefit of Aurobindo.

          742.   Aurobindo’s conduct including, but not limited to, Aurobindo’s filing of ANDA

 No. 217786 attempting to meet the regulatory requirements for approval of Aurobindo’s ANDA

 Product, demonstrates that Aurobindo has made and will continue to make substantial and



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 meaningful preparations to infringe the ʼ594 Patent and that Aurobindo intends to engage in the

 commercial manufacture, use, offer for sale, marketing, distribution, and or/importation of

 Aurobindo’s ANDA Product immediately and imminently upon final approval of Aurobindo’s

 ANDA and prior to the expiration of the ʼ594 Patent.

        743.    Aurobindo’s actions indicate that it does not intend to change its course of action

 to avoid infringing the ʼ594 Patent.

        744.    Amicus is entitled to a judicial declaration that the commercial manufacture, use,

 offer for sale, sale, and/or importation of Aurobindo’s ANDA Product prior to expiration of the

 ʼ594 Patent will constitute infringement of the ʼ594 Patent under 35 U.S.C. § 271(b).

        745.    Amicus will be substantially and irreparably harmed by Aurobindo’s infringement

 of the ʼ594 Patent unless enjoined by the Court.

        746.    Amicus does not have any adequate remedy at law.

                                              COUNT XXXIII

                              (INFRINGEMENT OF THE ʼ962 PATENT)

        747.    Amicus re-alleges and incorporates by reference each preceding paragraph as

 though fully re-stated herein.

        748.    Aurobindo filed ANDA No. 217786 indicating its intention and seeking approval

 to commercially manufacture, use, offer for sale, sell, and/or import within or into the United States

 Aurobindo’s ANDA Product before the expiration of the ʼ962 Patent.

        749.    Aurobindo’s May 2023 Notice Letter states that Aurobindo filed with the FDA,

 pursuant to 21 U.S.C. § 355(j)(2)(B)(iv) and 21 C.F.R. § 314.95(c), a certification alleging that the

 claims of the ʼ962 Patent are invalid, unenforceable, and/or will not be infringed.




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          750.   By filing ANDA No. 217786, Aurobindo has represented to the FDA that, upon

 approval, Aurobindo’s ANDA Product will have the same active ingredient, method of

 administration, dosage form, and dosage amount as GALAFOLD Capsules, and will be

 pharmaceutically and therapeutically equivalent to GALAFOLD Capsules.

          751.   Aurobindo has actual knowledge of the ʼ962 Patent, as evidenced by Aurobindo’s

 May 2023 Notice Letter.

          752.   Under 35 U.S.C. § 271(e)(2)(A), Aurobindo has infringed at least one claim of the

 ’962 Patent by submitting, or causing to be submitted, to the FDA Aurobindo’s ANDA No. 217786

 seeking approval to commercially manufacture, use, offer for sale, sell, and/or import within or

 into the United States Aurobindo’s ANDA Product before the expiration date of the ’962 Patent.

          753.   Subject to receiving final approval of ANDA No. 217786, Aurobindo intends to

 and will commercially manufacture, use, offer for sale, sell, and/or import Aurobindo’s ANDA

 Product within or into the United States before the expiration of the ʼ962 Patent.

          754.   Upon information and belief, Aurobindo has represented to the FDA that

 Aurobindo’s ANDA Product will be bioequivalent to GALAFOLD Capsules and will contain 123

 mg free base migalastat.

          755.   If ANDA No. 217786 is approved, Aurobindo will actively induce direct

 infringement of one or more claims of the ʼ962 Patent under § 271(b), either literally or under the

 doctrine of equivalents, unless this Court orders that the effective date of any FDA approval of

 ANDA No. 217786 shall be no earlier than the expiration of the ʼ962 Patent.

          756.   Aurobindo knows, should know, and intends that physicians will prescribe and

 patients will take Aurobindo’s ANDA Product according to the instructions for use in Aurobindo’s

 Label.



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        757.    Aurobindo knows, should know, and intends that, when physicians prescribe and

 patients take Aurobindo’s ANDA Product according to the instructions for use in Aurobindo’s

 Label, such physicians and patients will make and use the compositions claimed in the ’962 Patent,

 and therefore such physicians and patients will directly infringe at least one claim of the ʼ962

 Patent, either literally or under the doctrine of equivalents.

        758.    Aurobindo has knowledge of the ʼ962 Patent and, by virtue of Aurobindo’s Label

 for Aurobindo’s ANDA Product, knows or should know that it will induce direct infringement of

 at least one claim of the ʼ962 Patent, either literally or under the doctrine of equivalents.

        759.    Aurobindo is aware, has knowledge of, and/or specifically intends that Aurobindo’s

 Label will encourage, recommend, promote, and/or instruct others how to engage in an infringing

 use because healthcare professionals and/or patients will use Aurobindo’s ANDA Product

 according to the instructions for use in Aurobindo’s Label in a way that directly infringes at least

 one claim of the ʼ962 Patent.

        760.    Aurobindo’s actions relating to Aurobindo’s ANDA No. 217786 complained of

 herein were done by and for the benefit of Aurobindo.

        761.    Amicus will be substantially and irreparably harmed by Aurobindo’s infringement

 of the ʼ962 Patent unless enjoined by the Court.

        762.    Amicus does not have any adequate remedy at law.

                                               COUNT XXXIV
                                     (DECLARATORY JUDGMENT OF
                                  INFRINGEMENT OF THE ʼ962 PATENT)

        763.    Amicus re-alleges and incorporates by reference each preceding paragraph as

 though fully re-stated herein.

        764.    This claim arises under the Declaratory Judgment Act, 28 U.S.C. §§ 2201 and 2202.


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        765.    A definite and concrete, real and substantial, justiciable controversy of sufficient

 immediacy and reality exists between Amicus and Aurobindo regarding infringement of the ʼ962

 Patent such that the Court may entertain Amicus’s request for declaratory relief consistent with

 Article III of the U.S. Constitution.

        766.    Aurobindo filed ANDA No. 217786 indicating its intention and seeking approval

 to commercially manufacture, use, offer for sale, sell, and/or import within or into the United States

 Aurobindo’s ANDA Product before the expiration of the ʼ962 Patent.

        767.    Aurobindo’s May 2023 Notice Letter states that Aurobindo filed with the FDA,

 pursuant to 21 U.S.C. § 355(j)(2)(B)(iv) and 21 C.F.R. § 314.95(c), a certification alleging that the

 claims of the ʼ962 Patent are invalid, unenforceable, and/or will not be infringed.

        768.    By filing ANDA No. 217786, Aurobindo has represented to the FDA that, upon

 approval, Aurobindo’s ANDA Product will have the same active ingredient, method of

 administration, dosage form, and dosage amount as GALAFOLD Capsules, and will be

 pharmaceutically and therapeutically equivalent to GALAFOLD Capsules.

        769.    Aurobindo has actual knowledge of the ʼ962 Patent, as evidenced by Aurobindo’s

 May 2023 Notice Letter.

        770.    Subject to receiving final approval of ANDA No. 217786, Aurobindo intends to

 and will commercially manufacture, use, offer for sale, sell, and/or import Aurobindo’s ANDA

 Product within or into the United States before the expiration of the ʼ962 Patent.

        771.    Upon information and belief, Aurobindo has represented to the FDA that

 Aurobindo’s ANDA Product will be bioequivalent to GALAFOLD Capsules and will contain 123

 mg free base migalastat.




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          772.   If ANDA No. 217786 is approved, Aurobindo will actively induce direct

 infringement of one or more claims of the ʼ962 Patent under § 271(b), either literally or under the

 doctrine of equivalents, unless this Court orders that the effective date of any FDA approval of

 ANDA No. 217786 shall be no earlier than the expiration of the ʼ962 Patent.

          773.   Aurobindo knows, should know, and intends that physicians will prescribe and

 patients will take Aurobindo’s ANDA Product according to the instructions for use in Aurobindo’s

 Label.

          774.   Aurobindo knows, should know, and intends that, when physicians prescribe and

 patients take Aurobindo’s ANDA Product according to the instructions for use in Aurobindo’s

 Label, such physicians and patients will make and use the compositions claimed in the ’962 Patent,

 and therefore such physicians and patients will directly infringe at least one claim of the ʼ962

 Patent, either literally or under the doctrine of equivalents.

          775.   Aurobindo has knowledge of the ʼ962 Patent and, by virtue of Aurobindo’s Label

 for Aurobindo’s ANDA Product, knows or should know that it will induce direct infringement of

 at least one claim of the ʼ962 Patent, either literally or under the doctrine of equivalents.

          776.   Aurobindo is aware, has knowledge of, and/or specifically intends that Aurobindo’s

 Label will encourage, recommend, promote, and/or instruct others how to engage in an infringing

 use because healthcare professionals and/or patients will use Aurobindo’s ANDA Product

 according to the instructions for use in Aurobindo’s Label in a way that directly infringes at least

 one claim of the ʼ962 Patent.

          777.   Aurobindo’s actions relating to Aurobindo’s ANDA No. 217786 complained of

 herein were done by and for the benefit of Aurobindo.




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        778.    Aurobindo’s conduct including, but not limited to, Aurobindo’s filing of ANDA

 No. 217786 attempting to meet the regulatory requirements for approval of Aurobindo’s ANDA

 Product, demonstrates that Aurobindo has made and will continue to make substantial and

 meaningful preparations to infringe the ʼ962 Patent and that Aurobindo intends to engage in the

 commercial manufacture, use, offer for sale, marketing, distribution, and or/importation of

 Aurobindo’s ANDA Product immediately and imminently upon final approval of Aurobindo’s

 ANDA and prior to the expiration of the ʼ962 Patent.

        779.    Aurobindo’s actions indicate that it does not intend to change its course of action

 to avoid infringing the ʼ962 Patent.

        780.    Amicus is entitled to a judicial declaration that the commercial manufacture, use,

 offer for sale, sale, and/or importation of Aurobindo’s ANDA Product prior to expiration of the

 ʼ962 Patent will constitute infringement of the ʼ962 Patent under 35 U.S.C. § 271(b).

        781.    Amicus will be substantially and irreparably harmed by Aurobindo’s infringement

 of the ʼ962 Patent unless enjoined by the Court.

        782.    Amicus does not have any adequate remedy at law.

                                               COUNT XXXV

                              (INFRINGEMENT OF THE ʼ387 PATENT)

        783.    Amicus re-alleges and incorporates by reference each preceding paragraph as

 though fully re-stated herein.

        784.    Aurobindo filed ANDA No. 217786 indicating its intention and seeking approval

 to commercially manufacture, use, offer for sale, sell, and/or import within or into the United States

 Aurobindo’s ANDA Product before the expiration of the ʼ387 Patent.




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        785.    Aurobindo’s June 2023 Notice Letter states that Aurobindo filed with the FDA,

 pursuant to 21 U.S.C. § 355(j)(2)(B)(iv) and 21 C.F.R. § 314.95(c), a certification alleging that the

 claims of the ʼ387 Patent are invalid, unenforceable, and/or will not be infringed.

        786.    By filing ANDA No. 217786, Aurobindo has represented to the FDA that, upon

 approval, Aurobindo’s ANDA Product will have the same active ingredient, method of

 administration, dosage form, and dosage amount as GALAFOLD Capsules, and will be

 pharmaceutically and therapeutically equivalent to GALAFOLD Capsules.

        787.    Aurobindo has actual knowledge of the ʼ387 Patent, as evidenced by Aurobindo’s

 June 2023 Notice Letter.

        788.    Under 35 U.S.C. § 271(e)(2)(A), Aurobindo has infringed at least one claim of the

 ’387 Patent by submitting, or causing to be submitted, to the FDA Aurobindo’s ANDA No. 217786

 seeking approval to commercially manufacture, use, offer for sale, sell, and/or import within or

 into the United States Aurobindo’s ANDA Product before the expiration date of the ’387 Patent.

        789.    Subject to receiving final approval of ANDA No. 217786, Aurobindo intends to

 and will commercially manufacture, use, offer for sale, sell, and/or import Aurobindo’s ANDA

 Product within or into the United States before the expiration of the ʼ387 Patent.

        790.    Upon information and belief, Aurobindo has represented to the FDA that

 Aurobindo’s ANDA Product will be bioequivalent to GALAFOLD Capsules and will contain 123

 mg free base migalastat.

        791.    If ANDA No. 217786 is approved, Aurobindo will actively induce direct

 infringement of one or more claims of the ʼ387 Patent under § 271(b), either literally or under the

 doctrine of equivalents, unless this Court orders that the effective date of any FDA approval of

 ANDA No. 217786 shall be no earlier than the expiration of the ʼ387 Patent.



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          792.   Aurobindo knows, should know, and intends that physicians will prescribe and

 patients will take Aurobindo’s ANDA Product according to the instructions for use in Aurobindo’s

 Label.

          793.   Aurobindo knows, should know, and intends that, when physicians prescribe and

 patients take Aurobindo’s ANDA Product according to the instructions for use in Aurobindo’s

 Label, such physicians and patients will make and use the compositions claimed in the ’387 Patent,

 and therefore such physicians and patients will directly infringe at least one claim of the ʼ387

 Patent, either literally or under the doctrine of equivalents.

          794.   Aurobindo has knowledge of the ʼ387 Patent and, by virtue of Aurobindo’s Label

 for Aurobindo’s ANDA Product, knows or should know that it will induce direct infringement of

 at least one claim of the ʼ387 Patent, either literally or under the doctrine of equivalents.

          795.   Aurobindo is aware, has knowledge of, and/or specifically intends that Aurobindo’s

 Label will encourage, recommend, promote, and/or instruct others how to engage in an infringing

 use because healthcare professionals and/or patients will use Aurobindo’s ANDA Product

 according to the instructions for use in Aurobindo’s Label in a way that directly infringes at least

 one claim of the ʼ387 Patent.

          796.   Aurobindo’s actions relating to Aurobindo’s ANDA No. 217786 complained of

 herein were done by and for the benefit of Aurobindo.

          797.   Amicus will be substantially and irreparably harmed by Aurobindo’s infringement

 of the ʼ387 Patent unless enjoined by the Court.

          798.   Amicus does not have any adequate remedy at law.




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                                              COUNT XXXVI
                                     (DECLARATORY JUDGMENT OF
                                  INFRINGEMENT OF THE ʼ387 PATENT)

        799.    Amicus re-alleges and incorporates by reference each preceding paragraph as

 though fully re-stated herein.

        800.    This claim arises under the Declaratory Judgment Act, 28 U.S.C. §§ 2201 and 2202.

        801.    A definite and concrete, real and substantial, justiciable controversy of sufficient

 immediacy and reality exists between Amicus and Aurobindo regarding infringement of the ʼ387

 Patent such that the Court may entertain Amicus’s request for declaratory relief consistent with

 Article III of the U.S. Constitution.

        802.    Aurobindo filed ANDA No. 217786 indicating its intention and seeking approval

 to commercially manufacture, use, offer for sale, sell, and/or import within or into the United States

 Aurobindo’s ANDA Product before the expiration of the ʼ387 Patent.

        803.    Aurobindo’s June 2023 Notice Letter states that Aurobindo filed with the FDA,

 pursuant to 21 U.S.C. § 355(j)(2)(B)(iv) and 21 C.F.R. § 314.95(c), a certification alleging that the

 claims of the ʼ387 Patent are invalid, unenforceable, and/or will not be infringed.

        804.    By filing ANDA No. 217786, Aurobindo has represented to the FDA that, upon

 approval, Aurobindo’s ANDA Product will have the same active ingredient, method of

 administration, dosage form, and dosage amount as GALAFOLD Capsules, and will be

 pharmaceutically and therapeutically equivalent to GALAFOLD Capsules.

        805.    Aurobindo has actual knowledge of the ʼ387 Patent, as evidenced by Aurobindo’s

 June 2023 Notice Letter.




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          806.   Subject to receiving final approval of ANDA No. 217786, Aurobindo intends to

 and will commercially manufacture, use, offer for sale, sell, and/or import Aurobindo’s ANDA

 Product within or into the United States before the expiration of the ʼ387 Patent.

          807.   Upon information and belief, Aurobindo has represented to the FDA that

 Aurobindo’s ANDA Product will be bioequivalent to GALAFOLD Capsules and will contain 123

 mg free base migalastat.

          808.   If ANDA No. 217786 is approved, Aurobindo will actively induce direct

 infringement of one or more claims of the ʼ387 Patent under § 271(b), either literally or under the

 doctrine of equivalents, unless this Court orders that the effective date of any FDA approval of

 ANDA No. 217786 shall be no earlier than the expiration of the ʼ387 Patent.

          809.   Aurobindo knows, should know, and intends that physicians will prescribe and

 patients will take Aurobindo’s ANDA Product according to the instructions for use in Aurobindo’s

 Label.

          810.   Aurobindo knows, should know, and intends that, when physicians prescribe and

 patients take Aurobindo’s ANDA Product according to the instructions for use in Aurobindo’s

 Label, such physicians and patients will make and use the compositions claimed in the ’387 Patent,

 and therefore such physicians and patients will directly infringe at least one claim of the ʼ387

 Patent, either literally or under the doctrine of equivalents.

          811.   Aurobindo has knowledge of the ʼ387 Patent and, by virtue of Aurobindo’s Label

 for Aurobindo’s ANDA Product, knows or should know that it will induce direct infringement of

 at least one claim of the ʼ387 Patent, either literally or under the doctrine of equivalents.

          812.   Aurobindo is aware, has knowledge of, and/or specifically intends that Aurobindo’s

 Label will encourage, recommend, promote, and/or instruct others how to engage in an infringing



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 use because healthcare professionals and/or patients will use Aurobindo’s ANDA Product

 according to the instructions for use in Aurobindo’s Label in a way that directly infringes at least

 one claim of the ʼ387 Patent.

        813.    Aurobindo’s actions relating to Aurobindo’s ANDA No. 217786 complained of

 herein were done by and for the benefit of Aurobindo.

        814.    Aurobindo’s conduct including, but not limited to, Aurobindo’s filing of ANDA

 No. 217786 attempting to meet the regulatory requirements for approval of Aurobindo’s ANDA

 Product, demonstrates that Aurobindo has made and will continue to make substantial and

 meaningful preparations to infringe the ʼ387 Patent and that Aurobindo intends to engage in the

 commercial manufacture, use, offer for sale, marketing, distribution, and or/importation of

 Aurobindo’s ANDA Product immediately and imminently upon final approval of Aurobindo’s

 ANDA and prior to the expiration of the ʼ387 Patent.

        815.    Aurobindo’s actions indicate that it does not intend to change its course of action

 to avoid infringing the ʼ387 Patent.

        816.    Amicus is entitled to a judicial declaration that the commercial manufacture, use,

 offer for sale, sale, and/or importation of Aurobindo’s ANDA Product prior to expiration of the

 ʼ387 Patent will constitute infringement of the ʼ387 Patent under 35 U.S.C. § 271(b).

        817.    Amicus will be substantially and irreparably harmed by Aurobindo’s infringement

 of the ʼ387 Patent unless enjoined by the Court.

        818.    Amicus does not have any adequate remedy at law.




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                                              COUNT XXXVII

                              (INFRINGEMENT OF THE ʼ388 PATENT)

        819.    Amicus re-alleges and incorporates by reference each preceding paragraph as

 though fully re-stated herein.

        820.    Aurobindo filed ANDA No. 217786 indicating its intention and seeking approval

 to commercially manufacture, use, offer for sale, sell, and/or import within or into the United States

 Aurobindo’s ANDA Product before the expiration of the ʼ388 Patent.

        821.    Aurobindo’s June 2023 Notice Letter states that Aurobindo filed with the FDA,

 pursuant to 21 U.S.C. § 355(j)(2)(B)(iv) and 21 C.F.R. § 314.95(c), a certification alleging that the

 claims of the ʼ388 Patent are invalid, unenforceable, and/or will not be infringed.

        822.    By filing ANDA No. 217786, Aurobindo has represented to the FDA that, upon

 approval, Aurobindo’s ANDA Product will have the same active ingredient, method of

 administration, dosage form, and dosage amount as GALAFOLD Capsules, and will be

 pharmaceutically and therapeutically equivalent to GALAFOLD Capsules.

        823.    Aurobindo has actual knowledge of the ʼ388 Patent, as evidenced by Aurobindo’s

 June 2023 Notice Letter.

        824.    Under 35 U.S.C. § 271(e)(2)(A), Aurobindo has infringed at least one claim of the

 ’388 Patent by submitting, or causing to be submitted, to the FDA Aurobindo’s ANDA No. 217786

 seeking approval to commercially manufacture, use, offer for sale, sell, and/or import within or

 into the United States Aurobindo’s ANDA Product before the expiration date of the ’388 Patent.

        825.    Subject to receiving final approval of ANDA No. 217786, Aurobindo intends to

 and will commercially manufacture, use, offer for sale, sell, and/or import Aurobindo’s ANDA

 Product within or into the United States before the expiration of the ʼ388 Patent.



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          826.   Upon information and belief, Aurobindo has represented to the FDA that

 Aurobindo’s ANDA Product will be bioequivalent to GALAFOLD Capsules and will contain 123

 mg free base migalastat.

          827.   If ANDA No. 217786 is approved, Aurobindo will infringe one or more claims of

 the ʼ388 Patent under § 271(a), either literally or under the doctrine of equivalents by commercially

 making, using, offering for sale, selling, and/or importing Aurobindo’s ANDA Product within or

 into the United States and/or by actively inducing infringement by others under § 271(b) and/or

 contributing to infringement under § 271(c), unless this Court orders that the effective date of any

 FDA approval of ANDA No. 217786 shall be no earlier than the expiration of the ʼ388 Patent.

          828.   Aurobindo knows, should know, and intends that physicians will prescribe and

 patients will take Aurobindo’s ANDA Product according to the instructions for use in Aurobindo’s

 Label.

          829.   Aurobindo has knowledge of the ʼ388 Patent and, by virtue of Aurobindo’s Label

 for Aurobindo’s ANDA Product, knows or should know that it will induce direct infringement of

 at least one claim of the ʼ388 Patent, either literally or under the doctrine of equivalents.

          830.   Aurobindo is aware, has knowledge of, and/or specifically intends that Aurobindo’s

 Label will encourage, recommend, promote, and/or instruct others how to engage in an infringing

 use because healthcare professionals and/or patients will use Aurobindo’s ANDA Product

 according to the instructions for use in Aurobindo’s Label in a way that directly infringes at least

 one claim of the ʼ388 Patent.

          831.   Aurobindo’s actions relating to Aurobindo’s ANDA No. 217786 complained of

 herein were done by and for the benefit of Aurobindo.




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        832.    Amicus will be substantially and irreparably harmed by Aurobindo’s infringement

 of the ʼ388 Patent unless enjoined by the Court.

        833.    Amicus does not have any adequate remedy at law.

                                             COUNT XXXVIII

                              (INFRINGEMENT OF THE ʼ334 PATENT)

        834.    Amicus re-alleges and incorporates by reference each preceding paragraph as

 though fully re-stated herein.

        835.    Aurobindo filed ANDA No. 217786 indicating its intention and seeking approval

 to commercially manufacture, use, offer for sale, sell, and/or import within or into the United States

 Aurobindo’s ANDA Product before the expiration of the ʼ334 Patent.

        836.    Aurobindo’s June 2023 Notice Letter states that Aurobindo filed with the FDA,

 pursuant to 21 U.S.C. § 355(j)(2)(B)(iv) and 21 C.F.R. § 314.95(c), a certification alleging that the

 claims of the ʼ334 Patent are invalid, unenforceable, and/or will not be infringed.

        837.    By filing ANDA No. 217786, Aurobindo has represented to the FDA that, upon

 approval, Aurobindo’s ANDA Product will have the same active ingredient, method of

 administration, dosage form, and dosage amount as GALAFOLD Capsules, and will be

 pharmaceutically and therapeutically equivalent to GALAFOLD Capsules.

        838.    Aurobindo has actual knowledge of the ’334 Patent, as evidenced by Aurobindo’s

 June 2023 Notice Letter.

        839.    Under 35 U.S.C. § 271(e)(2)(A), Aurobindo has infringed at least one claim of the

 ’334 Patent by submitting, or causing to be submitted, to the FDA Aurobindo’s ANDA No. 217786

 seeking approval to commercially manufacture, use, offer for sale, sell, and/or import within or

 into the United States Aurobindo’s ANDA Product before the expiration date of the ’334 Patent.



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          840.   Subject to receiving final approval of ANDA No. 217786, Aurobindo intends to

 and will commercially manufacture, use, offer for sale, sell, and/or import Aurobindo’s ANDA

 Product within or into the United States before the expiration of the ʼ334 Patent.

          841.   Upon information and belief, Aurobindo has represented to the FDA that

 Aurobindo’s ANDA Product will be bioequivalent to GALAFOLD Capsules and will contain 123

 mg free base migalastat.

          842.   If ANDA No. 217786 is approved, Aurobindo will infringe one or more claims of

 the ʼ334 Patent under § 271(a), either literally or under the doctrine of equivalents by commercially

 making, using, offering for sale, selling, and/or importing Aurobindo’s ANDA Product within or

 into the United States and/or by actively inducing infringement by others under § 271(b) and/or

 contributing to infringement under § 271(c), unless this Court orders that the effective date of any

 FDA approval of ANDA No. 217786 shall be no earlier than the expiration of the ʼ334 Patent.

          843.   Aurobindo knows, should know, and intends that physicians will prescribe and

 patients will take Aurobindo’s ANDA Product according to the instructions for use in Aurobindo’s

 Label.

          844.   Aurobindo has knowledge of the ʼ334 Patent and, by virtue of Aurobindo’s Label

 for Aurobindo’s ANDA Product, knows or should know that it will induce direct infringement of

 at least one claim of the ʼ334 Patent, either literally or under the doctrine of equivalents.

          845.   Aurobindo is aware, has knowledge of, and/or specifically intends that Aurobindo’s

 Label will encourage, recommend, promote, and/or instruct others how to engage in an infringing

 use because healthcare professionals and/or patients will use Aurobindo’s ANDA Product

 according to the instructions for use in Aurobindo’s Label in a way that directly infringes at least

 one claim of the ʼ334 Patent.



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        846.    Aurobindo’s actions relating to Aurobindo’s ANDA No. 217786 complained of

 herein were done by and for the benefit of Aurobindo.

        847.    Amicus will be substantially and irreparably harmed by Aurobindo’s infringement

 of the ʼ334 Patent unless enjoined by the Court.

        848.    Amicus does not have any adequate remedy at law.

                                          COUNT XXXIX

                           (INFRINGEMENT OF THE ʼ516 PATENT)

        849.    Amicus re-alleges and incorporates by reference each preceding paragraph as

 though fully re-stated herein.

        850.    Aurobindo filed ANDA No. 217786 indicating its intention and seeking approval

 to commercially manufacture, use, offer for sale, sell, and/or import within or into the United States

 Aurobindo’s ANDA Product before the expiration of the ʼ516 Patent.

        851.    Aurobindo’s December 2023 Notice Letter states that Aurobindo filed with the

 FDA, pursuant to 21 U.S.C. § 355(j)(2)(B)(iv)(II) and 21 C.F.R. § 314.95(c)(7), a certification

 alleging that the claims of the ʼ516 Patent are invalid, unenforceable, and/or will not be infringed.

        852.    By filing ANDA No. 217786, Aurobindo has represented to the FDA that, upon

 approval, Aurobindo’s ANDA Product will have the same active ingredient, method of

 administration, dosage form, and dosage amount as GALAFOLD Capsules, and will be

 pharmaceutically and therapeutically equivalent to GALAFOLD Capsules.

        853.    Aurobindo has actual knowledge of the ’516 Patent, as evidenced by Aurobindo’s

 December 2023 Notice Letter.

        854.    Under 35 U.S.C. § 271(e)(2)(A), Aurobindo has infringed at least one claim of the

 ’516 Patent by submitting, or causing to be submitted, to the FDA Aurobindo’s ANDA No. 217786



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 seeking approval to commercially manufacture, use, offer for sale, sell, and/or import within or

 into the United States Aurobindo’s ANDA Product before the expiration date of the ’516 Patent.

          855.   Subject to receiving final approval of ANDA No. 217786, Aurobindo intends to

 and will commercially manufacture, use, offer for sale, sell, and/or import Aurobindo’s ANDA

 Product within or into the United States before the expiration of the ʼ516 Patent.

          856.   Upon information and belief, Aurobindo has represented to the FDA that

 Aurobindo’s ANDA Product will be bioequivalent to GALAFOLD Capsules and will contain 123

 mg free base migalastat.

          857.   If ANDA No. 217786 is approved, Aurobindo will infringe one or more claims of

 the ʼ516 Patent under § 271(a), either literally or under the doctrine of equivalents by commercially

 making, using, offering for sale, selling, and/or importing Aurobindo’s ANDA Product within or

 into the United States and/or by actively inducing infringement by others under § 271(b) and/or

 contributing to infringement under § 271(c), unless this Court orders that the effective date of any

 FDA approval of ANDA No. 217786 shall be no earlier than the expiration of the ʼ516 Patent.

          858.   Aurobindo knows, should know, and intends that physicians will prescribe and

 patients will take Aurobindo’s ANDA Product according to the instructions for use in Aurobindo’s

 Label.

          859.   Aurobindo has knowledge of the ʼ516 Patent and, by virtue of Aurobindo’s Label

 for Aurobindo’s ANDA Product, knows or should know that it will induce direct infringement of

 at least one claim of the ʼ516 Patent, either literally or under the doctrine of equivalents.

          860.   Aurobindo is aware, has knowledge of, and/or specifically intends that Aurobindo’s

 Label will encourage, recommend, promote, and/or instruct others how to engage in an infringing

 use because healthcare professionals and/or patients will use Aurobindo’s ANDA Product



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 according to the instructions for use in Aurobindo’s Label in a way that directly infringes at least

 one claim of the ʼ516 Patent.

        861.    Aurobindo’s actions relating to Aurobindo’s ANDA No. 217786 complained of

 herein were done by and for the benefit of Aurobindo.

        862.    Amicus will be substantially and irreparably harmed by Aurobindo’s infringement

 of the ʼ516 Patent unless enjoined by the Court.

        863.    Amicus does not have any adequate remedy at law.

                                              COUNT XL

                     (DECLARATORY JUDGMENT OF INFRINGEMENT
                               OF THE ʼ516 PATENT)

        864.    Amicus re-alleges and incorporates by reference each preceding paragraph as

 though fully re-stated herein.

        865.    This    claim     arises   under   the   Declaratory   Judgment    Act,   28   U.S.C.

 §§ 2201 and 2202.

        866.    A definite and concrete, real and substantial, justiciable controversy of sufficient

 immediacy and reality exists between Amicus and Aurobindo regarding infringement of the ʼ516

 Patent such that the Court may entertain Amicus’s request for declaratory relief consistent with

 Article III of the U.S. Constitution.

        867.    Aurobindo filed ANDA No. 217786 indicating its intention and seeking approval

 to commercially manufacture, use, offer for sale, sell, and/or import within or into the United States

 Aurobindo’s ANDA Product before the expiration of the ʼ516 Patent.

        868.    Aurobindo’s December 2023 Notice Letter states that Aurobindo filed with the

 FDA, pursuant to 21 U.S.C. § 355(j)(2)(B)(iv)(II) and 21 C.F.R. § 314.95(c)(7), a certification

 alleging that the claims of the ʼ516 Patent are invalid, unenforceable, and/or will not be infringed.

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          869.   By filing ANDA No. 217786, Aurobindo has represented to the FDA that, upon

 approval, Aurobindo’s ANDA Product will have the same active ingredient, method of

 administration, dosage form, and dosage amount as GALAFOLD Capsules, and will be

 pharmaceutically and therapeutically equivalent to GALAFOLD Capsules.

          870.   Aurobindo has actual knowledge of the ʼ516 Patent, as evidenced by Aurobindo’s

 December 2023 Notice Letter.

          871.   Subject to receiving final approval of ANDA No. 217786, Aurobindo intends to

 and will commercially manufacture, use, offer for sale, sell, and/or import Aurobindo’s ANDA

 Product within or into the United States before the expiration of the ʼ516 Patent.

          872.   Upon information and belief, Aurobindo has represented to the FDA that

 Aurobindo’s ANDA Product will be bioequivalent to GALAFOLD Capsules and will contain 123

 mg free base migalastat.

          873.   If ANDA No. 217786 is approved, Aurobindo will actively induce direct

 infringement of one or more claims of the ʼ516 Patent under § 271(b), either literally or under the

 doctrine of equivalents, unless this Court orders that the effective date of any FDA approval of

 ANDA No. 217786 shall be no earlier than the expiration of the ʼ516 Patent.

          874.   Aurobindo knows, should know, and intends that physicians will prescribe and

 patients will take Aurobindo’s ANDA Product according to the instructions for use in Aurobindo’s

 Label.

          875.   Aurobindo knows, should know, and intends that, when physicians prescribe and

 patients take Aurobindo’s ANDA Product according to the instructions for use in Aurobindo’s

 Label, such physicians and patients will make and use the compositions claimed in the ’516 Patent,




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 and therefore such physicians and patients will directly infringe at least one claim of the ʼ516

 Patent, either literally or under the doctrine of equivalents.

        876.    Aurobindo has knowledge of the ʼ516 Patent and, by virtue of Aurobindo’s Label

 for Aurobindo’s ANDA Product, knows or should know that it will induce direct infringement of

 at least one claim of the ʼ516 Patent, either literally or under the doctrine of equivalents.

        877.    Aurobindo is aware, has knowledge of, and/or specifically intends that Aurobindo’s

 Label will encourage, recommend, promote, and/or instruct others how to engage in an infringing

 use because healthcare professionals and/or patients will use Aurobindo’s ANDA Product

 according to the instructions for use in Aurobindo’s Label in a way that directly infringes at least

 one claim of the ʼ516 Patent.

        878.    Aurobindo’s actions relating to Aurobindo’s ANDA No. 217786 complained of

 herein were done by and for the benefit of Aurobindo.

        879.    Aurobindo’s conduct including, but not limited to, Aurobindo’s filing of ANDA

 No. 217786 attempting to meet the regulatory requirements for approval of Aurobindo’s ANDA

 Product, demonstrates that Aurobindo has made and will continue to make substantial and

 meaningful preparations to infringe the ʼ516 Patent and that Aurobindo intends to engage in the

 commercial manufacture, use, offer for sale, marketing, distribution, and or/importation of

 Aurobindo’s ANDA Product immediately and imminently upon final approval of Aurobindo’s

 ANDA and prior to the expiration of the ʼ516 Patent.

        880.    Aurobindo’s actions indicate that it does not intend to change its course of action

 to avoid infringing the ʼ516 Patent.




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        881.    Amicus is entitled to a judicial declaration that the commercial manufacture, use,

 offer for sale, sale, and/or importation of Aurobindo’s ANDA Product prior to expiration of the

 ʼ516 Patent will constitute infringement of the ʼ516 Patent under 35 U.S.C. § 271(b).

        882.    Amicus will be substantially and irreparably harmed by Aurobindo’s infringement

 of the ʼ516 Patent unless enjoined by the Court.

        883.    Amicus does not have any adequate remedy at law.

                                            COUNT XLI

                           (INFRINGEMENT OF THE ʼ255 PATENT)

        884.    Amicus re-alleges and incorporates by reference each preceding paragraph as

 though fully re-stated herein.

        885.    Aurobindo filed ANDA No. 217786 indicating its intention and seeking approval

 to commercially manufacture, use, offer for sale, sell, and/or import within or into the United States

 Aurobindo’s ANDA Product before the expiration of the ʼ255 Patent.

        886.    Aurobindo’s February 2024 Notice Letter states that Aurobindo filed with the FDA,

 pursuant to 21 U.S.C. § 355(j)(2)(B)(iv)(II) and 21 C.F.R. § 314.95(c)(7), a certification alleging

 that the claims of the ʼ255 Patent are invalid, unenforceable, and/or will not be infringed.

        887.    By filing ANDA No. 217786, Aurobindo has represented to the FDA that, upon

 approval, Aurobindo’s ANDA Product will have the same active ingredient, method of

 administration, dosage form, and dosage amount as GALAFOLD Capsules, and will be

 pharmaceutically and therapeutically equivalent to GALAFOLD Capsules.

        888.    Aurobindo has actual knowledge of the ’255 Patent, as evidenced by Aurobindo’s

 February 2024 Notice Letter.




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          889.   Under 35 U.S.C. § 271(e)(2)(A), Aurobindo has infringed at least one claim of the

 ’255 Patent by submitting, or causing to be submitted, to the FDA Aurobindo’s ANDA No. 217786

 seeking approval to commercially manufacture, use, offer for sale, sell, and/or import within or

 into the United States Aurobindo’s ANDA Product before the expiration date of the ’255 Patent.

          890.   Subject to receiving final approval of ANDA No. 217786, Aurobindo intends to

 and will commercially manufacture, use, offer for sale, sell, and/or import Aurobindo’s ANDA

 Product within or into the United States before the expiration of the ʼ255 Patent.

          891.   Upon information and belief, Aurobindo has represented to the FDA that

 Aurobindo’s ANDA Product will be bioequivalent to GALAFOLD Capsules and will contain 123

 mg free base migalastat.

          892.   If ANDA No. 217786 is approved, Aurobindo will infringe one or more claims of

 the ʼ255 Patent under § 271(a), either literally or under the doctrine of equivalents by commercially

 making, using, offering for sale, selling, and/or importing Aurobindo’s ANDA Product within or

 into the United States and/or by actively inducing infringement by others under § 271(b) and/or

 contributing to infringement under § 271(c), unless this Court orders that the effective date of any

 FDA approval of ANDA No. 217786 shall be no earlier than the expiration of the ʼ255 Patent.

          893.   Aurobindo knows, should know, and intends that physicians will prescribe and

 patients will take Aurobindo’s ANDA Product according to the instructions for use in Aurobindo’s

 Label.

          894.   Aurobindo has knowledge of the ʼ255 Patent and, by virtue of Aurobindo’s Label

 for Aurobindo’s ANDA Product, knows or should know that it will induce direct infringement of

 at least one claim of the ʼ255 Patent, either literally or under the doctrine of equivalents.




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        895.    Aurobindo is aware, has knowledge of, and/or specifically intends that Aurobindo’s

 Label will encourage, recommend, promote, and/or instruct others how to engage in an infringing

 use because healthcare professionals and/or patients will use Aurobindo’s ANDA Product

 according to the instructions for use in Aurobindo’s Label in a way that directly infringes at least

 one claim of the ʼ255 Patent.

        896.    Aurobindo’s actions relating to Aurobindo’s ANDA No. 217786 complained of

 herein were done by and for the benefit of Aurobindo.

        897.    Amicus will be substantially and irreparably harmed by Aurobindo’s infringement

 of the ʼ255 Patent unless enjoined by the Court.

        898.    Amicus does not have any adequate remedy at law.

                                            COUNT XLII

                    (DECLARATORY JUDGMENT OF INFRINGEMENT
                              OF THE ʼ255 PATENT)

        899.    Amicus re-alleges and incorporates by reference each preceding paragraph as

 though fully re-stated herein.

        900.    This claim arises under the Declaratory Judgment Act, 28 U.S.C. §§ 2201 and 2202.

        901.    A definite and concrete, real and substantial, justiciable controversy of sufficient

 immediacy and reality exists between Amicus and Aurobindo regarding infringement of the ʼ255

 Patent such that the Court may entertain Amicus’s request for declaratory relief consistent with

 Article III of the U.S. Constitution.

        902.    Aurobindo filed ANDA No. 217786 indicating its intention and seeking approval

 to commercially manufacture, use, offer for sale, sell, and/or import within or into the United States

 Aurobindo’s ANDA Product before the expiration of the ʼ255 Patent.




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          903.   Aurobindo’s May 2024 Notice Letter states that Aurobindo filed with the FDA,

 pursuant to 21 U.S.C. § 355(j)(2)(B)(iv) and 21 C.F.R. § 314.95(c), a certification alleging that the

 claims of the ʼ255 Patent are invalid, unenforceable, and/or will not be infringed.

          904.   By filing ANDA No. 217786, Aurobindo has represented to the FDA that, upon

 approval, Aurobindo’s ANDA Product will have the same active ingredient, method of

 administration, dosage form, and dosage amount as GALAFOLD Capsules, and will be

 pharmaceutically and therapeutically equivalent to GALAFOLD Capsules.

          905.   Aurobindo has actual knowledge of the ʼ255 Patent, as evidenced by Aurobindo’s

 May 2024 Notice Letter.

          906.   Subject to receiving final approval of ANDA No. 217786, Aurobindo intends to

 and will commercially manufacture, use, offer for sale, sell, and/or import Aurobindo’s ANDA

 Product within or into the United States before the expiration of the ʼ255 Patent.

          907.   Upon information and belief, Aurobindo has represented to the FDA that

 Aurobindo’s ANDA Product will be bioequivalent to GALAFOLD Capsules and will contain 123

 mg free base migalastat.

          908.   If ANDA No. 217786 is approved, Aurobindo will actively induce direct

 infringement of one or more claims of the ʼ255 Patent under § 271(b), either literally or under the

 doctrine of equivalents, unless this Court orders that the effective date of any FDA approval of

 ANDA No. 217786 shall be no earlier than the expiration of the ʼ255 Patent.

          909.   Aurobindo knows, should know, and intends that physicians will prescribe and

 patients will take Aurobindo’s ANDA Product according to the instructions for use in Aurobindo’s

 Label.




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        910.    Aurobindo knows, should know, and intends that, when physicians prescribe and

 patients take Aurobindo’s ANDA Product according to the instructions for use in Aurobindo’s

 Label, such physicians and patients will use the methods claimed in the ’ 255 Patent, and therefore

 such physicians and patients will directly infringe at least one claim of the ʼ255 Patent, either

 literally or under the doctrine of equivalents.

        911.    Aurobindo has knowledge of the ʼ255 Patent and, by virtue of Aurobindo’s Label

 for Aurobindo’s ANDA Product, knows or should know that it will induce direct infringement of

 at least one claim of the ʼ255 Patent, either literally or under the doctrine of equivalents.

        912.    Aurobindo is aware, has knowledge of, and/or specifically intends that Aurobindo’s

 Label will encourage, recommend, promote, and/or instruct others how to engage in an infringing

 use because healthcare professionals and/or patients will use Aurobindo’s ANDA Product

 according to the instructions for use in Aurobindo’s Label in a way that directly infringes at least

 one claim of the ʼ255 Patent.

        913.    Aurobindo’s actions relating to Aurobindo’s ANDA No. 217786 complained of

 herein were done by and for the benefit of Aurobindo.

        914.    Aurobindo’s conduct including, but not limited to, Aurobindo’s filing of ANDA

 No. 217786 attempting to meet the regulatory requirements for approval of Aurobindo’s ANDA

 Product, demonstrates that Aurobindo has made and will continue to make substantial and

 meaningful preparations to infringe the ʼ255 Patent and that Aurobindo intends to engage in the

 commercial manufacture, use, offer for sale, marketing, distribution, and or/importation of

 Aurobindo’s ANDA Product immediately and imminently upon final approval of Aurobindo’s

 ANDA and prior to the expiration of the ʼ255 Patent.




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        915.    Aurobindo’s actions indicate that it does not intend to change its course of action

 to avoid infringing the ʼ255 Patent.

        916.    Amicus is entitled to a judicial declaration that the commercial manufacture, use,

 offer for sale, sale, and/or importation of Aurobindo’s ANDA Product prior to expiration of the

 ʼ255 Patent will constitute infringement of the ʼ255 Patent under 35 U.S.C. § 271(b).

        917.    Amicus will be substantially and irreparably harmed by Aurobindo’s infringement

 of the ʼ255 Patent unless enjoined by the Court.

        918.    Amicus does not have any adequate remedy at law.

                                           COUNT XLIII

                           (INFRINGEMENT OF THE ʼ938 PATENT)

        919.    Amicus re-alleges and incorporates by reference each preceding paragraph as

 though fully re-stated herein.

        920.    Aurobindo filed ANDA No. 217786 indicating its intention and seeking approval

 to commercially manufacture, use, offer for sale, sell, and/or import within or into the United States

 Aurobindo’s ANDA Product before the expiration of the ʼ938 Patent.

        921.    Aurobindo’s May 2024 Notice Letter states that Aurobindo filed with the FDA,

 pursuant to 21 U.S.C. § 355(j)(2)(B)(iv)(II) and 21 C.F.R. § 314.95(c)(7), a certification alleging

 that the claims of the ʼ938 Patent are invalid, unenforceable, and/or will not be infringed.

        922.    By filing ANDA No. 217786, Aurobindo has represented to the FDA that, upon

 approval, Aurobindo’s ANDA Product will have the same active ingredient, method of

 administration, dosage form, and dosage amount as GALAFOLD Capsules, and will be

 pharmaceutically and therapeutically equivalent to GALAFOLD Capsules.




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          923.   Aurobindo has actual knowledge of the ’938 Patent, as evidenced by Aurobindo’s

 May 2024 Notice Letter.

          924.   Under 35 U.S.C. § 271(e)(2)(A), Aurobindo has infringed at least one claim of the

 ’938 Patent by submitting, or causing to be submitted, to the FDA Aurobindo’s ANDA No. 217786

 seeking approval to commercially manufacture, use, offer for sale, sell, and/or import within or

 into the United States Aurobindo’s ANDA Product before the expiration date of the ’938 Patent.

          925.   Subject to receiving final approval of ANDA No. 217786, Aurobindo intends to

 and will commercially manufacture, use, offer for sale, sell, and/or import Aurobindo’s ANDA

 Product within or into the United States before the expiration of the ʼ938 Patent.

          926.   Upon information and belief, Aurobindo has represented to the FDA that

 Aurobindo’s ANDA Product will be bioequivalent to GALAFOLD Capsules and will contain 123

 mg free base migalastat.

          927.   If ANDA No. 217786 is approved, Aurobindo will infringe one or more claims of

 the ʼ938 Patent under § 271(a), either literally or under the doctrine of equivalents by commercially

 making, using, offering for sale, selling, and/or importing Aurobindo’s ANDA Product within or

 into the United States and/or by actively inducing infringement by others under § 271(b) and/or

 contributing to infringement under § 271(c), unless this Court orders that the effective date of any

 FDA approval of ANDA No. 217786 shall be no earlier than the expiration of the ʼ938 Patent.

          928.   Aurobindo knows, should know, and intends that physicians will prescribe and

 patients will take Aurobindo’s ANDA Product according to the instructions for use in Aurobindo’s

 Label.




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        929.    Aurobindo has knowledge of the ʼ938 Patent and, by virtue of Aurobindo’s Label

 for Aurobindo’s ANDA Product, knows or should know that it will induce direct infringement of

 at least one claim of the ʼ938 Patent, either literally or under the doctrine of equivalents.

        930.    Aurobindo is aware, has knowledge of, and/or specifically intends that Aurobindo’s

 Label will encourage, recommend, promote, and/or instruct others how to engage in an infringing

 use because healthcare professionals and/or patients will use Aurobindo’s ANDA Product

 according to the instructions for use in Aurobindo’s Label in a way that directly infringes at least

 one claim of the ʼ938 Patent.

        931.    Aurobindo’s actions relating to Aurobindo’s ANDA No. 217786 complained of

 herein were done by and for the benefit of Aurobindo.

        932.    Amicus will be substantially and irreparably harmed by Aurobindo’s infringement

 of the ʼ938 Patent unless enjoined by the Court.

        933.    Amicus does not have any adequate remedy at law.

                                            COUNT XLIV

                    (DECLARATORY JUDGMENT OF INFRINGEMENT
                              OF THE ʼ938 PATENT)

        934.    Amicus re-alleges and incorporates by reference each preceding paragraph as

 though fully re-stated herein.

        935.    This claim arises under the Declaratory Judgment Act, 28 U.S.C. §§ 2201 and 2202.

        936.    A definite and concrete, real and substantial, justiciable controversy of sufficient

 immediacy and reality exists between Amicus and Aurobindo regarding infringement of the ʼ938

 Patent such that the Court may entertain Amicus’s request for declaratory relief consistent with

 Article III of the U.S. Constitution.




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        937.    Aurobindo filed ANDA No. 217786 indicating its intention and seeking approval

 to commercially manufacture, use, offer for sale, sell, and/or import within or into the United States

 Aurobindo’s ANDA Product before the expiration of the ʼ938 Patent.

        938.    Aurobindo’s May 2024 Notice Letter states that Aurobindo filed with the FDA,

 pursuant to 21 U.S.C. § 355(j)(2)(B)(iv) and 21 C.F.R. § 314.95(c), a certification alleging that the

 claims of the ʼ938 Patent are invalid, unenforceable, and/or will not be infringed.

        939.    By filing ANDA No. 217786, Aurobindo has represented to the FDA that, upon

 approval, Aurobindo’s ANDA Product will have the same active ingredient, method of

 administration, dosage form, and dosage amount as GALAFOLD Capsules, and will be

 pharmaceutically and therapeutically equivalent to GALAFOLD Capsules.

        940.    Aurobindo has actual knowledge of the ʼ938 Patent, as evidenced by Aurobindo’s

 May 2024 Notice Letter.

        941.    Subject to receiving final approval of ANDA No. 217786, Aurobindo intends to

 and will commercially manufacture, use, offer for sale, sell, and/or import Aurobindo’s ANDA

 Product within or into the United States before the expiration of the ʼ938 Patent.

        942.    Upon information and belief, Aurobindo has represented to the FDA that

 Aurobindo’s ANDA Product will be bioequivalent to GALAFOLD Capsules and will contain 123

 mg free base migalastat.

        943.    If ANDA No. 217786 is approved, Aurobindo will actively induce direct

 infringement of one or more claims of the ʼ938 Patent under § 271(b), either literally or under the

 doctrine of equivalents, unless this Court orders that the effective date of any FDA approval of

 ANDA No. 217786 shall be no earlier than the expiration of the ʼ938 Patent.




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          944.   Aurobindo knows, should know, and intends that physicians will prescribe and

 patients will take Aurobindo’s ANDA Product according to the instructions for use in Aurobindo’s

 Label.

          945.   Aurobindo knows, should know, and intends that, when physicians prescribe and

 patients take Aurobindo’s ANDA Product according to the instructions for use in Aurobindo’s

 Label, such physicians and patients will make and use the compositions and methods claimed in

 the ’938 Patent, and therefore such physicians and patients will directly infringe at least one claim

 of the ʼ938 Patent, either literally or under the doctrine of equivalents.

          946.   Aurobindo has knowledge of the ʼ938 Patent and, by virtue of Aurobindo’s Label

 for Aurobindo’s ANDA Product, knows or should know that it will induce direct infringement of

 at least one claim of the ʼ938 Patent, either literally or under the doctrine of equivalents.

          947.   Aurobindo is aware, has knowledge of, and/or specifically intends that Aurobindo’s

 Label will encourage, recommend, promote, and/or instruct others how to engage in an infringing

 use because healthcare professionals and/or patients will use Aurobindo’s ANDA Product

 according to the instructions for use in Aurobindo’s Label in a way that directly infringes at least

 one claim of the ʼ938 Patent.

          948.   Aurobindo’s actions relating to Aurobindo’s ANDA No. 217786 complained of

 herein were done by and for the benefit of Aurobindo.

          949.   Aurobindo’s conduct including, but not limited to, Aurobindo’s filing of ANDA

 No. 217786 attempting to meet the regulatory requirements for approval of Aurobindo’s ANDA

 Product, demonstrates that Aurobindo has made and will continue to make substantial and

 meaningful preparations to infringe the ʼ938 Patent and that Aurobindo intends to engage in the

 commercial manufacture, use, offer for sale, marketing, distribution, and or/importation of



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 Aurobindo’s ANDA Product immediately and imminently upon final approval of Aurobindo’s

 ANDA and prior to the expiration of the ʼ938 Patent.

        950.    Aurobindo’s actions indicate that it does not intend to change its course of action

 to avoid infringing the ʼ938 Patent.

        951.    Amicus is entitled to a judicial declaration that the commercial manufacture, use,

 offer for sale, sale, and/or importation of Aurobindo’s ANDA Product prior to expiration of the

 ʼ938 Patent will constitute infringement of the ʼ938 Patent under 35 U.S.C. § 271(b).

        952.    Amicus will be substantially and irreparably harmed by Aurobindo’s infringement

 of the ʼ938 Patent unless enjoined by the Court.

        953.    Amicus does not have any adequate remedy at law.

                                     REQUEST FOR RELIEF

        WHEREFORE, Plaintiffs respectfully request the following relief:

        A.      The entry of judgment under 35 U.S.C. § 271(e)(2)(A) that Aurobindo has infringed

 at least one claim of the ʼ279 Patent through Aurobindo’s submission of ANDA No. 217786 to the

 FDA seeking approval to commercially manufacture, use, offer for sale, sell, and/or import within

 or into the United States Aurobindo’s ANDA Product before the expiration of the ʼ279 Patent;

        B.      The entry of judgment under 35 U.S.C. §§ 271(a), (b), and/or (c) that Aurobindo’s

 commercial manufacture, use, offer for sale, sale, and/or importation within or into the United

 States of Aurobindo’s ANDA Product before the expiration of the ʼ279 Patent will infringe,

 actively induce infringement, and/or contribute to the infringement of at least one claim of the ʼ279

 Patent under 35 U.S.C. §§ 271(a), (b), and/or (c);

        C.      The entry of judgment under 35 U.S.C. § 271(e)(2)(A) that Aurobindo has infringed

 at least one claim of the ʼ727 Patent through Aurobindo’s submission of ANDA No. 217786 to the



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 FDA seeking approval to commercially manufacture, use, offer for sale, sell, and/or import within

 or into the United States Aurobindo’s ANDA Product before the expiration of the ʼ727 Patent;

        D.      The entry of judgment under 35 U.S.C. §§ 271(a), (b), and/or (c) that Aurobindo’s

 commercial manufacture, use, offer for sale, sale, and/or importation within or into the United

 States of Aurobindo’s ANDA Product before the expiration of the ʼ727 Patent will infringe,

 actively induce infringement, and/or contribute to the infringement of at least one claim of the ʼ727

 Patent under 35 U.S.C. §§ 271(a), (b), and/or (c);

        E.      The entry of judgment under 35 U.S.C. § 271(e)(2)(A) that Aurobindo has infringed

 at least one claim of the ʼ889 Patent through Aurobindo’s submission of ANDA No. 217786 to the

 FDA seeking approval to commercially manufacture, use, offer for sale, sell, and/or import within

 or into the United States Aurobindo’s ANDA Product before the expiration of the ʼ889 Patent;

        F.      The entry of judgment under 35 U.S.C. §§ 271(a), (b), and/or (c) that Aurobindo’s

 commercial manufacture, use, offer for sale, sale, and/or importation within or into the United

 States of Aurobindo’s ANDA Product before the expiration of the ʼ889 Patent will infringe,

 actively induce infringement, and/or contribute to the infringement of at least one claim of the ʼ889

 Patent under 35 U.S.C. §§ 271(a), (b), and/or (c);

        G.      The entry of judgment under 35 U.S.C. § 271(e)(2)(A) that Aurobindo has infringed

 at least one claim of the ʼ890 Patent through Aurobindo’s submission of ANDA No. 217786 to the

 FDA seeking approval to commercially manufacture, use, offer for sale, sell, and/or import within

 or into the United States Aurobindo’s ANDA Product before the expiration of the ʼ890 Patent;

        H.      The entry of judgment under 35 U.S.C. §§ 271(a), (b), and/or (c) that Aurobindo’s

 commercial manufacture, use, offer for sale, sale, and/or importation within or into the United

 States of Aurobindo’s ANDA Product before the expiration of the ʼ890 Patent will infringe,



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 actively induce infringement, and/or contribute to the infringement of at least one claim of the ʼ890

 Patent under 35 U.S.C. §§ 271(a), (b), and/or (c);

        I.      The entry of judgment under 35 U.S.C. § 271(e)(2)(A) that Aurobindo has infringed

 at least one claim of the ʼ655 Patent through Aurobindo’s submission of ANDA No. 217786 to the

 FDA seeking approval to commercially manufacture, use, offer for sale, sell, and/or import within

 or into the United States Aurobindo’s ANDA Product before the expiration of the ʼ655 Patent;

        J.      The entry of judgment under 35 U.S.C. §§ 271(a), (b), and/or (c) that Aurobindo’s

 commercial manufacture, use, offer for sale, sale, and/or importation within or into the United

 States of Aurobindo’s ANDA Product before the expiration of the ʼ655 Patent will infringe,

 actively induce infringement, and/or contribute to the infringement of at least one claim of the ʼ655

 Patent under 35 U.S.C. §§ 271(a), (b), and/or (c);

        K.      The entry of judgment under 35 U.S.C. § 271(e)(2)(A) that Aurobindo has infringed

 at least one claim of the ʼ536 Patent through Aurobindo’s submission of ANDA No. 217786 to the

 FDA seeking approval to commercially manufacture, use, offer for sale, sell, and/or import within

 or into the United States Aurobindo’s ANDA Product before the expiration of the ʼ536 Patent;

        L.      The entry of judgment under 35 U.S.C. §§ 271(a), (b), and/or (c) that Aurobindo’s

 commercial manufacture, use, offer for sale, sale, and/or importation within or into the United

 States of Aurobindo’s ANDA Product before the expiration of the ʼ536 Patent will infringe,

 actively induce infringement, and/or contribute to the infringement of at least one claim of the ʼ536

 Patent under 35 U.S.C. §§ 271(a), (b), and/or (c);

        M.      The entry of judgment under 35 U.S.C. § 271(e)(2)(A) that Aurobindo has infringed

 at least one claim of the ʼ537 Patent through Aurobindo’s submission of ANDA No. 217786 to the




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 FDA seeking approval to commercially manufacture, use, offer for sale, sell, and/or import within

 or into the United States Aurobindo’s ANDA Product before the expiration of the ʼ537 Patent;

        N.      The entry of judgment under 35 U.S.C. §§ 271(a), (b), and/or (c) that Aurobindo’s

 commercial manufacture, use, offer for sale, sale, and/or importation within or into the United

 States of Aurobindo’s ANDA Product before the expiration of the ʼ537 Patent will infringe,

 actively induce infringement, and/or contribute to the infringement of at least one claim of the ʼ537

 Patent under 35 U.S.C. §§ 271(a), (b), and/or (c);

        O.      The entry of judgment under 35 U.S.C. § 271(e)(2)(A) that Aurobindo has infringed

 at least one claim of the ʼ538 Patent through Aurobindo’s submission of ANDA No. 217786 to the

 FDA seeking approval to commercially manufacture, use, offer for sale, sell, and/or import within

 or into the United States Aurobindo’s ANDA Product before the expiration of the ʼ538 Patent;

        P.      The entry of judgment under 35 U.S.C. §§ 271(a), (b), and/or (c) that Aurobindo’s

 commercial manufacture, use, offer for sale, sale, and/or importation within or into the United

 States of Aurobindo’s ANDA Product before the expiration of the ʼ538 Patent will infringe,

 actively induce infringement, and/or contribute to the infringement of at least one claim of the ʼ538

 Patent under 35 U.S.C. §§ 271(a), (b), and/or (c);

        Q.      The entry of judgment under 35 U.S.C. § 271(e)(2)(A) that Aurobindo has infringed

 at least one claim of the ʼ539 Patent through Aurobindo’s submission of ANDA No. 217786 to the

 FDA seeking approval to commercially manufacture, use, offer for sale, sell, and/or import within

 or into the United States Aurobindo’s ANDA Product before the expiration of the ʼ539 Patent;

        R.      The entry of judgment under 35 U.S.C. §§ 271(a), (b), and/or (c) that Aurobindo’s

 commercial manufacture, use, offer for sale, sale, and/or importation within or into the United

 States of Aurobindo’s ANDA Product before the expiration of the ʼ539 Patent will infringe,



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 actively induce infringement, and/or contribute to the infringement of at least one claim of the ʼ539

 Patent under 35 U.S.C. §§ 271(a), (b), and/or (c);

        S.      The entry of judgment under 35 U.S.C. § 271(e)(2)(A) that Aurobindo has infringed

 at least one claim of the ʼ540 Patent through Aurobindo’s submission of ANDA No. 217786 to the

 FDA seeking approval to commercially manufacture, use, offer for sale, sell, and/or import within

 or into the United States Aurobindo’s ANDA Product before the expiration of the ʼ540 Patent;

        T.      The entry of judgment under 35 U.S.C. §§ 271(a), (b), and/or (c) that Aurobindo’s

 commercial manufacture, use, offer for sale, sale, and/or importation within or into the United

 States of Aurobindo’s ANDA Product before the expiration of the ʼ540 Patent will infringe,

 actively induce infringement, and/or contribute to the infringement of at least one claim of the ʼ540

 Patent under 35 U.S.C. §§ 271(a), (b), and/or (c);

        U.      The entry of judgment under 35 U.S.C. § 271(e)(2)(A) that Aurobindo has infringed

 at least one claim of the ʼ761 Patent through Aurobindo’s submission of ANDA No. 217786 to the

 FDA seeking approval to commercially manufacture, use, offer for sale, sell, and/or import within

 or into the United States Aurobindo’s ANDA Product before the expiration of the ʼ761 Patent;

        V.      The entry of judgment under 35 U.S.C. §§ 271(a), (b), and/or (c) that Aurobindo’s

 commercial manufacture, use, offer for sale, sale, and/or importation within or into the United

 States of Aurobindo’s ANDA Product before the expiration of the ʼ761 Patent will infringe,

 actively induce infringement, and/or contribute to the infringement of at least one claim of the ʼ761

 Patent under 35 U.S.C. §§ 271(a), (b), and/or (c);

        W.      The entry of judgment under 35 U.S.C. § 271(e)(2)(A) that Aurobindo has infringed

 at least one claim of the ʼ762 Patent through Aurobindo’s submission of ANDA No. 217786 to the




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 FDA seeking approval to commercially manufacture, use, offer for sale, sell, and/or import within

 or into the United States Aurobindo’s ANDA Product before the expiration of the ʼ762 Patent;

        X.      The entry of judgment under 35 U.S.C. §§ 271(a), (b), and/or (c) that Aurobindo’s

 commercial manufacture, use, offer for sale, sale, and/or importation within or into the United

 States of Aurobindo’s ANDA Product before the expiration of the ʼ762 Patent will infringe,

 actively induce infringement, and/or contribute to the infringement of at least one claim of the ʼ762

 Patent under 35 U.S.C. §§ 271(a), (b), and/or (c);

        Y.      The entry of judgment under 35 U.S.C. § 271(e)(2)(A) that Aurobindo has infringed

 at least one claim of the ʼ763 Patent through Aurobindo’s submission of ANDA No. 217786 to the

 FDA seeking approval to commercially manufacture, use, offer for sale, sell, and/or import within

 or into the United States Aurobindo’s ANDA Product before the expiration of the ʼ763 Patent;

        Z.      The entry of judgment under 35 U.S.C. §§ 271(a), (b), and/or (c) that Aurobindo’s

 commercial manufacture, use, offer for sale, sale, and/or importation within or into the United

 States of Aurobindo’s ANDA Product before the expiration of the ʼ763 Patent will infringe,

 actively induce infringement, and/or contribute to the infringement of at least one claim of the ʼ763

 Patent under 35 U.S.C. §§ 271(a), (b), and/or (c);

        AA.     The entry of judgment under 35 U.S.C. § 271(e)(2)(A) that Aurobindo has infringed

 at least one claim of the ʼ436 Patent through Aurobindo’s submission of ANDA No. 217786 to the

 FDA seeking approval to commercially manufacture, use, offer for sale, sell, and/or import within

 or into the United States Aurobindo’s ANDA Product before the expiration of the ʼ436 Patent;

        BB.     The entry of judgment under 35 U.S.C. §§ 271(a), (b), and/or (c) that Aurobindo’s

 commercial manufacture, use, offer for sale, sale, and/or importation within or into the United

 States of Aurobindo’s ANDA Product before the expiration of the ʼ436 Patent will infringe,



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 actively induce infringement, and/or contribute to the infringement of at least one claim of the ʼ436

 Patent under 35 U.S.C. §§ 271(a), (b), and/or (c);

        CC.     The entry of judgment under 35 U.S.C. § 271(e)(2)(A) that Aurobindo has infringed

 at least one claim of the ʼ437 Patent through Aurobindo’s submission of ANDA No. 217786 to the

 FDA seeking approval to commercially manufacture, use, offer for sale, sell, and/or import within

 or into the United States Aurobindo’s ANDA Product before the expiration of the ʼ437 Patent;

        DD.     The entry of judgment under 35 U.S.C. §§ 271(a), (b), and/or (c) that Aurobindo’s

 commercial manufacture, use, offer for sale, sale, and/or importation within or into the United

 States of Aurobindo’s ANDA Product before the expiration of the ʼ437 Patent will infringe,

 actively induce infringement, and/or contribute to the infringement of at least one claim of the ʼ437

 Patent under 35 U.S.C. §§ 271(a), (b), and/or (c);

        EE.     The entry of judgment under 35 U.S.C. § 271(e)(2)(A) that Aurobindo has infringed

 at least one claim of the ʼ128 Patent through Aurobindo’s submission of ANDA No. 217786 to the

 FDA seeking approval to commercially manufacture, use, offer for sale, sell, and/or import within

 or into the United States Aurobindo’s ANDA Product before the expiration of the ʼ128 Patent;

        FF.     The entry of judgment under 35 U.S.C. §§ 271(a), (b), and/or (c) that Aurobindo’s

 commercial manufacture, use, offer for sale, sale, and/or importation within or into the United

 States of Aurobindo’s ANDA Product before the expiration of the ʼ128 Patent will infringe,

 actively induce infringement, and/or contribute to the infringement of at least one claim of the ʼ128

 Patent under 35 U.S.C. §§ 271(a), (b), and/or (c);

        GG.     The entry of judgment under 35 U.S.C. § 271(e)(2)(A) that Aurobindo has infringed

 at least one claim of the ʼ940 Patent through Aurobindo’s submission of ANDA No. 217786 to the




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 or into the United States Aurobindo’s ANDA Product before the expiration of the ʼ940 Patent;

        HH.     The entry of judgment under 35 U.S.C. § 271(b) that Aurobindo’s commercial

 manufacture, use, offer for sale, sale, and/or importation within or into the United States of

 Aurobindo’s ANDA Product before the expiration of the ʼ940 Patent will actively induce

 infringement of at least one claim of the ʼ940 Patent under 35 U.S.C. § 271(b);

        II.     A judicial declaration that Aurobindo’s commercial manufacture, use, offer for

 sale, sale, and/or importation within or into the United States of Aurobindo’s ANDA Product

 before the expiration of the ʼ940 Patent will actively induce infringement of at least one claim of

 the ʼ940 Patent under 35 U.S.C. § 271(b);

        JJ.     The entry of judgment under 35 U.S.C. § 271(e)(2)(A) that Aurobindo has infringed

 at least one claim of the ʼ764 Patent through Aurobindo’s submission of ANDA No. 217786 to the

 FDA seeking approval to commercially manufacture, use, offer for sale, sell, and/or import within

 or into the United States Aurobindo’s ANDA Product before the expiration of the ʼ764 Patent;

        KK.     The entry of judgment under 35 U.S.C. § 271(b) that Aurobindo’s commercial

 manufacture, use, offer for sale, sale, and/or importation within or into the United States of

 Aurobindo’s ANDA Product before the expiration of the ʼ764 Patent will actively induce

 infringement of at least one claim of the ʼ764 Patent under 35 U.S.C. § 271(b);

        LL.     A judicial declaration that Aurobindo’s commercial manufacture, use, offer for

 sale, sale, and/or importation within or into the United States of Aurobindo’s ANDA Product

 before the expiration of the ʼ764 Patent will actively induce infringement of at least one claim of

 the ʼ764 Patent under 35 U.S.C. § 271(b);




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        MM. The entry of judgment under 35 U.S.C. § 271(e)(2)(A) that Aurobindo has infringed

 at least one claim of the ʼ765 Patent through Aurobindo’s submission of ANDA No. 217786 to the

 FDA seeking approval to commercially manufacture, use, offer for sale, sell, and/or import within

 or into the United States Aurobindo’s ANDA Product before the expiration of the ʼ765 Patent;

        NN.     The entry of judgment under 35 U.S.C. § 271(b) that Aurobindo’s commercial

 manufacture, use, offer for sale, sale, and/or importation within or into the United States of

 Aurobindo’s ANDA Product before the expiration of the ʼ765 Patent will actively induce

 infringement of at least one claim of the ʼ765 Patent under 35 U.S.C. § 271(b);

        OO.     A judicial declaration that Aurobindo’s commercial manufacture, use, offer for

 sale, sale, and/or importation within or into the United States of Aurobindo’s ANDA Product

 before the expiration of the ʼ765 Patent will actively induce infringement of at least one claim of

 the ʼ765 Patent under 35 U.S.C. § 271(b);

        PP.     The entry of judgment under 35 U.S.C. § 271(e)(2)(A) that Aurobindo has infringed

 at least one claim of the ʼ244 Patent through Aurobindo’s submission of ANDA No. 217786 to the

 FDA seeking approval to commercially manufacture, use, offer for sale, sell, and/or import within

 or into the United States Aurobindo’s ANDA Product before the expiration of the ʼ244 Patent;

        QQ.     The entry of judgment under 35 U.S.C. § 271(b) that Aurobindo’s commercial

 manufacture, use, offer for sale, sale, and/or importation within or into the United States of

 Aurobindo’s ANDA Product before the expiration of the ʼ244 Patent will actively induce

 infringement of at least one claim of the ʼ244 Patent under 35 U.S.C. § 271(b);

        RR.     A judicial declaration that Aurobindo’s commercial manufacture, use, offer for

 sale, sale, and/or importation within or into the United States of Aurobindo’s ANDA Product




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 before the expiration of the ʼ244 Patent will actively induce infringement of at least one claim of

 the ʼ244 Patent under 35 U.S.C. § 271(b);

        SS.     The entry of judgment under 35 U.S.C. § 271(e)(2)(A) that Aurobindo has infringed

 at least one claim of the ʼ396 Patent through Aurobindo’s submission of ANDA No. 217786 to the

 FDA seeking approval to commercially manufacture, use, offer for sale, sell, and/or import within

 or into the United States Aurobindo’s ANDA Product before the expiration of the ʼ396 Patent;

        TT.     The entry of judgment under 35 U.S.C. § 271(b) that Aurobindo’s commercial

 manufacture, use, offer for sale, sale, and/or importation within or into the United States of

 Aurobindo’s ANDA Product before the expiration of the ʼ396 Patent will actively induce

 infringement of at least one claim of the ʼ396 Patent under 35 U.S.C. § 271(b);

        UU.     A judicial declaration that Aurobindo’s commercial manufacture, use, offer for

 sale, sale, and/or importation within or into the United States of Aurobindo’s ANDA Product

 before the expiration of the ʼ396 Patent will actively induce infringement of at least one claim of

 the ʼ396 Patent under 35 U.S.C. § 271(b);

        VV.     The entry of judgment under 35 U.S.C. § 271(e)(2)(A) that Aurobindo has infringed

 at least one claim of the ʼ657 Patent through Aurobindo’s submission of ANDA No. 217786 to the

 FDA seeking approval to commercially manufacture, use, offer for sale, sell, and/or import within

 or into the United States Aurobindo’s ANDA Product before the expiration of the ʼ657 Patent;

        WW. The entry of judgment under 35 U.S.C. §§ 271(a), (b), and/or (c) that Aurobindo’s

 commercial manufacture, use, offer for sale, sale, and/or importation within or into the United

 States of Aurobindo’s ANDA Product before the expiration of the ʼ657 Patent will infringe,

 actively induce infringement, and/or contribute to the infringement of at least one claim of the ʼ657

 Patent under 35 U.S.C. §§ 271(a), (b), and/or (c);



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        XX.     The entry of judgment under 35 U.S.C. § 271(e)(2)(A) that Aurobindo has infringed

 at least one claim of the ʼ784 Patent through Aurobindo’s submission of ANDA No. 217786 to the

 FDA seeking approval to commercially manufacture, use, offer for sale, sell, and/or import within

 or into the United States Aurobindo’s ANDA Product before the expiration of the ʼ784 Patent;

        YY.     The entry of judgment under 35 U.S.C. §§ 271(a), (b), and/or (c) that Aurobindo’s

 commercial manufacture, use, offer for sale, sale, and/or importation within or into the United

 States of Aurobindo’s ANDA Product before the expiration of the ʼ784 Patent will infringe,

 actively induce infringement, and/or contribute to the infringement of at least one claim of the ʼ784

 Patent under 35 U.S.C. §§ 271(a), (b), and/or (c);

        ZZ.     The entry of judgment under 35 U.S.C. § 271(e)(2)(A) that Aurobindo has infringed

 at least one claim of the ʼ593 Patent through Aurobindo’s submission of ANDA No. 217786 to the

 FDA seeking approval to commercially manufacture, use, offer for sale, sell, and/or import within

 or into the United States Aurobindo’s ANDA Product before the expiration of the ʼ593 Patent;

        AAA. The entry of judgment under 35 U.S.C. § 271(b) that Aurobindo’s commercial

 manufacture, use, offer for sale, sale, and/or importation within or into the United States of

 Aurobindo’s ANDA Product before the expiration of the ʼ593 Patent will actively induce

 infringement of at least one claim of the ʼ593 Patent under 35 U.S.C. § 271(b);

        BBB. A judicial declaration that Aurobindo’s commercial manufacture, use, offer for

 sale, sale, and/or importation within or into the United States of Aurobindo’s ANDA Product

 before the expiration of the ʼ593 Patent will actively induce infringement of at least one claim of

 the ʼ593 Patent under 35 U.S.C. § 271(b);

        CCC. The entry of judgment under 35 U.S.C. § 271(e)(2)(A) that Aurobindo has infringed

 at least one claim of the ʼ594 Patent through Aurobindo’s submission of ANDA No. 217786 to the



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 FDA seeking approval to commercially manufacture, use, offer for sale, sell, and/or import within

 or into the United States Aurobindo’s ANDA Product before the expiration of the ʼ594 Patent;

        DDD. The entry of judgment under 35 U.S.C. § 271(b) that Aurobindo’s commercial

 manufacture, use, offer for sale, sale, and/or importation within or into the United States of

 Aurobindo’s ANDA Product before the expiration of the ʼ594 Patent will actively induce

 infringement of at least one claim of the ʼ594 Patent under 35 U.S.C. § 271(b);

        EEE. A judicial declaration that Aurobindo’s commercial manufacture, use, offer for

 sale, sale, and/or importation within or into the United States of Aurobindo’s ANDA Product

 before the expiration of the ʼ594 Patent will actively induce infringement of at least one claim of

 the ʼ594 Patent under 35 U.S.C. § 271(b);

        FFF.    The entry of judgment under 35 U.S.C. § 271(e)(2)(A) that Aurobindo has infringed

 at least one claim of the ʼ962 Patent through Aurobindo’s submission of ANDA No. 217786 to the

 FDA seeking approval to commercially manufacture, use, offer for sale, sell, and/or import within

 or into the United States Aurobindo’s ANDA Product before the expiration of the ʼ962 Patent;

        GGG. The entry of judgment under 35 U.S.C. § 271(b) that Aurobindo’s commercial

 manufacture, use, offer for sale, sale, and/or importation within or into the United States of

 Aurobindo’s ANDA Product before the expiration of the ʼ962 Patent will actively induce

 infringement of at least one claim of the ʼ962 Patent under 35 U.S.C. § 271(b);

        HHH. A judicial declaration that Aurobindo’s commercial manufacture, use, offer for

 sale, sale, and/or importation within or into the United States of Aurobindo’s ANDA Product

 before the expiration of the ʼ962 Patent will actively induce infringement of at least one claim of

 the ʼ962 Patent under 35 U.S.C. § 271(b);




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        III.    The entry of judgment under 35 U.S.C. § 271(e)(2)(A) that Aurobindo has infringed

 at least one claim of the ʼ387 Patent through Aurobindo’s submission of ANDA No. 217786 to the

 FDA seeking approval to commercially manufacture, use, offer for sale, sell, and/or import within

 or into the United States Aurobindo’s ANDA Product before the expiration of the ʼ387 Patent;

        JJJ.    The entry of judgment under 35 U.S.C. § 271(b) that Aurobindo’s commercial

 manufacture, use, offer for sale, sale, and/or importation within or into the United States of

 Aurobindo’s ANDA Product before the expiration of the ʼ387 Patent will actively induce

 infringement of at least one claim of the ʼ387 Patent under 35 U.S.C. § 271(b);

        KKK. A judicial declaration that Aurobindo’s commercial manufacture, use, offer for

 sale, sale, and/or importation within or into the United States of Aurobindo’s ANDA Product

 before the expiration of the ʼ387 Patent will actively induce infringement of at least one claim of

 the ʼ387 Patent under 35 U.S.C. § 271(b);

        LLL. The entry of judgment under 35 U.S.C. § 271(e)(2)(A) that Aurobindo has infringed

 at least one claim of the ʼ388 Patent through Aurobindo’s submission of ANDA No. 217786 to the

 FDA seeking approval to commercially manufacture, use, offer for sale, sell, and/or import within

 or into the United States Aurobindo’s ANDA Product before the expiration of the ʼ388 Patent;

        MMM. The entry of judgment under 35 U.S.C. §§ 271(a), (b), and/or (c) that Aurobindo’s

 commercial manufacture, use, offer for sale, sale, and/or importation within or into the United

 States of Aurobindo’s ANDA Product before the expiration of the ʼ388 Patent will infringe,

 actively induce infringement, and/or contribute to the infringement of at least one claim of the ʼ388

 Patent under 35 U.S.C. §§ 271(a), (b), and/or (c);

        NNN. The entry of judgment under 35 U.S.C. § 271(e)(2)(A) that Aurobindo has infringed

 at least one claim of the ʼ334 Patent through Aurobindo’s submission of ANDA No. 217786 to the



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 FDA seeking approval to commercially manufacture, use, offer for sale, sell, and/or import within

 or into the United States Aurobindo’s ANDA Product before the expiration of the ʼ334 Patent;

        OOO. The entry of judgment under 35 U.S.C. §§ 271(a), (b), and/or (c) that Aurobindo’s

 commercial manufacture, use, offer for sale, sale, and/or importation within or into the United

 States of Aurobindo’s ANDA Product before the expiration of the ʼ334 Patent will infringe,

 actively induce infringement, and/or contribute to the infringement of at least one claim of the ʼ334

 Patent under 35 U.S.C. §§ 271(a), (b), and/or (c);

        PPP.    The entry of judgment under 35 U.S.C. § 271(e)(2)(A) that Aurobindo has infringed

 at least one claim of the ʼ516 Patent through Aurobindo’s submission of ANDA No. 217786 to the

 FDA seeking approval to commercially manufacture, use, offer for sale, sell, and/or import within

 or into the United States Aurobindo’s ANDA Product before the expiration of the ʼ516 Patent;

        QQQ. The entry of judgment under 35 U.S.C. § 271(b) that Aurobindo’s commercial

 manufacture, use, offer for sale, sale, and/or importation within or into the United States of

 Aurobindo’s ANDA Product before the expiration of the ʼ516 Patent will actively induce

 infringement of at least one claim of the ʼ516 Patent under 35 U.S.C. § 271(b);

        RRR. A judicial declaration that Aurobindo’s commercial manufacture, use, offer for

 sale, sale, and/or importation within or into the United States of Aurobindo’s ANDA Product

 before the expiration of the ʼ516 Patent will actively induce infringement of at least one claim of

 the ʼ516 Patent under 35 U.S.C. § 271(b);

        SSS.    The entry of judgment under 35 U.S.C. § 271(e)(2)(A) that Aurobindo has infringed

 at least one claim of the ʼ255 Patent through Aurobindo’s submission of ANDA No. 217786 to the

 FDA seeking approval to commercially manufacture, use, offer for sale, sell, and/or import within

 or into the United States Aurobindo’s ANDA Product before the expiration of the ʼ255 Patent;



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        TTT. The entry of judgment under 35 U.S.C. §§ 271(a), (b), and/or (c) that Aurobindo’s

 commercial manufacture, use, offer for sale, sale, and/or importation within or into the United

 States of Aurobindo’s ANDA Product before the expiration of the ʼ255 Patent will infringe,

 actively induce infringement, and/or contribute to the infringement of at least one claim of the ʼ255

 Patent under 35 U.S.C. §§ 271(a), (b), and/or (c);

        UUU. A judicial declaration that Aurobindo’s commercial manufacture, use, offer for

 sale, sale, and/or importation within or into the United States of Aurobindo’s ANDA Product

 before the expiration of the ʼ255 Patent will actively induce infringement of at least one claim of

 the ʼ255 Patent under 35 U.S.C. § 271(b);

        VVV. The entry of judgment under 35 U.S.C. § 271(e)(2)(A) that Aurobindo has infringed

 at least one claim of the ʼ938 Patent through Aurobindo’s submission of ANDA No. 217786 to the

 FDA seeking approval to commercially manufacture, use, offer for sale, sell, and/or import within

 or into the United States Aurobindo’s ANDA Product before the expiration of the ʼ938 Patent;

        WWW.            The entry of judgment under 35 U.S.C. §§ 271(a), (b), and/or (c) that

 Aurobindo’s commercial manufacture, use, offer for sale, sale, and/or importation within or into

 the United States of Aurobindo’s ANDA Product before the expiration of the ʼ938 Patent will

 infringe, actively induce infringement, and/or contribute to the infringement of at least one claim

 of the ʼ938 Patent under 35 U.S.C. §§ 271(a), (b), and/or (c);

        XXX. A judicial declaration that Aurobindo’s commercial manufacture, use, offer for

 sale, sale, and/or importation within or into the United States of Aurobindo’s ANDA Product

 before the expiration of the ʼ938 Patent will actively induce infringement of at least one claim of

 the ʼ938 Patent under 35 U.S.C. § 271(b);




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        YYY. The issuance of an order providing that the effective date of any FDA approval of

 Aurobindo’s ANDA Product shall be no earlier than the expiration date of the Patents-in-Suit,

 including any extensions and/or additional periods of exclusivity to which Amicus and/or the

 Patents-in-Suit become entitled, or any such later date as the Court may determine, in accordance

 with 35 U.S.C. § 271(e)(4)(A);

        ZZZ. The entry of a permanent and/or preliminary injunction enjoining Aurobindo and

 all persons acting in concert with Aurobindo from engaging in the commercial manufacture, use,

 offer for sale, sale, and/or importation within or into the United States of Aurobindo’s ANDA

 Product, until the expiration of the Patents-in-Suit, including any extensions and/or additional

 periods of exclusivity to which Amicus and/or the Patents-in-Suit are or become entitled, in

 accordance with 35 U.S.C. §§ 271(e)(4)(B) and 283;

        AAAA.          The entry of a permanent and/or preliminary injunction enjoining

 Aurobindo and all persons acting in concert with Aurobindo from seeking, obtaining, or

 maintaining approval of the ANDA until the expiration of the Patents-in-Suit, in accordance with

 35 U.S.C. §§ 271(e)(4)(B) and 283;

        BBBB. Damages, including under 35 U.S.C. §§ 271(e)(4)(C) and/or 285, or other monetary

 relief awarded to Amicus if Aurobindo engages in the commercial manufacture, use, offer for sale,

 sale, and/or importation within or into the United States of Aurobindo’s ANDA Product prior to

 the expiration of the Patents-in-Suit, including any extensions and/or additional periods of

 exclusivity to which Amicus is or becomes entitled;

        CCCC. A declaration that this is an exceptional case and an award to Amicus of its costs,

 expenses, and disbursements in this action, including reasonable attorney fees, pursuant to 35

 U.S.C. §§ 285 and 271(e)(4);



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        DDDD.         An award to Amicus of any further appropriate relief under 35 U.S.C.

 § 271(e)(4); and

        EEEE. An award to Amicus of any further and additional relief that this Court deems just

 and proper.



  Dated: June 13, 2024                       BARNES & THORNBURG LLP

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                                     ** pro hac vice applications forthcoming

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